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  16                              UNITED STATES DISTRICT COURT
  17                            CENTRAL DISTRICT OF CALIFORNIA
  18                                        WESTERN DIVISION
  19
  20 Yuga Labs, Inc.,                                    Case No.: 2:22-cv-4355-JFW-JEM
  21                       Plaintiff and Counterclaim    DISCOVERY MATTER
                           Defendant,
  22                                                     LOCAL RULE 37 JOINT
               v.                                        STIPULATION RE YUGA LABS,
  23                                                     INC.’S MOTION TO COMPEL
       Ryder Ripps, Jeremy Cahen,
  24                                                    Magistrate Judge: Hon. John E. McDermott
                           Defendants and               Motion Hearing Date: March 21, 2023
  25                       Counterclaim Plaintiffs.     Motion Hearing Time: 10:00 AM
                                                        Discovery Cutoff Date: April 3, 2023
  26                                                    Pre-Trial Conference Date: June 9, 2023
                                                        Trial Date: June 27, 2023
  27
  28

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   1           This Joint Stipulation is submitted by Defendants and Counterclaim Plaintiffs
   2 Ryder Ripps (“Mr. Ripps”) and Jeremy Cahen (“Mr. Cahen”) and Plaintiff and
   3 Counterclaim Defendant Yuga Labs, Inc. (“Yuga”) pursuant to Local Rule 37-2 in
   4 connection with Mr. Ripps and Mr. Cahen’s motion to compel Yuga to produce
   5 documents and supplement written discovery responses. Defendants served their
   6 portion of this stipulation on February 6, 2023. The Court’s order establishing the
   7 case schedule is attached as Exhibit 1 to the Declaration of Derek Gosma.
   8 1. Introductory Statements
   9           A.      Mr. Ripps and Mr. Cahen’s Introductory Statement
  10           This lawsuit involves Mr. Ripps and Mr. Cahen’s RR/BAYC NFT project,
  11 which criticizes Yuga for its fraud and use racist and neo-Nazi imagery. After the
  12 Defendants created their artwork, Yuga systematically bullied the defendants in an
  13 effort to silence their criticism, including by threatening to harm the Defendants’
  14 livelihood and their families. Yuga filed this lawsuit alleging that the RR/BAYC
  15 collection infringes Yuga’s trademarks. Their First Amendment defenses to
  16 trademark infringement, Yuga’s misconduct, and Yuga’s unclean hands in attaining
  17 the asserted alleged trademark rights are among the expected central issues at trial.
  18           Mr. Ripps and Mr. Cahen have long sought discovery in this case. Mr. Ripps
  19 and Mr. Cahen originally served Yuga its interrogatories, document requests, and
  20 requests for admission on September 6, 2022, over five months ago. Despite all
  21 this time, and several conferences between the parties’ counsel, Yuga has failed to
  22 fully respond to a single discovery request. Counsel most recently met and
  23 conferred on January 23, 2023. See Gosma Decl. Ex. 7 (February 2, 2023,
  24 Nikogosyan email to Thomas) at 16. At the conference, Yuga stated that it would
  25 supplement its production by the end of January. Although Yuga made productions
  26 leading up to January 31, they were comprised almost entirely of public materials
  27 which were at best tangentially related to the issues in this case. See Gosma Decl.
  28

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   1 Ex. 7 at 1. Yuga has not produced a single email, text message, or chat
   2 communication addressing the selection and public deployment of the asserted
   3 trademarks—not even the emails that it expressly refers to in it its interrogatory
   4 responses. Yuga also refused to confirm whether it has even searched for any
   5 electronically stored information at all in response to Defendants’ discovery
   6 requests. See Gosma Decl. Ex. 7 at 1. As a result, as of today, Yuga has provided
   7 Defendants with essentially no substantive discovery responses at all.
   8           The discovery cut-off is April 3, 2023. Defendants (two individuals) have
   9 produced thousands upon thousands of emails, financial records, text messages,
  10 Discord chats, Telegram chats, and other documents covering over hundreds of
  11 thousands of communications. But as of February 6, 2023, Yuga, a purportedly
  12 multi-billion-dollar company, has produced fewer than 200 non-public documents,
  13 most of which are only a few pages long. Almost the entirety of Yuga’s production
  14 consists of publicly available documents, including 10,000 publicly available ape
  15 cartoons and thousands of public Twitter and Tumblr posts that were made by the
  16 Defendants themselves. Yuga has refused to produce any materials at all relating to
  17 Yuga’s misleading activities in developing and marketing the trademarks at issue in
  18 this litigation, which is centrally relevant to Mr. Ripps and Mr. Cahen’s unclean
  19 hands defenses.
  20           The prejudice is clear. Defendants have been handicapped in discovery by
  21 Yuga’s noncompliance. Defendants were forced to take the deposition of Yuga’s
  22 second and third co-founders, Greg Solano and Kerem Atalay, as well as Yuga’s
  23 30(b)(6) witness, without the benefit of any of the non-public documents that Yuga
  24 is obligated to provide in this litigation. As discovery progresses, this prejudice
  25 will continue to compound as there are further depositions scheduled on March 1,
  26 March 6, and March 16, 2023.
  27           The parties are nearing the close of discovery and Yuga’s refusal to even
  28

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   1 minimally comply with the Federal Rules shows that it has no intent to disclose
   2 relevant and material information during unless forced to do so by the Court.
   3 Defendants respectfully request the Court’s assistance in obtaining Yuga’s
   4 compliance in discovery. See Hyde & Drath v. Baker, 24 F.3d 1162, 1168 (9th Cir.
   5 1994) (affirming dismissal sanction due to plaintiffs’ non-participation in
   6 discovery).
   7           B.      Yuga Labs’ Introductory Statement
   8           This lawsuit is, and always has been, about Defendants’ admitted use of
   9 Yuga Labs’ trademarks to sell counterfeit NFTs. Despite Defendants’ attempts to
  10 shift the focus of the case — and discovery — to their fantastical claims about
  11 “racist and neo-Nazi imagery,” “[i]n this case, the Court conclude[d] that the
  12 Rogers test does not apply.” Declaration of Ethan M. Thomas (“Thomas Decl.”)
  13 Exhibit 1 at 6 (emphasis added). Rather, “Defendants’ sale of what is admittedly a
  14 ‘collection of NFTs that point to the same online digital images as the BAYC
  15 collection’ [] is the only conduct at issue in this action and does not constitute an
  16 expressive artistic work protected by the First Amendment.” Id. (emphasis added).
  17 Nonetheless, as yet another attempt to create collateral and irrelevant litigation to
  18 avoid their infringement, or simply to harass, Defendants plan to bring this motion
  19 on a slew of topics which are either not in dispute, about which they have the
  20 answer, or which are otherwise objectionable. Their requests should be rejected.
  21           First, Yuga Labs has already provided what Defendants asked for in response
  22 to some topics (Topic A, F, and H), but they continued with this motion without
  23 attempting to explain to Yuga Labs what more they want or why supplemental
  24 discovery failed to resolve the issue. Defendants also seek discovery into topics the
  25 Court has already deemed irrelevant or inappropriate at this time (Topic C and
  26 certain requests in Topics K, N, and O). Those requests have no merit.
  27           Second, as a general theme, Defendants repeatedly complain that Yuga Labs
  28 has not produced enough confidential, internal communications. But Defendants

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   1
       never explain why such discovery is relevant or proportionate. Defendants say that
   2
       they believe materials regarding Yuga Labs’ release of their NFTs to the public
   3
       (Topic E), promotion and sale of the NFTs to the public (Topic I), and takedown
   4
       requests against infringers (Topic J) are relevant to Yuga Labs’ case; however, they
   5
       do not even attempt to show why they need more than the voluminous discovery
   6
       (including deposition testimony) provided to date sufficient to show the release of
   7
       the BAYC NFTs, channels of trade and marketing to the public, and takedown
   8
       communications to Defendants and third parties. Defendants provide no
   9
       justification for requiring, especially this late in discovery, that Yuga Labs’
  10
       confidential, internal communications must be further reviewed and produced, aside
  11
       from their belief that the number of such documents handed over to them should be
  12
       higher. That is a transparent attempt to increase the burden of discovery solely for
  13
       that purpose. If Defendants think there is something (though they do not say what)
  14
       in Yuga Labs’ internal communications that will somehow benefit their defense,
  15
       they need to say what it is and show a legitimate need for it proportionate to claims
  16
       and defenses actually in this case; but this kind of fishing expedition is not a
  17
       justification for cumulative, disproportionate discovery. 1
  18
               Third, Defendants seek discovery into complex, extensive, and collateral
  19
       issues regarding alleged securities fraud and alleged celebrity endorsements. This
  20
       is the second time Defendants have served a Joint Stipulation containing these same
  21
       demands, and in this version of their Joint Stipulation, they have shifted to
  22
       justifying these requests under a claimed unclean hands defense, notwithstanding
  23
       their admission that neither of these issues affects them. This new argument is as
  24
       meritless as the prior arguments; the unclean hands defense does not mean that any
  25
  26   Defendants’ claim that they are not sure Yuga Labs “even searched for any
       1
     electronically stored information at all in response to Defendants’ discovery
  27 requests” is unfounded. Yuga Labs has produced thousands of electronic
     documents in response to Defendants’ discovery requests and has supplemented its
  28 production multiple times when Defendants asked for additional materials.

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   1
       prior alleged wrongdoing by a plaintiff forecloses all equitable relief against any
   2
       party in the future. The defense also does not permit a mini trial into any collateral
   3
       issue. Rather, the alleged wrongdoing must relate directly to the transaction giving
   4
       rise to the plaintiff’s cause of action, and neither of Defendants’ unclean hands
   5
       theories meet that requirement. Nonetheless, the discovery sought is subject to a
   6
       mandatory stay in the case that actually concerns securities law, and it is not
   7
       relevant or proportionate to the current trademark infringement case.
   8
               Fourth, Defendants seek an unclear remedy as to their requests for admission.
   9
       Yuga Labs denied several requests based on what they asked Yuga Labs to admit.
  10
       Defendants first asked Yuga Labs to reconstrue the questions and to make more
  11
       admissions. Now, Defendants apparently ask the Court to compel Yuga Labs to
  12
       admit these requests based on new, unspecified definitions. Though these requests
  13
       are objectionable for several reasons, the remedy Defendants seek has no basis.
  14
       Defendants also have not served new or amended requests that make clear their
  15
       latest position. Yuga Labs should not be compelled to make admissions based on
  16
       Defendants’ latest, desired, reframing of their requests. Yuga Labs’ responses to
  17
       Defendants’ improper requests for admissions are accurate and complete.
  18
               In light of the above, Defendants’ anticipated motion is an abuse of the
  19
       discovery process that wastes the parties’ and the Court’s time. It seeks relief on
  20
       moot or unclear issues, contravenes prior orders of the Court, and fails to make
  21
       reasonable requests based on the required cooperation under Local Rule 37-4.
  22
       Indeed, Defendants served a version of this Joint Stipulation on January 17, 2023,
  23
       hours after Yuga Labs promised to supplement its discovery and the Court denied
  24
       their previous requests for discovery into “Inflammatory Material” and other topics.
  25
       Thomas Decl. Exhibit 12. Yuga Labs asked Defendants to withdraw that version,
  26
       and they did. Though this version eliminates some issues, it persists in seeking
  27
       inappropriate discovery on the remaining issues without taking into account or even
  28

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   1
       attempting to reconcile the issues Yuga Labs raised. See L.R. 37-4 (“The failure of
   2
       any counsel to comply with or cooperate in the foregoing procedures may result in
   3
       the imposition of sanctions.”). Defendants never attempted to meet and confer on
   4
       the further documents Yuga Labs produced between their service of the first
   5
       version of this Joint Stipulation and the second. See Thomas Decl. ¶ 15. Yuga
   6
       Labs therefore respectfully requests its reasonable attorneys’ fees under Local Rule
   7
       37-4 in responding to Defendants’ motion to compel, should they proceed to file it.
   8
       2. Issues in Dispute
   9
               A.      Requests for Production Nos. 1 and 2 (Discovery relating to
  10                   Yuga’s formation, corporate structure, and related business
  11                   entities)
  12 Request for Production No. 1
  13      All Documents and Communications relating to the formation of Yuga.

  14 Response:
  15                   Yuga Labs incorporates by reference each of the General Objections

  16           set forth above as if fully set forth herein. Yuga Labs objects to this request

  17           as not relevant to any claim or defense and as not proportionate to the needs
  18           of the case. Yuga Labs objects to this request as overbroad, not
  19           proportionate to the needs of the case, and unduly burdensome, including
  20           because it requests “[a]ll documents and Communications” where a subset of
  21           documents would be sufficient, should any response be required. Yuga Labs
  22           will not produce documents in response to this objectionable and irrelevant
  23           request, and Yuga Labs’ objections are not a representation that any
  24           responsive documents exist. Yuga Labs objects to this request to the extent it
  25           seeks disclosure of information protected by the attorney-client privilege, the
  26           work product doctrine, or any other applicable privilege. Yuga Labs objects
  27           to this request to the extent it seeks information that is subject to any
  28           protective order, privacy interest, contractual obligation, other confidentiality

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   1           obligation owed to any third party, or competitively sensitive or proprietary
   2           financial or business information. Yuga Labs objects to the extent that the
   3           requested documents are equally available to Defendants from other sources
   4           that are more convenient, less burdensome and/or less expensive, particularly
   5           to the extent the information sought is publicly available.
   6 Request for Production No. 2:
   7                   Documents sufficient to show the current organizational and
   8           ownership structure of Yuga, including, but not limited to, any parents,
   9           affiliates, or other related Entities, as well as partners, partnerships, members,
  10           corporations, trusts (including but not limited to, any trust beneficiaries), or
  11           shareholders.
  12 Response:
  13                   Yuga Labs incorporates by reference each of the General Objections
  14           set forth above as if fully set forth herein. Yuga Labs objects to this request
  15           as not relevant to any claim or defense and as not proportionate to the needs
  16           of the case. Yuga Labs will not produce documents in response to this
  17           objectionable and irrelevant request, and Yuga Labs’ objections are not a
  18           representation that any responsive documents exist. Yuga Labs objects to
  19           this request to the extent it seeks disclosure of information protected by the
  20           attorney-client privilege, the work product doctrine, or any other applicable
  21           privilege. Yuga Labs objects to the extent that the requested documents are
  22           equally available to Defendants from other sources that are more convenient,
  23           less burdensome and/or less expensive, particularly to the extent the
  24           information sought is publicly available.
  25                   1.     Mr. Ripps and Mr. Cahen’s Position
  26           Document Requests Nos. 1 and 2 seek materials relating to Yuga’s
  27 formation, current organizational structure, and current ownership structure,
  28

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   1 including but not limited to, any parents, affiliates, partners, partnerships, members,
   2 corporations, trusts (including but not limited to, any trust beneficiaries), or
   3 shareholders. Yuga’s withholding of these documents prejudices Defendants, and
   4 prevents them from adequately utilizing depositions and other discovery tools.
   5           Defendant’s Document Requests Nos. 1 and 2 are relevant on several
   6 grounds. Yuga’s formation, organizational structure, and ownership structure are
   7 relevant to Yuga’s ability to own the asserted marks. In order to establish a claim
   8 for trademark infringement, a plaintiff must demonstrate an ownership interest in
   9 the mark. Delta Forensic Eng’g, Inc. v. Delta V Biomechanics, Inc., 402 F. Supp.
  10 3d 902, 906 (C.D. Cal. 2019). Here, there are several entities that are using the
  11 Asserted Marks and it is unclear what relationship those other entities have to
  12 Yuga, if any at all. For example, there is an entity named “ApeCoin DAO” that has
  13 been using Yuga’s skull logo trademark as its own trademark since at least March
  14 2022. Defendants seek discovery into how “ApeCoin DAO” is related to Yuga to
  15 determine the status of Yuga’s rights (if any) associated with the ape skull logo and
  16 marks including it, which Yuga has asserted in this litigation. Discovery on these
  17 issues is relevant to if Yuga was in fact the first to use the Asserted Marks in
  18 commerce, whether it has retained the correct licenses to lawfully use the Asserted
  19 Marks, and whether it has acquiesced and permitted trademark dilution.
  20           Yuga’s assertion that these requests are not proportionate is baseless. Yuga
  21 only produced roughly 200 non-public documents total. By comparison,
  22 Defendants have made extensive productions, including far more than 100,000
  23 private communications. This discrepancy between the productions of each party is
  24 astonishing because Defendants are two individuals with limited resources and
  25 Yuga has represented itself as a multi-billion-dollar, multi-national corporation.
  26 Yuga has refused to make any substantial production of non-public documents and
  27
  28

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   1 will not even confirm that it has followed the routine practice of searching its
   2 electronic records at all. See Gosma Decl. Ex. 7 at 1.
   3           Further, Yuga’s refusal to produce responsive materials has a compounding
   4 prejudicial impact on Defendant’s abilities to properly take discovery. For instance,
   5 Defendants have already taken the depositions of two co-founders and Yuga’s
   6 30(b)(6) witness. Yuga’s withholding responsive materials hindered Defendants
   7 from being able to ask all relevant questions in those depositions, and the
   8 prejudicial effect will continue with upcoming depositions of Yuga employees and
   9 officers scheduled in March. The absence of information that those documents
  10 could have yielded has thus given Yuga an unfair tactical advantage.
  11           Defendants respectfully ask this Court to compel Yuga to comply with Rule
  12 34 and make immediate productions that are responsive to Defendant’s Requests
  13 for Production Nos. 1 and 2. Defendants seek all document types which would
  14 properly satisfy this request, including, but not limited to, corporate filings;
  15 contracts; and organizational charts.
  16                   2.     Yuga Labs’ Position
  17           Yuga Labs raised valid objections that these requests are not relevant to any
  18 claim or defense and are not proportionate to the needs of the case. Nevertheless, it
  19 provided Defendants with documents responsive to these requests. Both in
  20 Defendants’ letter and during the parties’ subsequent meet and confer
  21 correspondence, Defendants stated that they were only asking Yuga Labs to
  22 supplement its production as to “other entities that may have created, own, and/or
  23 use trademarks asserted in this litigation.” Yuga Labs produced all such documents
  24 it located through a reasonable search. Believing its production to be complete,
  25 Yuga Labs asked Defendants to identify any additional materials they believed to
  26 exist (such as license agreements with other entities); Defendants were unable to
  27 identify any such missing materials, but instead asked whether Yuga Labs had any
  28

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   1
       summary documents or “charts” explaining the licensing relationship with such
   2
       third parties. Gosma Decl. Exhibit 13 at 3. To this day — including during their
   3
       January 10 and January 23, 2023 meet and confers, and in subsequent
   4
       communications — Defendants have not raised any additional documents to Yuga
   5
       Labs that they seek in response to this issue.
   6
               Yuga Labs agreed to conduct a reasonable search for these additional
   7
       materials during the parties’ January 10, 2023 meet and confer, and reiterated that
   8
       agreement in writing on January 17, 2023. Gosma Decl. Exhibit 13. Yuga Labs
   9
       has now conducted that search and determined that it has no such additional
  10
       materials to produce — which Defendants would have known had they asked
  11
       before serving this Joint Stipulation. This issue is accordingly moot.
  12
               As to one specific issue, Defendants claim here that they “seek discovery into
  13
       how ‘ApeCoin DAO’ is related to Yuga to determine the status of Yuga’s rights (if
  14
       any) associated with the ape skull logo and marks including it, which Yuga has
  15
       asserted in this litigation.” Yuga Labs has already produced internal, highly
  16
       confidential documents answering this question on December 21, 2022, and
  17
       referred Defendants to those documents on at least January 17, 2023: “Yuga Labs
  18
       has produced several documents (including those identified in its supplemental
  19
       response to Interrogatory No. 12) showing license agreements regarding the BAYC
  20
       Marks. We have produced documents specific to Ape Foundation, including
  21
       YUGALABS_00029252 and YUGALABS_00029146.” Gosma Decl. Exhibit 13;
  22
       see also Thomas Decl. ¶ 12. Defendants never responded or suggested why these
  23
       documents were supposedly inadequate. After Yuga Labs produced these
  24
       documents, Defendants deposed Yuga Labs and asked questions about the ApeCoin
  25
       logo. Under oath, Yuga Labs explained the agreement related to the ApeCoin logo
  26
       and how that logo is different from (intentionally so) Yuga Labs’ Ape Skull logo.
  27
       Thomas Decl. Exhibit 22 at 207–15. Defendants asked Yuga Labs five questions
  28

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   1
       about only one of the written documents Yuga Labs produced relating to the
   2
       ApeCoin Logo, and Yuga Labs’ witness answered each of those questions. Id.
   3
       There are no other documents identified in that testimony — or by Defendants
   4
       thereafter — that they require on this topic.
   5
               Yuga Labs respectfully requests attorneys’ fees in connection with
   6
       responding to Defendants’ Joint Stipulation. Defendants willfully filed a moot and
   7
       frivolous request in violation of Local Rule 37-4, after the Court’s admonition that
   8
       the parties cooperatively eliminate discovery disputes. See ECF No. 77 at 2 (“The
   9
       Court reminds the parties of their mandatory duty under Rule 37-1 to confer in
  10
       good faith to reduce or eliminate issues in dispute.”). Defendants originally served
  11
       this Joint Stipulation on January 17, 2023, and on January 19, 2023, Yuga Labs
  12
       asked Defendants to withdraw this issue because it violated the Court’s previous
  13
       instructions to resolve issues through the meet and confer process. Thomas Decl.
  14
       Exhibit 12. Defendants did so, but then re-served their Joint Stipulation without
  15
       withdrawing this request or even attempting to further discuss why Yuga Labs had
  16
       not cured this issue following the supplemental discovery served on Defendants.
  17
       Yuga Labs also transparently disclosed to Defendants that it would seek attorneys’
  18
       fees if Defendants did not withdraw the issue. Id. Defendants did not withdraw or
  19
       amend their Joint Stipulation to remove this issue from dispute.
  20
               C.      Request for Production Number 11 (Discovery Related to the
  21                   Development of the Asserted Marks)
  22 Request for Production No. 11:
  23             All Documents and Communications showing or relating to the

  24           conception, creation, design, or development of the BAYC NFTs and the

  25           Asserted Marks, including but not limited to the conception, creation, design,

  26           or development of the name “Yuga Labs”; the BA YC BORED APE

  27           YACHT CLUB logo referenced in Paragraph 38 of the Complaint; and

  28           websites, games, puzzles, awards, and Digital Platform posts relating to

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   1           BAYC NFTs, including but not limited to the Bored Ape Yacht Club
   2           metaverse known as “Otherside” and Jimmy the Monkey Puzzle.
   3 Response:
   4                   Yuga Labs incorporates by reference each of the General Objections
   5           set forth above as if fully set forth herein. Yuga Labs objects to this request
   6           as overbroad, not proportionate to the needs of the case to the extent it seeks
   7           documents relating to “the conception, creation, design, or development of
   8           the BAYC NFTs and the Asserted Marks.” Yuga Labs objects to this request
   9           as overbroad, not proportionate to the needs of the case, and unduly
  10           burdensome, including because it requests “[a]ll Documents and
  11           communications” where a subset of documents would be sufficient, should
  12           any response be required. Yuga Labs objects to this request to the extent it
  13           seeks disclosure of information protected by the attorney-client privilege, the
  14           work product doctrine, or any other applicable privilege. Yuga Labs objects
  15           to this request to the extent it seeks information that is subject to any
  16           protective order, privacy interest, contractual obligation, other confidentiality
  17           obligation owed to any third party, or competitively sensitive or proprietary
  18           financial or business information.
  19                   Subject to and without waiving the foregoing objections, and subject to
  20           the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
  21           non-privileged, relevant, responsive documents within its possession,
  22           custody, or control, if any, located after a reasonable search proportional to
  23           the needs of the case sufficient to show how the Asserted Marks were created
  24           or designed.
  25                   1.      Mr. Ripps and Mr. Cahen’s Position
  26           Document Request No. 11 seeks materials showing or relating to the
  27 conception, creation, design, or development of the BAYC NFTs and the Asserted
  28

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   1 Marks. These materials are squarely within the scope of discovery because Yuga
   2 has asserted trademark claims and has alleged that Defendants’ artwork is a knock-
   3 off of Yuga’s BAYC NFTs. Accordingly, Defendants are entitled to take discovery
   4 into the creation of the Asserted Marks and BAYC NFTs as they form the core of
   5 Yuga’s trademark infringement claims.
   6           Yuga has admitted that the Asserted Marks were developed by Wylie
   7 Aronow and Greg Solano in collaboration with a third party. Gosma Decl. Ex. 12
   8 (Yuga’s First Supplemental Responses to Defendants’ First Interrogatories) at 11.
   9 However, Yuga has failed to produce even a single document or communication
  10 relating to the development of the Asserted Marks (including documents excerpted
  11 in part in its interrogatory response). As a result, Defendants do not know if Yuga
  12 actually created the Asserted Marks at all, whether it appropriately retained rights to
  13 use the marks despite the involvement of a third party, or whether Yuga derived the
  14 marks from some other source that would undermine its ability to enforce them. By
  15 now Yuga should have produced numerous documents addressing these issues,
  16 including communications between Greg Solano and Wylie Aronow about the
  17 creation of the marks (which testimony suggests exists and was provided to counsel
  18 for Yuga), all communications with the third party that designed the Asserted
  19 Marks, and all source materials used for the design of the Asserted Marks.
  20           Yuga has also failed to produce even a single document or communication
  21 concerning the creation of the BAYC NFT collection that is the subject of this case.
  22 That collection is the product at issue in Yuga’s trademark claims. Thus,
  23 Defendants are entitled to discovery into its creation to understand how these
  24 products came into commerce as well as all rights and legal issues implicated in the
  25 creation and design process. For example, Yuga should have produced at least the
  26 communications between Wylie Aronow, Greg Solano, Zeshan Ali, and Kerem
  27 Atalay involving the creation and design of BAYC NFTs, including emails, text
  28

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   1 messages, Telegram, Instagram, Twitter, Discord, and any medium they may have
   2 use to discuss BAYC NFTs during the creation process. Testimony confirms that
   3 such documents exist.
   4           Yuga’s assertion that this request is not proportionate is baseless. Yuga only
   5 produced 200 non-public documents total and will not even confirm that it has
   6 conducted a search of its own electronic records at all. See Gosma Decl. Ex. 7 at 1.
   7           Moreover, Yuga’s withholding of responsive materials has caused significant
   8 prejudice. On January 17, 2023, Defendants took the deposition of Greg Solano, on
   9 January 24, 2023, Defendant toke the deposition of Yuga’s 30(b)(6) witness, and on
  10 January 31, 2023, Defendants to the deposition of Kerem Atalay. Defendants were
  11 unfairly deprived of the opportunity to probe fully into the creation and design of
  12 the Asserted Marks and BAYC NFTs because Defendants were not given any of the
  13 relevant documents. As discovery progresses, Yuga’s withholding of requested
  14 documents and communications will continue to have a prejudicial impact as it will
  15 continue to deprive Defendants of the ability to question Yuga’s employees.
  16           Defendants respectfully ask this Court to compel Yuga to comply with Rule
  17 34 and make immediate productions that are responsive to Defendant’s Request for
  18 Production No. 11. Defendants seek all documents and communications, including
  19 emails, texts, Discord chats, Telegram chats, Instagram chats, Twitter chats,
  20 blueprints, concept art or early drafts, letters, and all other material that would
  21 disclose the creation and design of the Asserted Marks and the BAYC NFT
  22 collection.
  23                   2.     Yuga Labs’ Position
  24           On January 17, 2023, the Court held that “the origin of the marks is not in
  25 dispute and thus not relevant” and “[t]he origin of the marks only has relevance
  26 to the Inflammatory Material,” to which Defendants are not entitled to further
  27 pursue discovery until the Court rules on Yuga Labs’ motion to strike and motion to
  28

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   1
       dismiss. Thomas Decl. Exhibit 2. Defendants served the Joint Stipulation anyway,
   2
       directly contravening the Court’s Order. For the reasons stated in Yuga Labs’
   3
       objections, and in the Court’s Order, discovery on this topic is not relevant or
   4
       proportionate to any claim or defense in this action.
   5
               Additionally, Defendants have obtained testimony from Yuga Labs’ 30(b)(6)
   6
       witness, and its co-founder and Co-President Greg Solano, on the development of
   7
       the BAYC Marks, Thomas Decl. Exhibit 7 at 36–58, Exhibit 8 at 66–78 and 201–
   8
       06, and Yuga Labs has provided sufficient documents and interrogatory responses
   9
       for Defendants to determine that Yuga Labs “actually created the Asserted Marks”
  10
       and was the first to use them in commerce. See, e.g., Thomas Decl. Exhibit 10.
  11
       Moreover, as discussed in the parties’ prior briefing, Defendants have repeatedly
  12
       admitted that Yuga Labs created and used the BAYC marks before Defendants.
  13
       See, e.g., Thomas Decl. Exhibit 3 (December 28, 2022 Joint Stipulation (Dkt. 69-
  14
       1)) at 43 (collecting admissions). There is nothing more that Defendants require on
  15
       this issue; further discovery is disproportionate to the needs of the case at least
  16
       because these facts are not in dispute.
  17
               Yuga Labs respectfully requests attorneys’ fees in connection with
  18
       responding to Defendants’ Joint Stipulation. Defendants willfully served a moot
  19
       and frivolous request contrary to the Court’s January 17, 2022 Order and in
  20
       violation of Local Rule 37-4, after the Court’s admonition that the parties
  21
       cooperatively eliminate discovery disputes. See ECF No. 77 at 2 (“The Court
  22
       reminds the parties of their mandatory duty under Rule 37-1 to confer in good faith
  23
       to reduce or eliminate issues in dispute.”). Defendants originally served this Joint
  24
       Stipulation on January 17, 2023, and on January 19, 2023, Yuga Labs asked
  25
       Defendants to withdraw this issue because it violated the Court’s previous
  26
       instructions to resolve issues through the meet and confer process. Thomas Decl.
  27
       Exhibit 12. Defendants did so, but then re-served their Joint Stipulation without
  28

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   1
       withdrawing this request or even attempting to further discuss why Yuga Labs had
   2
       not cured this issue following the supplemental discovery served on Defendants and
   3
       the additional deposition testimony that they received. Yuga Labs also
   4
       transparently disclosed to Defendants that it would seek attorneys’ fees if
   5
       Defendants did not withdraw the issue. Id. Defendants did not withdraw or amend
   6
       their Joint Stipulation to remove this issue from dispute.
   7
               E.      Request for Production Number 12 (Discovery Related to the
   8                   Release Schedule of BAYC NFTs)
   9 Request for Production No. 12:
  10             All Documents and Communications showing or relating to the release

  11           and release schedule for BAYC NFTs, including but not limited to the date

  12           the artwork corresponding to the newly-minted BAYC NFTs was revealed to

  13           respective owners, and the Bored Ape Yacht Clube metaverse “Otherside,”

  14           including but not limited to the launch date for “Otherside.”

  15 Response:
  16                   Yuga Labs incorporates by reference each of the General Objections

  17           set forth above as if fully set forth herein. Yuga Labs objects to this request
  18           as overbroad, not relevant to any claim or defense and not proportionate to
  19           the needs of the case. Yuga Labs objects to this request as overbroad, not
  20           proportionate to the needs of the case, and unduly burdensome, including
  21           because it requests “[a]ll Documents and communications” where a subset of
  22           documents would be sufficient, should any response be required. Yuga Labs
  23           objects to this request to the extent it seeks information that is subject to any
  24           protective order, privacy interest, contractual obligation, other confidentiality
  25           obligation owed to any third party, or competitively sensitive or proprietary
  26           financial or business information. Yuga Labs objects to this request to the
  27           extent it seeks disclosure of information protected by the attorney-client
  28           privilege, the work product doctrine, or any other applicable privilege.

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   1           Subject to and without waiving the foregoing objections, and subject to the
   2           Protective Order in this Action (ECF No. 51), Yuga Labs will produce non-
   3           privileged, relevant, responsive documents within its possession, custody, or
   4           control, if any, located after a reasonable search proportional to the needs of
   5           the case sufficient to show its use of the Asserted Marks.
   6                   1.     Mr. Ripps and Mr. Cahen’s Position
   7           Document Request No. 12 seeks materials showing or relating to the release
   8 and release schedule for BAYC NFTs. This information is critical to the trademark
   9 issues in this case because it concerns how the Asserted Marks, which were used in
  10 conjunction with BAYC NFTs, entered into commerce. See 15 U.S.C. §
  11 1125(c)(1); Nissan Motor Co. v. Nissan Computer Corp., 378 F.3d 1002, 1010 (9th
  12 Cir. 2004). Yuga has failed to produce any non-public documents regarding the
  13 release of BAYC NFTs. At this late stage of discovery, Yuga’s withholding of
  14 documents prejudices Defendants.
  15           Defendants’ Document Request No. 12 is relevant because the timeline of
  16 Yuga’s BAYC NFTs and Otherside release is relevant to their use of their Asserted
  17 Marks in commerce. See Sengoku Works Ltd. v. RMC Int’l, Ltd., 96 F.3d 1217,
  18 1219 (9th Cir.1996) (“To acquire ownership of a trademark it is not enough to have
  19 invented the mark first or even to have registered it first; the party claiming
  20 ownership must have been the first to actually use the mark in the sale of goods or
  21 services.”).
  22           Yuga has refused to produce materials in response to this request, arguing
  23 that it is not proportionate to the needs of this case. However, this request directly
  24 concerns the core issues in both Yuga’s and Defendants’ causes of action because it
  25 concerns the manner and timing in which the Asserted Marks and products at issue
  26 entered commerce, how they functioned in the market, and whether they were
  27 monitored for quality control by Yuga.
  28

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   1           Defendants have already suffered prejudice due to Yuga’s failure to produce
   2 these materials. Defendants have taken the deposition of Greg Solano, Kerem
   3 Atalay, and Yuga’s 30(b)(6) witness. However, Defendants were unfairly deprived
   4 of the opportunity to ask all relevant questions regarding the release of BAYC
   5 NFTs and Otherside, because Defendants were not given any of the relevant
   6 documents or communications that would have formed the basis for question
   7 regarding Yuga’s release schedule and how Yuga planned for and organized the
   8 way in which these materials entered into commerce. As discovery progresses, this
   9 prejudice continues to compound as there are further depositions scheduled in this
  10 case on March 1, March 6, and March 16, 2023.
  11           Defendants respectfully ask this Court to compel Yuga to comply with Rule
  12 34 and make immediate productions that are responsive to Defendant’s Request for
  13 Production No. 12. Defendants seek all document and communications which
  14 would properly satisfy this request including emails, texts, Discord chats, Telegram
  15 chats, Instagram chats, Twitter chats, letters, and all other material that relate to the
  16 release of BAYC NFTs and Otherside.
  17              2.  Yuga Labs’ Position
  18           There is no factual dispute when BAYC NFTs entered the market — it is
  19 readily ascertained by reference to indisputable public records on the immutable
  20 blockchain, and much has been written about this very public release. See, e.g.,
  21 https://etherscan.io/txs?a=0xbc4ca0eda7647a8ab7c2061c2e118a18a936f13d&f=5
  22 (blockchain record showing creation of the first BAYC tokens on April 22, 2021);
  23 https://twitter.com/BoredApeYC/status/1385714969547878400 (announcement of
  24 “pre-sale” on April 23, 2021); https://www.rollingstone.com/culture/culture-
  25 news/bayc-bored-ape-yacht-club-nft-interview-1250461 (discussing launch and
  26 growth of BAYC NFTs, through November 2021). Moreover, on January 17,
  27 2023, the Court held that “the origin of the marks is not in dispute and thus not
  28

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   1
       relevant.” ECF No. 87.
   2
               Regardless, there is also no dispute that Yuga Labs has produced, and
   3
       identified for Defendants in interrogatory responses, documents sufficient to show
   4
       the release date for BAYC NFTs in its document productions and written discovery
   5
       responses — as promised — on January 21, 2023. See Thomas Decl. Exhibit 6
   6
       (response to Interrogatory No. 1). Further, Defendants have obtained testimony
   7
       from Yuga Labs’ co-founder and Co-President Greg Solano as to the release date of
   8
       BAYC NFTs and testimony from Yuga Labs’ 30(b)(6) witness as to the date the
   9
       BAYC NFTs were minted. Thomas Decl. Exhibit 7 at 255, Exhibit 8 at 88–89.
  10
               Notwithstanding the absence of any factual dispute, Defendants seek “all
  11
       documents and communications” internal to Yuga Labs that show this release date
  12
       of BAYC NFTs. They have not been able to articulate any reason why they need
  13
       internal company “emails, texts, Discord chats, Telegram chats, Instagram chats,
  14
       Twitter chats, letters, and all other material” when there is no dispute that Yuga
  15
       Labs uses the BAYC Marks and used them before Defendants did. The request for
  16
       more information is not relevant or material, nor proportionate to the needs of the
  17
       case; it is unduly cumulative and duplicative.
  18
               In this Joint Stipulation, Defendants also ask for release dates for Otherside.
  19
       Defendants did not raise this issue in their December 31, 2022 letter or during the
  20
       parties’ meet and confer, so Yuga Labs is left guessing at the supposed relevance or
  21
       need for such materials, or what specific materials Defendants seek. But, again,
  22
       when Otherside was released to the public is a fact readily determinable by facts
  23
       publicly available to Defendants. See
  24
       https://etherscan.io/tx/0x2f3b642dbc7c44db1dd0e5d125e5eeb8007035d3cdacf1a28
  25
       ec037f9f7c8c684 (showing first transaction of the Otherside smart contract). Yet
  26
       again, notwithstanding that this fact is readily ascertained by immutable public data,
  27
       on January 27, 2023, Yuga Labs produced documents sufficient to show the release
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      22                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       date of Otherside. Thomas Decl. Exhibit 11. It is demonstrably false that “Yuga
   2
       has refused to produce materials in response to this request.” Without even
   3
       acknowledging in their argument above that Yuga Labs supplemented its
   4
       production to address Defendants’ concerns, Defendants chose to serve this Joint
   5
       Stipulation without meeting and conferring on that supplementation or explaining
   6
       what they believe they still need.
   7
               Yuga Labs respectfully requests attorneys’ fees in connection with
   8
       responding to Defendants’ Joint Stipulation. Defendants willfully served a moot
   9
       and frivolous request contrary to the Court’s January 17, 2022 Order and in
  10
       violation of Local Rule 37-4, after the Court’s admonition that the parties
  11
       cooperatively eliminate discovery disputes. See ECF No. 77 at 2 (“The Court
  12
       reminds the parties of their mandatory duty under Rule 37-1 to confer in good faith
  13
       to reduce or eliminate issues in dispute.”). Defendants originally served this Joint
  14
       Stipulation on January 17, 2023, and on January 19, 2023, Yuga Labs asked
  15
       Defendants to withdraw this issue because it violated the Court’s previous
  16
       instructions to resolve issues through the meet and confer process. Thomas Decl.
  17
       Exhibit 12. Defendants did so, but then re-served their Joint Stipulation without
  18
       withdrawing this request or even attempting to further discuss why Yuga Labs had
  19
       not cured this issue following the supplemental discovery served on Defendants.
  20
       Yuga Labs also transparently disclosed to Defendants that it would seek attorneys’
  21
       fees if Defendants did not withdraw the issue. Id. Defendants did not withdraw or
  22
       amend their Joint Stipulation to remove this issue from dispute.
  23
               F.Request for Production Number 25 (Discovery Related to Yuga’s
  24             use of “Ape Market” and Other Related Terms and Marks)
     Request for Production No. 25:
  25
                 All Documents relating to Yuga’s use of “Ape Market,” “ApeMarket,”
  26
          “ApeMarketPlace” or any other similar term in connection with any domain
  27
          name, product, service or event.
  28

       STIPULATION REGARDING DISCOVERY DISPUTE    23                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1 Response:
   2                   Yuga Labs incorporates by reference each of the General Objections
   3           set forth above as if fully set forth herein. Yuga Labs objects to this request
   4           as overbroad, not relevant to any claim or defense and not proportionate to
   5           the needs of the case. Yuga Labs objects to this request as overbroad, not
   6           proportionate to the needs of the case, and unduly burdensome, including
   7           because it requests “[a]ll Documents” where a subset of documents would be
   8           sufficient, should any response be required. Yuga Labs objects to this request
   9           to the extent it seeks disclosure of information protected by the attorney-
  10           client privilege, the work product doctrine, or any other applicable privilege.
  11           Yuga Labs objects to this request to the extent it seeks information that is
  12           subject to any protective order, privacy interest, contractual obligation, other
  13           confidentiality obligation owed to any third party, or competitively sensitive
  14           or proprietary financial or business information.
  15                   Subject to and without waiving the foregoing objections, and subject to
  16           the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
  17           non-privileged, relevant, responsive documents within its possession,
  18           custody, or control, if any, located after a reasonable search proportional to
  19           the needs of the case sufficient to show its use of the Asserted Marks.
  20                   1.     Mr. Ripps and Mr. Cahen’s Position
  21           Document Request No. 25 seeks materials relating to Yuga’s use of “Ape
  22 Market,” “ApeMarket,” “ApeMarketPlace” or any other similar term in connection
  23 with any domain name, product, service or event. Yuga has failed to produce any
  24 documents relating to their use of “Ape Market” or similar terms. Yuga’s
  25 withholding of documents prejudices Defendants, and prevents Mr. Ripps and Mr.
  26 Cahen from adequately utilizing depositions and other discovery tools.
  27      Defendants’ Document Request No. 25 is relevant to Yuga’s trademark
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      24                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1 infringement claims. Yuga has accused Defendants of infringing alleged
   2 trademarks including a “Bored Ape” mark and an “Ape” mark. See Compl. (Dkt.
   3 1) at 22-23. Materials related to Yuga’s use of “Ape Market,” “ApeMarket,”
   4 “ApeMarketPlace” or any other similar term is relevant to Yuga’s commercial
   5 activity and its ownership of the asserted alleged marks (as Yuga does not have a
   6 registered trademark in either the “Bored Ape” mark of the “Ape” mark in any
   7 relevant class). 2 Sengoku Works Ltd. v. RMC Int'l, Ltd., 96 F.3d 1217, 1219 (9th
   8 Cir. 1996).
   9           Yuga has failed to produce any documents relating to its use of “Ape
  10 Market,” “ApeMarket,” or “ApeMarketPlace” despite their clear relevance to
  11 Yuga’s accusation that Defendants’ artworks purportedly infringe Yuga’s “Ape”
  12 mark. Yuga’s withholding of requested documents has a compounding prejudicial
  13 effect. For instance, multiple depositions of Yuga employees/affiliated persons are
  14 scheduled in March, and Yuga withholding discovery is preventing Defendants
  15 from asking all relevant questions relating to documents discussing Yuga’s use of
  16 “Ape Market,” “ApeMarket,” or “ApeMarketPlace.”
  17      Defendants respectfully ask this Court to compel Yuga to comply with Rule
  18 34 and make immediate productions that are responsive to Defendant’s Request for
  19 Production No. 25. Defendants seek all document types which would properly
  20 satisfy this request, including, but not limited to, product development materials;
  21 internal and external marketing materials; internal memoranda; instructional
  22 materials including employee training or onboarding resources; letters; emails; text
  23 messages; or other records and communications.
  24                   2.     Yuga Labs’ Position
  25           Yuga Labs has explained, repeatedly, to Defendants that it does not allege
  26 Yuga Labs uses the terms “Ape Market,” “ApeMarket,” or “ApeMarketPlace.”
  27
     2
       Example of Yuga asserting BORED APE and APE in this litigation shown on
  28 pages 122-123 of Exhibit 7.

       STIPULATION REGARDING DISCOVERY DISPUTE      25                CASE NO. 2:22-CV-04355-JFW-JEM
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   1
       Gosma Decl. Exhibits 12 (“Yuga has not produced any documents relating to
   2
       Yuga’s use of “Ape Market” and related terms/marks. Please supplement your
   3
       production or explain why nothing has been produced.”), 13 (“It is not clear what
   4
       you are seeking with this request, as Yuga Labs has not claimed it used ‘Ape
   5
       Market.’ If you disagree, we will consider whether any supplemental production is
   6
       necessary on this basis.”). Yuga Labs has alleged ownership in the “APE”
   7
       trademark, including through its family of APE-based marks, and has produced
   8
       documents related to its use of the APE mark, and Defendants do not complain that
   9
       Yuga Labs has failed to produce documents related to its use of the APE mark.
  10
               There is no discovery to compel on this topic. Yuga Labs asked Defendants
  11
       to explain what documents they were seeking; Defendants, again, repeatedly
  12
       declined to explain what they are looking for and instead served this Joint
  13
       Stipulation. Then, after Yuga Labs asked Defendants to withdraw their Stipulation,
  14
       they re-served this current version with this demand still intact, despite still never
  15
       explaining what they want.
  16
               Yuga Labs respectfully requests attorneys’ fees in connection with
  17
       responding to Defendants’ Joint Stipulation. Defendants willfully served a moot
  18
       and frivolous request contrary to the Court’s January 17, 2022 Order and in
  19
       violation of Local Rule 37-4, after the Court’s admonition that the parties
  20
       cooperatively eliminate discovery disputes. See ECF No. 77 at 2 (“The Court
  21
       reminds the parties of their mandatory duty under Rule 37-1 to confer in good faith
  22
       to reduce or eliminate issues in dispute.”). Defendants originally served this Joint
  23
       Stipulation on January 17, 2023, and on January 19, 2023, Yuga Labs asked
  24
       Defendants to withdraw this issue because it violated the Court’s previous
  25
       instructions to resolve issues through the meet and confer process. Thomas Decl.
  26
       Exhibit 12. Defendants did so, but then re-served their Joint Stipulation without
  27
       withdrawing this request or even attempting to further discuss why Yuga Labs had
  28

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   1
       not cured this issue following the supplemental discovery served on Defendants.
   2
       Yuga Labs also transparently disclosed to Defendants that it would seek attorneys’
   3
       fees if Defendants did not withdraw the issue. Id. Defendants did not withdraw or
   4
       amend their Joint Stipulation to remove this issue from dispute.
   5
               G.      Request for Productions Number 30 and 31 (Discovery Related to
   6                   Yuga’s Marketing Activities Involving MoonPay and Celebrities)
   7 Request for Production No. 30:
   8             All Documents and Communications relating to Yuga’s cooperation

   9           with third parties aimed at popularizing BAYC NFTs, including but not

  10           limited to entities such as MoonPay.

  11 Response:
  12                   Yuga Labs incorporates by reference each of the General Objections

  13           set forth above as if fully set forth herein. Yuga Labs objects to this request

  14           as vague and ambiguous, including as to the term “popularize.” Yuga Labs

  15           objects to this request as overbroad, not proportionate to the needs of the
  16           case, and unduly burdensome, including because it requests “[a]ll
  17           Documents” where a subset of documents would be sufficient, should any
  18           response be required. Yuga Labs objects to this request’s unfounded and
  19           argumentative assertion that sch documents, including concerning MoonPay,
  20           exist in possession, custody, or control, and Yuga Labs’ objection are not a
  21           representation that any responsive documents exist. Yuga Labs objects to
  22           this request to the extent it seeks disclosure of information protected by the
  23           attorney-client privilege, the work product doctrine, or any other applicable
  24           privilege. Yuga Labs objects to this request to the extent it seeks information
  25           that is subject to any protective order, privacy interest, contractual obligation,
  26           other confidentiality obligation owed to any third party, or competitively
  27           sensitive or proprietary financial or business information.
  28                   Subject to and without waiving the foregoing objections, and subject to

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   1           the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
   2           non-privileged, relevant, responsive documents within its possession,
   3           custody, or control, if any, located after a reasonable search proportional to
   4           the needs of the case sufficient to show its use of the Asserted Marks.
   5 Request for Production No. 31:
   6                   All Documents and Communications relating to any agreements or
   7           efforts into agreements in which a BAYC NFT is given, exchanged, or sold
   8           to a celebrity, influencer, or any other public person, including but not
   9           limited to any non-disclosure agreements or arrangements with third
  10           parties/entities in furtherance of giving, exchanging, or selling a BAYC NFT
  11           to celebrity, influencer, or any other public person.
  12 Response:
  13                   Yuga Labs incorporates by reference each of the General Objections
  14           set forth above as if fully set forth herein. Yuga Labs objects to this request
  15           as overbroad and not relevant to any claim or defense. Yuga Labs objects to
  16           the terms “celebrity, influencer, or any other public person” and the phrase
  17           “efforts to enter into agreements” and the phrase “agreements” as vague and
  18           ambiguous. Yuga Labs objects to the extent that the requested documents
  19           are equally available to Defendants from other sources that are more
  20           convenient, less burdensome and/or less expensive, particularly to the extent
  21           the information sought is publicly available. Yuga Labs objects to this
  22           request as overbroad, not proportionate to the needs of the case, and unduly
  23           burdensome, including because it requests “[a]ll Documents” where a subset
  24           of documents would be sufficient, should any response be required. Yuga
  25           Labs objects to this request to the extent it seeks disclosure of information
  26           protected by the attorney-client privilege, the work product doctrine, or any
  27           other applicable privilege. Yuga Labs objects to this request to the extent it
  28

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   1           seeks information that is subject to any protective order, privacy interest,
   2           contractual obligation, other confidentiality obligation owed to any third
   3           party, or competitively sensitive or proprietary financial or business
   4           information.
   5                   Subject to and without waiving the foregoing objections, after
   6           conducting a reasonable search proportional to the needs of the case for
   7           documents within its possession, custody or control, Yuga Labs responds that
   8           it has no documents responsive to this request.
   9                   3.     Mr. Ripps and Mr. Cahen’s Position
  10           Document Requests No. 30 and 31 seek materials relating to Yuga’s
  11 cooperation with third parties aimed at popularizing BAYC NFTs, including but not
  12 limited to celebrity endorsers and intermediate entities such as MoonPay. These
  13 materials are relevant to Defendants’ defenses to trademark infringement because
  14 they directly related to the “use in commerce” element of trademark infringement
  15 and Defendants’ unclean hands defense. See 15 U.S.C. § 1125(c)(1); Nissan Motor
  16 Co. v. Nissan Computer Corp., 378 F.3d 1002, 1010 (9th Cir. 2004). Despite this,
  17 Yuga has failed to produce any documents relating to cooperation with third parties
  18 to popularize BAYC NFTs.
  19       Defendants’ Document Requests No. 30 and 31 are relevant to Yuga’s
  20 trademark infringement claims in multiple ways. Yuga has not registered any of
  21 the trademarks at issue in this litigation. This means that public recognition
  22 through use in commerce is Yuga’s sole basis for having enforceable rights (if any)
  23 in the Asserted Marks. Thus, materials related to Yuga’s cooperation with third
  24 parties to popularize BAYC NFTs are relevant to Yuga’s commercial activity and
  25 their ownership of the asserted marks. Sengoku Works Ltd. v. RMC Int’l, Ltd., 96
  26 F.3d 1217, 1219 (9th Cir.1996). In fact, Yuga specifically alleged exactly this in
  27 its complaint. See Complaint (Dkt. 1) ¶ 21 (“Adding to the BAYC brand’s
  28

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   1 popularity, major celebrities have publicly announced holding a Bored Ape NFT,
   2 including TV host Jimmy Fallon; famous musicians such as Justin Bieber,
   3 Madonna, Snoop Dogg, and Eminem; and famous athletes, including Stephen
   4 Curry, Serena Williams, and Shaquille O’Neal.”). Yuga’s cooperation with third
   5 parties to popularize BAYC NFTs was also a marketing strategy relevant to
   6 whether the Asserted Marks in the BAYC NFT collection are distinguished from
   7 the RR/BAYC project under the applicable likelihood of confusion test. See
   8 Brookfield Commc’ns, Inc. v. W. Coast Entm’t Corp., 174 F.3d 1036, 1046 (9th
   9 Cir.1999) (“[For a] trademark infringement claim under section 32 of the Lanham
  10 Act or an unfair competition claim under section 43(a) of the Lanham Act,
  11 Brookfield must establish that West Coast is using a mark confusingly similar to a
  12 valid, protectable trademark.”).
  13           Additionally, these document requests are also relevant to Defendants’
  14 unclean hands defense to trademark infringement. The Ninth Circuit has held that
  15 “[t]he doctrine of unclean hands bars relief to a plaintiff who has violated
  16 conscience, good faith or other equitable principles in his prior conduct as well as to
  17 a plaintiff who has dirtied his hands in acquiring the right presently asserted.”
  18 Seller Agency Council, Inc. v. Kennedy Ctr. For Real Estate Educ., Inc., 621 F.3d
  19 981, 986 (9th Cir. 2010) (emphasis added). Here, Yuga allegedly acquired the
  20 rights it asserts in this litigation through public recognition of its trademarks. But
  21 Yuga has “dirtied his hands” in attaining that public recognition by (1) misleading
  22 the public as to the securities nature of its products and (2) misleading the public by
  23 failing to disclose that celebrities were paid endorsers for BAYC NFT. Yuga has
  24 engaged in misconduct by duping celebrities (apparently in connection with
  25 transfers through the MoonPay system) into promoting unregistered securities by
  26 disguising those securities as digital art. Yuga also failed to inform celebrities of
  27 their duty to disclose their status as paid endorses by conceal the true nature of the
  28

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   1 BAYC NFTs they were tricked into promoting. This type of misconduct shows that
   2 Yuga attained public recognition of its trademarks, through use of celebrity
   3 endorsements in commerce, in a dishonest and unlawful manner, triggering the
   4 unclean hands defense. Defendants seek discovery into this issue to support their
   5 unclean hands defense in this litigation.
   6           Defendants respectfully ask this Court to compel Yuga to comply with Rule
   7 34 and make immediate productions that are responsive to Defendant’s Requests
   8 for Production Nos. 30 and 31. Defendants seek all document types which would
   9 properly satisfy this request, including, but not limited to, contracts; agreements;
  10 product development materials; marketing materials; letters; emails; text messages;
  11 and all other communications involving Guy Oseary, MoonPay, celebrities or any
  12 agents/representatives of celebrities.
  13                   4.     Yuga Labs’ Position
  14           Defendants’ request should be denied, because both of their justifications —
  15 “the securities nature of its products” and “failing to disclose that celebrities were
  16 paid endorsers for BAYC NFT” — are not relevant or proportionate to Yuga Labs’
  17 trademark claims or any legitimate unclean hands defense. Defendants have also
  18 acknowledged that these requests are premised on an unrelated securities class
  19 action, Real v. Yuga Labs, No. 2:22-cv-08909-FMO-PLA, (C.D. Cal.) (the “Real
  20 Action”), in which discovery is subject to a mandatory stay.
  21           (a)     The Stay of Discovery in the Real Action Prohibits This Discovery,
  22                   and Given Defendants’ Statements, the Court Should Enter a
  23                   Protective Order on These Topics
  24           The discovery sought from Yuga Labs in RFP Nos. 30 and 31 is subject to a
  25 mandatory stay of discovery under the Private Securities Litigation Reform Act, 15
  26 U.S.C. § 78u-4(b)(3)(B) (“PSLRA”) and as ordered by Judge Olguin in the Real
  27 Action. Thomas Decl. Exhibit 13 (Real Action, ECF No. 40, para 4 (C.D. Cal. Jan.
  28 17, 2023)). The Real Action was filed on December 8, 2022 and is in its

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   1
       preliminary stages. The PSLRA stay protects defendants (such as Yuga Labs)
   2
       named in putative securities class actions such as the Real Action from the burdens
   3
       of discovery until and unless a lead plaintiff can meet the high pleading standards
   4
       applicable to such actions and the court “has sustained the legal sufficiency of the
   5
       complaint.” SG Cowen Sec. Corp. v. U.S. Dist. Court, 189 F.3d 909, 911 (9th Cir.
   6
       1999). Courts routinely limit discovery in non-securities cases to address “the risk
   7
       that the purposes of the PSLRA stay . . . will be undermined if discovery even
   8
       tangentially related to the securities fraud issues is allowed to continue” in a second
   9
       case. Barney v. Zimmer Biomet Holdings, Inc., 2018 WL 11407332, at *3 (N.D.
  10
       Ind. Aug. 21, 2018); see also Leal v. Paramount Rest. Grp., Inc., 2013 WL 500447
  11
       (D. Colo. Feb. 11, 2013); In re AOL Time Warner Inc. Sec. & ERISA Litig., 2003
  12
       WL 22227945 (S.D.N.Y. Sept. 26, 2003).
  13
               Allowing members of the putative class to seek and receive discovery
  14
       directly related to the claims in a securities complaint undermines the fundamental
  15
       purposes of the PSLRA stay. Moomjy v. HQ Sustainable Maritime Indus., Inc.,
  16
       2011 WL 4048792, at *2 (W.D. Wash. Sept. 12, 2011). This is true of Mr. Ripps,
  17
       who, as an admitted holder of ApeCoin, is plainly within the definition of the
  18
       putative class in the Real Action. Thomas Decl. Exhibit 9 at 64–65.
  19
               The discovery sought by RFP Nos. 30 and 31 directly implicates the PSLRA
  20
       stay and is an admitted and open effort by the Defendants to circumvent it. Indeed,
  21
       Defendants’ stated rationale for seeking this information makes the connection
  22
       explicit: “Given the class action lawsuit against Yuga, it is clear that there should
  23
       be significant responsive materials related to these marketing activities.” Gosma
  24
       Decl. Exhibit 12. Ripps himself is attempting to rally support for the class action as
  25
       he seeks this discovery in this trademark case. Thomas Decl. Exhibit 17. And, as
  26
       Defendants further admit above, they “seek materials relating to . . . celebrity
  27
       endorsers and . . . MoonPay” in an effort to show that Yuga “misl[ed] the public as
  28

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   1
       to the securities nature of its products.” This is the precise conduct alleged in the
   2
       putative securities class action and that is subject to the discovery stay. Thomas
   3
       Decl. Exhibit 14 (Real Action Amended Complaint) at ¶¶ 1–9. Under these
   4
       circumstances, Judge Olguin’s “jurisdiction to rule upon the motion to dismiss
   5
       Plaintiffs’ federal securities claims . . . before any discovery has been conducted,
   6
       will have been circumvented by discovery in the [trademark] action, and therefore,
   7
       compromised.” Buettgen v. Harless, 2010 WL 2573463, at *2 (N.D. Tex. June 25,
   8
       2010).
   9
               For these reasons alone, Defendants’ requests for discovery into these topics
  10
       should be denied.
  11
               Further, because Defendants state above that they intend to “utiliz[e]
  12
       depositions and other discovery tools” to pursue these topics, Yuga Labs
  13
       respectfully requests a protective order under Fed. R. Civ. P. 26(c) excusing it from
  14
       responding to RFP Nos. 30 and 31, and other discovery into these topics, until and
  15
       unless Judge Olguin lifts the PSLRA stay in the pending securities class action.
  16
               (b)     Regardless of the PSLRA Stay, The Discovery Requested by
  17
                       Defendants Is Not Relevant or Proportionate to Yuga Labs’ Claims
  18
               Yuga Labs undisputedly uses its marks in commerce, and it has produced
  19
       substantial materials showing the same. Defendants’ position that specific alleged
  20
       promotion activities are “directly related to the ‘use in commerce’ element of
  21
       trademark infringement” is incorrect; were this the actual goal, this information
  22
       would be unnecessarily cumulative of discovery already provided on that topic and
  23
       therefore disproportionate to any legitimate need. Especially where Defendants
  24
       demand “[a]ll Documents and Communications” relating to these broad issues, their
  25
       requests certainly are not proportionate to any legitimate need of the case.
  26
               The authorities Defendants cite do not support their position either. First,
  27
       Defendants cite Sengoku Works Ltd. v. RMC Int’l, Ltd., 96 F.3d 1217, 1219 (9th
  28

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   1
       Cir.1996) for the proposition that “materials related to [] cooperation with third
   2
       parties to popularize [] NFTs are relevant to [] commercial activity and []
   3
       ownership of the asserted marks.” Sengoku says nothing of the sort. That was a
   4
       case in which a manufacturer and a marketer of a portable heater product “each
   5
       claim[ed] ownership of the [] trademark” used in connection with the heater. Id.
   6
       The court noted that in trademark law, “the standard test of ownership is priority of
   7
       use.” Id. Here, there is no question whatsoever that Yuga Labs used the BAYC
   8
       Marks prior to any use by Defendants. As Defendants admit, they used the BAYC
   9
       Marks specifically to refer to Yuga Labs and its NFTs sold under its BAYC Marks;
  10
       Yuga Labs’ use of the BAYC Marks necessarily has priority. See generally
  11
       Thomas Decl. Exhibit 5 (Defendants’ Answer and Counterclaims) (admitting
  12
       throughout that the RR/BAYC NFTs were made to explicitly refer to, and allegedly
  13
       criticize, Yuga Labs, BAYC, and the BAYC NFTs); see also, e.g., Thomas Decl.
  14
       Exhibit 3 (December 28, 2022 Joint Stipulation (Dkt. 69-1)) at 43 (collecting
  15
       admissions). There is no further factfinding that needs to be done on this topic, and
  16
       certainly none that warrants invasive and undefined probing into Yuga Labs’
  17
       internal marketing communications. Second, Defendants cite Brookfield
  18
       Commc’ns, Inc. v. W. Coast Entm’t Corp., 174 F.3d 1036, 1046 (9th Cir.1999) for
  19
       the “likelihood of confusion” factor of the Ninth Circuit’s trademark infringement
  20
       test. But they provide no support, or even any attempt to argue, that Yuga Labs’
  21
       alleged “cooperation with third parties to popularize BAYC NFTs” can somehow
  22
       establish likelihood of confusion, and Yuga Labs has not articulated such a theory
  23
       in this case. Defendants are reaching. They also have not met their burden to show
  24
       the relevance, or proportionality, of broad discovery into these collateral issues.
  25
               In any event, Defendants already have ample evidence on this subject.
  26
       Evidence of Yuga Labs’ marketing and selling of its NFTs is publicly available and
  27
       has been the subject of substantial document discovery provided by Yuga Labs —
  28

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   1
       which Defendants do not dispute.
   2
   3
   4
   5
               (c)     Defendants Should Not Be Permitted Yet Another Attempt at
   6
                       Discovery into Inflammatory Material on Their Withdrawn
   7
                       Counterclaim
   8
               What this topic is really about is another transparent attempt to seek
   9
       discovery on Defendants’ counterclaims and Inflammatory Material allegations.
  10
       See Answer and Counterclaims (Thomas Decl. Exhibit 5) at ¶¶ 2 (counterclaim
  11
       allegation concerning “celebrity endorsements”), 44 (counterclaim allegation
  12
       concerning “activities including the use of unwitting celebrities and popular
  13
       brands”), 58 (counterclaim allegations concerning Guy Oseary), 46 (counterclaim
  14
       allegation concerning “celebrities whom Yuga had promoting its offensive
  15
       material”). The Court already held that Defendants were not entitled to sweeping
  16
       discovery on their requests concerning “Inflammatory Material,” because those
  17
       requests are moot in light of Judge Walter’s December 16, 2022 Order holding,
  18
       inter alia, that Yuga Labs’ claims “do not arise out of Defendants’ attempts to
  19
       publicize and criticize Plaintiff’s purported use of” Inflammatory Material, but
  20
       instead “Plaintiff’s claims are limited to and arise out of Defendant’s unauthorized
  21
       use of the BAYC Marks for commercial purposes.” Thomas Decl. Exhibit 1 at 11.
  22
       The Court also rejected Defendants’ attempt to obtain the same sweeping discovery
  23
       “by the backdoor of a counterclaim.” Thomas Dec. Exhibit 2 at 2. Because
  24
       Defendants’ retaliatory counterclaims are subject to an anti-SLAPP motion to strike
  25
       and a motion to dismiss (including for lack of subject-matter jurisdiction), the Court
  26
       properly declined to compel Yuga Labs to produce discovery as to Defendants’
  27
       counterclaims until Judge Walter rules on Yuga Labs’ pending motion. Id.
  28

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   1
       Additionally in response to the anti-SLAPP motion, Defendants have now
   2
       withdrawn their “no defamation” claim — an admission that they knew they had no
   3
       basis for the claim or to seek discovery they sought (and moved to compel) on this
   4
       claim. Defendants’ admission further narrows any relevance these requests ever
   5
       could have had to the counterclaims. See Dkt. 96 at 21.
   6
               Nonetheless, Defendants seek a third bite at the apple for “Inflammatory
   7
       Material” and a gambit to have the Court compel discovery on claims over which it
   8
       has not even determined subject-matter jurisdiction. Indeed, though Defendants
   9
       now claim that these discovery requests have nothing to do with their
  10
       counterclaims, that position is a pivot from the stance explicitly taken in the letter
  11
       initiating this dispute. See Gosma Decl. Exhibit 7 at 2 (“Given Mr. Ripps and Mr.
  12
       Cahen’s counterclaims, including their claims for intentional infliction of emotional
  13
       distress and declaration of no defamation, Yuga’s responses to accusations relating
  14
       to Inflammatory Material are well within the scope of discovery.”).
  15
               Defendants’ persistent attempts at further discovery on topics beyond the
  16
       trademarks central to this case should be denied as objectionable. Indeed, another
  17
       case in the Central District of California resulted in a mistrial because of the
  18
       defendants’ repeated attempts in that case to make accusations of racism and
  19
       cultural appropriation to distract from the merits of a trademark case. Thomas
  20
       Decl. Exhibits 15, 16. This is Defendants’ latest in a string of tactics to turn this
  21
       trademark litigation into a tool for leveraging inappropriate and harassing discovery
  22
       without regard for the Court’s Orders.
  23
               (d)     The Discovery Requested by Defendants Is Not Relevant or
  24
                       Proportionate to Defendants’ Latest Theory — Their Unclean Hands
  25
                       Defense
  26
               Defendants have not brought a cancellation counterclaim or an affirmative
  27
       defense of invalidity. They therefore do not challenge the validity of Yuga Labs’
  28

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   1
       BAYC Marks. Nonetheless, Defendants argue that by alleging generalized
   2
       misconduct by Yuga Labs (not related to Defendants in any way), Yuga Labs is
   3
       barred from asserting its trademark rights against them (and by the same reasoning,
   4
       anyone else). This is not how the defense of unclean hands operates.
   5
               “The unclean hands maxim is not a search warrant authorizing the defendant
   6
       to probe into all the possible types of inequitable conduct ever engaged in by the
   7
       plaintiff.” 6 J. McCarthy, McCarthy on Trademarks and Unfair Competition
   8
       § 31:48 (5th ed. 2022). A defendant asserting unclean hands most prove “the
   9
       plaintiff’s conduct directly relates to the claim which it has asserted against the
  10
       defendant.” Intamin, Ltd. v. Magnetar Techs. Corp., 623 F. Supp. 2d 1055, 1074
  11
       (C.D. Cal. 2009), aff’d, 404 F. App’x 496 (Fed. Cir. 2010); see also Pom Wonderful
  12
       LLC v. Welch Foods, Inc., 737 F. Supp. 2d 1105, 1110 (C.D. Cal. 2010) (“the
  13
       ‘misconduct that forms the basis for the unclean hands defense [must be] directly
  14
       related to plaintiff’s use or acquisition of the right in suit.’”). For Defendants’
  15
       requests to be relevant, they must show that the discovery they seek into these
  16
       collateral issues of securities laws and disclosures (which have nothing to do with
  17
       Defendants’ infringement of the BAYC Marks) could form the basis for a viable
  18
       affirmative defense. The defense cannot be supported by “insufficiently related
  19
       conduct when the central issue is the trademark registration.” McDonald’s Corp. v.
  20
       Hardee's Food Sys., Inc., No. 76 C 622, 1976 WL 20990, at *3 (N.D. Ill. Sept. 23,
  21
       1976) (striking unclean hands defense); see also, e.g., Kaiser Trading Co. v.
  22
       Associated Metals and Minerals Corp., 321 F.Supp. 923, 936 (N.D. Cal.
  23
       1970) (“The misconduct which brings the clean hands doctrine into operation must
  24
       relate directly to the transaction concerning which the complaint is made, i.e., it
  25
       must pertain to the very subject matter involved and affect the equitable relations
  26
       between the litigants.”); Certified Nutraceuticals Inc. v. Clorox Co., No. 18-CV-
  27
       0744 W (KSC), 2021 WL 4460806, at *3 (S.D. Cal. Sept. 29, 2021) (“For unclean
  28

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   1
       hands, it is fundamental to the operation of the doctrine that the alleged misconduct
   2
       by the plaintiff relate directly to the transaction concerning which the complaint is
   3
       made.’” (cleaned up)).
   4
               Defendants have not made this showing. “What is material is not that the
   5
       plaintiff’s hands are dirty, but that he dirtied them in acquiring the right he now
   6
       asserts.” Project Strategies Corp. v. National Comm. Corp., 948 F. Supp. 218, 227
   7
       (E.D.N.Y. 1996) (quoting Republic Molding Corp. v. B.W. Photo Util., 319 F.2d
   8
       347, 349-50 (9th Cir. 1963)). Defendants rely solely on Seller Agency Council, Inc.
   9
       v. Kennedy Ctr. For Real Estate Educ., Inc., 621 F.3d 981, 986 (9th Cir. 2010) to
  10
       support their unclean hands argument. The Court there observed that the District
  11
       Court applied the unclean hands doctrine where the plaintiff breached the stock
  12
       purchase agreement with the defendant, and in so doing, the plaintiff diverted
  13
       revenue from Defendants’ program. Id. at 984, 987. Thus, the plaintiff’s actions
  14
       with respect to its agreement with the defendant prohibited the plaintiff from
  15
       “enforce[ing] the agreement requiring [the defendants] to transfer the intellectual
  16
       property.” Id. at 985. Unlike this traditional application of the unclean hands
  17
       doctrine, whereby for example a party wrongs the counterparty through the same
  18
       legal relationship it asks the court to enforce, Defendants advocate for a novel,
  19
       sweeping rule that any alleged wrongdoing (toward the general public) forever bars
  20
       Yuga Labs from access to the courts to enforce their rights. This position is
  21
       unsupported and is incorrect. As the Court held, “[u]nclean hands does not
  22
       constitute misconduct in the abstract, unrelated to the claim to which it is asserted
  23
       as a defense.” Id. at 986–87 (internal quotation marks omitted).
  24
               Specifically, neither Defendants’ celebrity endorsement theory nor their
  25
       securities fraud theory warrants burdensome and sweeping discovery into new,
  26
       collateral topics. Neither Defendant alleges they ever purchased or held a BAYC
  27
       NFT. These allegations have nothing to do with the trademark dispute between the
  28

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   1
       parties, and Defendants admit there is no nexus whatsoever between their
   2
       securities/disclosure allegations and their trademark infringement causing
   3
       confusion to consumers or any harm to them. Defendants certainly cannot allege
   4
       that it is somehow inequitable to hold them accountable for trademark infringement
   5
       because of their theories about undisclosed celebrity endorsements or whether
   6
       BAYC NFTs are actually investment contracts. Rather, these are the kind of
   7
       generalized claims of wrongdoing that any defendant could lodge against any
   8
       plaintiff, derailing litigation and opening the floodgates to burdensome discovery
   9
       on countless topics. Defendants have no authority for this novel expansion of the
  10
       unclean hands defense or its use as a nuclear option in discovery. See S. Cal. Darts
  11
       Ass’n v. Zaffina, 762 F.3d 921, 932-33 (9th Cir. 2014) (finding, in a case where the
  12
       defendant alleged plaintiff failed to register as a corporation, where “the
  13
       misconduct alleged [by the plaintiff] does not bear any ‘immediate and necessary
  14
       relation’ to the manner in which [the plaintiff] acquired its rights or to the equities
  15
       of this case, the unclean hands doctrine is inapplicable” (emphases added));
  16
       Healthpoint, Ltd. v. Ethex Corp., 273 F. Supp. 2d 817, 849 (W.D. Tex. 2001)
  17
       (“The unclean hands doctrine should not bar Lanham Act claims when the doctrine
  18
       is premised on allegations of non-compliance with the FDCA because such a use of
  19
       the doctrine would essentially permit a private enforcement action — a power
  20
       reserved for the FDA.”).
  21
               Finally, even if an alleged securities fraud theory or celebrity endorsement
  22
       theory could ever establish unclean hands in a trademark case, the discovery
  23
       Defendants seek in this case, at this stage, is irrelevant, disproportionate,
  24
       cumulative, and merely harassing.
  25
  26
                   Any more discovery on the issue is purely a fishing expedition and
  27
       disproportionate to the needs of the case on this collateral issue. Furthermore, as to
  28

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   1
       the very complicated securities fraud theory, on which Defendants would bear the
   2
       burden of proof, Defendants have not served any expert report (let alone one on this
   3
       issue). Defendants have not explained how they intend to present such an
   4
       expansive collateral issue at trial. Thus, having failed to even put forth expert
   5
       reports on either of these complex issues and in light of the sworn testimony, it is
   6
       doubtful Defendants are serious about pursuing either of these theories at trial either
   7
       and are just using them as a proxy to try to harass through discovery. These
   8
       arguments are not brought in good faith and should be squarely rejected.
   9
               ***
  10
               Defendants’ demands for discovery on these topics should be rejected as
  11
       contrary to the PLSRA and the authority of the court in the Real Action, irrelevant
  12
       to any claim or defense, and not proportionate to the needs of the case.
  13
               To the extent the Court finds that Defendants have contravened its prior order
  14
       regarding discovery into counterclaims and Inflammatory material, Yuga Labs
  15
       respectfully requests attorneys’ fees in connection with responding to Defendants’
  16
       Joint Stipulation. Defendants have shown a pattern of seeking discovery into topics
  17
       they believe will harm or embarrass Yuga Labs but have no intention of actually
  18
       pursuing at trial. For instance, Defendants brought a counterclaim for a declarative
  19
       judgment of “no defamation,” and on the basis of that claim they sought to compel
  20
       discovery into baseless accusations that Yuga Labs and its founders supported
  21
       racist, Nazi, alt-right, or other “Inflammatory” ideology. See Thomas Decl. Exhibit
  22
       4. Then, when that argument failed, they refused to defend the validity of their
  23
       claim to the District Court. See Dkt. 96 (withdrawing claim). They have now
  24
       concocted a new theory to get at the same discovery they were previously denied.
  25
       Having presented no expert opinion or other showing of the complex securities and
  26
       disclosure issues they raise, Defendants have shown no indication that they are any
  27
       more serious about actually pursuing this theory than they were their abandoned
  28

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   1
       counterclaim. Worse still, now Defendants seek to stay all proceedings at the same
   2
       time they are asking for an eleventh-hour dramatic expansion in the case and
   3
       discovery. Thomas Decl. Exhibit 18. Their efforts to abuse discovery in this
   4
       litigation as a vehicle to harass, now under the guise of an unclean hands defense
   5
       that clearly does not enable the discovery they seek, needs to end.
   6
               H.      Request for Production Number 41 (Discovery Relating To Yuga’s
   7                   Awareness of Defendants’ Artwork)
   8 Request for Production No. 41:
   9             All Documents relating to Yuga’s first awareness of the existence of

  10           RR/BAYC, or any other products/activities Yuga accuses of infringing the

  11           Asserted Marks in this Litigation.

  12 Response:
  13                   Yuga Labs incorporates by reference each of the General Objections

  14           set forth above as if fully set forth herein. Yuga Labs objects to this request

  15           as not relevant to any claim or defense, overbroad as to the timing of Yuga

  16           Labs’ “awareness” of Defendants’ infringement of the Asserted Marks.
  17           Yuga Labs objects to this request as overbroad, not proportionate to the
  18           needs of the case, and unduly burdensome, including because it requests
  19           “[a]ll documents,” where a subset of document would be sufficient, should
  20           any response be required. Yuga Labs objects to this request to the extent it
  21           seeks disclosure of information protected by the attorney-client privilege, the
  22           work product doctrine, or any other applicable privilege. Yuga Labs objects
  23           to this request to the extent it seeks information that is subject to any
  24           protective order, privacy interest, contractual obligation, other confidentiality
  25           obligation owed to any third party, or competitively sensitive or proprietary
  26           financial or business information. Yuga Labs objects to this request to the
  27           extent it calls for a legal conclusion.
  28                   Subject to and without waiving the foregoing objections, and subject to

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   1           the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
   2           non-privileged, relevant, responsive documents within its possession,
   3           custody, or control, if any, located after a reasonable search proportional to
   4           the needs of the case sufficient to support the allegations in the Complaint
   5           regarding Defendants’ infringement of the Asserted Marks.
   6                   5.     Mr. Ripps and Mr. Cahen’s Position
   7           Document Request No. 41 seeks materials relating to Yuga’s first awareness
   8 of the existence of RR/BAYC, or any other products or activities Yuga accuses of
   9 infringing the Asserted Marks in this litigation. This request directly relates to
  10 Yuga’s trademark claims. On January 17, 2023, Yuga promised that it would
  11 produce materials in response to this request. But Yuga’s supplemental production
  12 contained no responsive materials. Yuga has failed to produce any of its non-public
  13 documents addressing any internal discussions of the RR/BAYC project, or of any
  14 other products or activities Yuga accuses of infringing the Asserted Marks. Yuga’s
  15 withholding of documents prejudices Defendants.
  16           Defendants’ Document Request No. 41 is relevant to this matter in several
  17 ways. First, Yuga’s initial awareness of the RR/BAYC project is relevant to
  18 Defendants’ laches and acquiescence defenses. Both defenses require establishing
  19 that the delay between the plaintiff becoming aware of alleged trademark
  20 infringement and filing suit prejudiced the defendant. See Jarrow Formulas, Inc. v.
  21 Nutrition Now, Inc., 304 F.3d 829, 838 (9th Cir. 2002) (“As the party asserting
  22 laches, Nutrition Now must show that (1) Jarrow’s delay in filing suit was
  23 unreasonable, and (2) Nutrition Now would suffer prejudice caused by the delay if
  24 the suit were to continue.”); Seller Agency Council, Inc. v. Kennedy Ctr. For Real
  25 Est. Educ., Inc., 621 F.3d 981, 989 (9th Cir. 2010) (“The elements of a prima facie
  26 case for acquiescence are as follows: (1) the senior user actively represented that it
  27 would not assert a right or a claim; (2) the delay between the active representation
  28

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   1 and assertion of the right or claim was not excusable; and (3) the delay caused the
   2 defendant undue prejudice.”)
   3           Yuga’s assertion that this request is not proportionate is baseless. Yuga has
   4 only produced roughly 200 non-public documents total. Moreover, Yuga will not
   5 even confirm that it has followed the routine practice of searching its electronic
   6 records at all in response to Defendants’ discovery requests. See Gosma Decl. Ex.
   7 7 at 1. Yuga’s failure to comply with discovery and produce documents is causing
   8 prejudice to the Defendants by depriving them of a fair opportunity to take
   9 deposition in this case.
  10           Defendants respectfully ask this Court to compel Yuga to comply with Rule
  11 34 and make immediate productions that are responsive to Defendant’s Request for
  12 Production No. 41. Defendants seek all document types which would properly
  13 satisfy this request, including, but not limited to, internal memoranda; investigation
  14 materials; emails, text messages, Discord chats, Twitter chats, Telegram chats,
  15 Instagram chats, and all other records and communication regarding first awareness
  16 of the Defendants’ artwork.
  17             6.     Yuga Labs’ Position
  18           Defendants claim that “Yuga’s supplemental production contained no
  19 responsive materials.” This is false. Yuga Labs produced documents, and
  20 supplemental written responses, providing the information Defendants seek in this
  21 request. See Thomas Decl. Exhibit 6. Had Defendants met and conferred or asked
  22 about this topic, as required, Yuga Labs would have directed Defendants to these
  23 materials.
  24           Yuga Labs’ objections should be sustained to the extent Defendants still
  25 believe they need more. Defendants’ only justification for seeking these materials
  26 is relevance to their rejected Rogers defense. The Court, taking Defendants’
  27 positions and supporting evidence into consideration, has already held that “the
  28

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   1
       Rogers test does not apply.” Order (ECF No. 62) at 6. 3 Defendants’ request for
   2
       discovery into their Rogers defense “is now moot in view of the District Court’s
   3
       December 16, 2022 ruling.” Thomas Decl. Exhibit at 2. Even so, Yuga Labs’
   4
       “knowledge regarding Defendants’ [alleged] fair use of the Asserted Marks for
   5
       artistic expression” is not relevant to any claim or defense; no element of the
   6
       Rogers test requires the plaintiff to know that Defendants purportedly had an
   7
       artistic motive behind their infringement. Yuga Labs explained the irrelevance of
   8
       this request in the parties’ meet and confer, but Defendants served the Joint
   9
       Stipulation anyway and notwithstanding this Court’s January 17 Order. When the
  10
       parties met and conferred on this issue on January 23, 2023, Defendants’ counsel
  11
       took the position that the Rogers test in fact does apply to this case and is a
  12
       legitimate basis for discovery, but they did not intend to seek reconsideration of
  13
       Judge Walter’s December 16, 2022 Order that “the Rogers test does not apply in
  14
       this case.” Order (ECF No. 62) at 5 n.2.
  15
               If there was any doubt that the Rogers test does not apply in this case, that
  16
       doubt was put to rest in Hermes International et al. v. Rothschild, No. 1:22-cv-
  17
       00384-JSR (S.D.N.Y.). There, under nearly identical facts but with an artist who
  18
       actually created some art (rather than just peddling knockoff digital goods), the jury
  19
       still determined that Rogers was not a defense to trademark infringement. Thomas
  20
       Dec. Exhibits 19 (amended complaint), 20 (jury verdict). The court there also
  21
       concluded that, in a trademark infringement case relating to NFTs, such as this
  22
       case, “[g]iven the centrality of consumer confusion to trademark law generally, it is
  23
       best to view this issue from the perspective of the prospective consumer.
  24
       Individuals do not purchase NFTs to own a ‘digital deed’ divorced from any other
  25
     3
       Judge Walter reached this conclusion upon “considering the moving, opposing,
  26 and reply papers, and the arguments therein” Thomas Decl. Exhibit 1 at 6), which
     include Ripps’ fact declaration (Dkt. 48-1) and the dozens of exhibits submitted in
  27 support of Defendants’ Rogers argument. Defendants have appealed the anti-
     SLAPP aspect of this Order but have not sought reconsideration or any other relief
  28 that prevents the Order from having full effect as to any purported Rogers defense.

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   1
       asset: they buy them precisely so that they can exclusively own the content
   2
       associated with the NFT.” Thomas Decl. Exhibit 21 (order denying motions for
   3
       summary judgment) at 14. Here, there is no dispute that Defendants point their
   4
       counterfeit NFTs to the exact same images to which authentic BAYC NFTs point,
   5
       use the same name ID for their tokens (e.g. RR/BAYC purchasers select an “Ape
   6
       Id” when purchasing and that “Ape Id” is the BAYC NFT Ape Id), and use
   7
       identical or nearly identical marks to sell their counterfeit NFTs. Judge Walter has
   8
       already held, and the Hermes outcome supports that holding, that Rogers does not
   9
       apply in this case.
  10
               Yuga Labs respectfully requests attorneys’ fees in connection with
  11
       responding to Defendants’ Joint Stipulation. Defendants willfully served a moot
  12
       and frivolous request contrary to the Court’s January 17, 2022 Order and in
  13
       violation of Local Rule 37-4, after the Court’s admonition that the parties
  14
       cooperatively eliminate discovery disputes. See ECF No. 77 at 2 (“The Court
  15
       reminds the parties of their mandatory duty under Rule 37-1 to confer in good faith
  16
       to reduce or eliminate issues in dispute.”). Defendants originally served this Joint
  17
       Stipulation on January 17, 2023, and on January 19, 2023, Yuga Labs asked
  18
       Defendants to withdraw this issue because it violated the Court’s previous
  19
       instructions to resolve issues through the meet and confer process. Thomas Decl.
  20
       Exhibit 12. Defendants did so, but then re-served their Joint Stipulation without
  21
       withdrawing this request or even attempting to further discuss why Yuga Labs had
  22
       not cured this issue following the supplemental discovery served on Defendants.
  23
       Defendants have done so by repeatedly taking the position that Judge Walter’s
  24
       Order and this Court’s January 17 Order do not mean what they say. Yuga Labs
  25
       also transparently disclosed to Defendants that it would seek attorneys’ fees if
  26
       Defendants did not withdraw the issue. Id. Defendants did not withdraw or amend
  27
       their Joint Stipulation to remove this issue from dispute.
  28

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   1           I.      Request for Production Number 50 (Discovery Related to Yuga’s
                       Promotion and Sale of BAYC NFTs)
   2 Request for Production No. 50:
   3
                 All Documents and Communications that detail Yuga’s promotion,
   4
          advertising, or sale of BAYC NFTs.
   5
     Response:
   6
                 Yuga Labs incorporates by reference each of the General Objections
   7
          set forth above as if fully set forth herein. Yuga Labs objects to this request
   8
          as vague and ambiguous as to the term “detail.” Yuga Labs objects to this
   9
          request as overbroad, not proportionate to the needs of the case, and unduly
  10
          burdensome, including because it requests “[a]ll documents,” where a subset
  11
          of document would be sufficient, should any response be required. Yuga
  12
          Labs objects to this request to the extent it seeks disclosure of information
  13
          protected by the attorney-client privilege, the work product doctrine, or any
  14
          other applicable privilege. Yuga Labs objects to this request to the extent it
  15
          seeks information that is subject to any protective order, privacy interest,
  16
          contractual obligation, other confidentiality obligation owed to any third
  17
          party, or competitively sensitive or proprietary financial or business
  18
          information. Yuga Labs objects to the extent that the requested documents
  19
          are equally available to Defendants from other sources that are more
  20
          convenient, less burdensome and/or less expensive, particularly to the extent
  21
          the information sought is publicly available.
  22
                 Subject to and without waiving the foregoing objections, and subject to
  23
          the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
  24
          non-privileged, relevant, responsive documents within its possession,
  25
          custody, or control, if any, located after a reasonable search proportional to
  26
          the needs of the case sufficient to show representative examples of Yuga
  27
          Labs’ marketing under the Asserted Marks.
  28

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   1                   7.     Mr. Ripps and Mr. Cahen’s Position
   2           Document Request No. 50 seeks materials that detail Yuga’s promotion,
   3 advertising, or sale of BAYC NFTs. These materials are relevant to the trademark
   4 claims at issue in this case because concern use of the Asserted Marks in
   5 commerce. See 15 U.S.C. § 1125(c)(1); Nissan Motor Co. v. Nissan Computer
   6 Corp., 378 F.3d 1002, 1010 (9th Cir. 2004). While Yuga has produced public
   7 materials regarding the promotion and sale of BAYC NFTs, Yuga has failed to
   8 produce any non-public documents called for by this request. Yuga’s withholding
   9 of these materials is inexcusable and is causing prejudice.
  10           Defendants’ Document Request No. 50 is relevant to Yuga’s trademark
  11 infringement claims in multiple ways. Yuga’s promotion, advertising, and sale of
  12 BAYC NFTs is relevant to Yuga’s commercial activity and its ownership of the
  13 asserted marks. Sengoku Works Ltd. v. RMC Int’l, Ltd., 96 F.3d 1217, 1219 (9th
  14 Cir.1996). Non-public documents regarding these activities are necessary to
  15 provide context to any use of the Asserted Marks in commerce.
  16           Defendants respectfully ask this Court to compel Yuga to comply with Rule
  17 34 and make immediate productions that are responsive to Defendant’s Request for
  18 Production No. 50. Defendants seek all document types which would properly
  19 satisfy this request, including, but not limited to, product development materials;
  20 non-public marketing materials; receipts; contracts; letters; emails; text messages;
  21 or other non-public records and communications.
  22              8.    Yuga Labs’ Position
  23           This request concerns Yuga Labs’ “promotion, advertising, or sale of BAYC
  24 NFTs.” Yuga Labs has produced abundant materials on this topic, which
  25 Defendants do not dispute. Instead, Defendants demand internal marketing plans in
  26 addition to Yuga Labs’ actual marketing and use of the BAYC Marks. They have
  27 provided no justification for this. Indeed, it is what customers see — which is
  28

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   1
       publicly available material in this matter — that is relevant to any trademark claim.
   2
               The authority cited by Defendants states that “the party claiming ownership
   3
       must have been the first to actually use the mark in the sale of goods or services.”
   4
       Sengoku Works Ltd. v. RMC Int’l, Ltd., 96 F.3d 1217, 1219 (9th Cir.), as
   5
       modified, 97 F.3d 1460 (9th Cir. 1996). There is no dispute that Yuga Labs used
   6
       the BAYC marks in connection with the sale of goods and/or services, and that it
   7
       used those marks prior to Defendants. The Court has also held that “the origin of
   8
       the marks is not in dispute and thus not relevant.” ECF No. 87. Defendants have
   9
       also explicitly and repeatedly conceded that they used the BAYC Marks.
  10
       Defendants have offered no evidence (nor suggested why Yuga Labs would possess
  11
       any evidence) to even suggest any other party first used those marks in commerce.
  12
               Defendants’ request for additional discovery on this topic is irrelevant to any
  13
       claim or defense, not proportionate to the needs of the case, and overbroad. Yuga
  14
       Labs’ objections should be sustained.
  15
               J.      Request for Production Number 57 (Discovery Related to
  16                   Appdetex Materials)
  17 Request for Production No. 57:
  18             All Documents and Communications involving Focus IP, Inc. dba

  19           Appdetex regarding the Defendants, the RR/BAYC collection, Defendants’

  20           alleged use of the Asserted Marks, and Defendants’ artwork corresponding to

  21           the BAYC NFTs.

  22 Response:
  23                   Yuga Labs incorporates by reference each of the General Objections

  24           set forth above as if fully set forth herein. Yuga Labs objects to this request

  25           as vague, ambiguous, and calling for a legal conclusion as to the phrase
  26           “Defendants’ artwork corresponding to the BAYC NFTs.” Yuga Labs
  27           objects to this request as overbroad, not proportionate to the needs of the
  28           case, and unduly burdensome, including because it requests “[a]ll

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   1           documents,” where a subset of document would be sufficient, should any
   2           response be required. Yuga Labs objects to this request to the extent it seeks
   3           disclosure of information protected by the attorney-client privilege, the work
   4           product doctrine, or any other applicable privilege. Yuga Labs objects to this
   5           request to the extent it seeks information that is subject to any protective
   6           order, privacy interest, contractual obligation, other confidentiality obligation
   7           owed to any third party, or competitively sensitive or proprietary financial or
   8           business information. Yuga Labs objects to the extent that the requested
   9           documents are equally available to Defendants from other sources that are
  10           more convenient, less burdensome and/or less expensive, particularly to the
  11           extent the information sought is publicly available.
  12                   Subject to and without waiving the foregoing objections, and subject to
  13           the Protective Order in this Action (ECF No. 51), Yuga Labs will produce
  14           non-privileged, relevant, responsive documents within its possession,
  15           custody, or control, if any, located after a reasonable search proportional to
  16           the needs of the case sufficient to show representative examples of Yuga
  17           Labs’ enforcement of its rights in the Asserted Marks.
  18                   9.     Mr. Ripps and Mr. Cahen’s Position
  19           Document Request No. 57 seeks materials involving Focus IP, Inc. dba
  20 Appdetex regarding the Defendants, the RR/BAYC collection, Defendants’ alleged
  21 use of the Asserted Marks, and Defendants’ artwork corresponding to the BAYC
  22 NFTs. Thus far, Yuga has produced only a few dozen documents relating to
  23 Appdetex, not the actual communication involving Appdetex’s enforcement efforts
  24 relating to BAYC and RR/BAYC NFTs.
  25        Yuga does not dispute the relevance of this Document Request, as Yuga has
  26 already produced a few dozen responsive documents, but that cannot possibly be
  27 the extent of the responsive materials in the company’s possession. For example,
  28

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   1 Yuga has produced no internal emails or other electronic communications
   2 concerning Appdetex, nor has it confirmed that it has even conduced a search for
   3 them.
   4           Defendants respectfully ask this Court to compel Yuga to comply with Rule
   5 34 and make immediate complete productions that are responsive to Defendant’s
   6 Request for Production No. 57. Defendants seek all document types which would
   7 properly satisfy this request, including, but not limited to, internal memoranda;
   8 investigation materials; contracts; letters; emails; text messages; or other records
   9 and communications.
  10                   10.    Yuga Labs’ Position
  11           Yuga Labs has produced hundreds of documents related to its enforcement of
  12 its rights in the BAYC Marks, including representative takedown correspondences
  13 (via AppDetex) concerning other parties’ infringing content and all takedowns
  14 related to Defendants’ infringing RR/BAYC NFTs. Yuga Labs has also produced a
  15 Letter of Authorization enabling AppDetex to request such takedowns on its behalf,
  16 an agreement between Yuga Labs and AppDetex, and an invoice showing the cost
  17 of engaging AppDetex. Thomas Decl. ¶ 12. Defendants now ask for private
  18 correspondence between Yuga Labs and AppDetex. Without explaining how Yuga
  19 Labs’ existing production is supposedly deficient or why Yuga Labs’ internal
  20 conversations with AppDetex could be relevant to Yuga Labs’ trademark claims,
  21 Defendants say only that this request relates to Yuga Labs’ alleged “wrongful use
  22 of the DMCA process to take down materials based on trademark infringement (as
  23 opposed to copyright infringement).” A request for “all” communications with
  24 AppDetex is not proportionate to the needs of the case concerning Defendants’
  25 counterfeit NFTs.
  26           Moreover, the Court ruled on January 17, 2023 — before Defendants served
  27 this Joint Stipulation — that Defendants are not entitled to discovery into their
  28 counterclaims “until the District Court rules on the viability of those

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   1
       counterclaims.” Yuga Labs’ alleged misuse of the DMCA takedown process is one
   2
       such counterclaim (despite Defendants’ attempts to circumvent the Court’s order by
   3
       the backdoor of an “unclean hands” defense to Yuga Labs’ trademark claims).
   4
       Notwithstanding all of the above, Defendants served their Joint Stipulation anyway.
   5
               K.      Request for Admissions Numbers 1-36; 47-52; 55-58; 63-72; 80-84;
   6                   177-179 (Objections Primarily Premised on Definition of “You” or
                       “Yuga”)
   7
       Requests for Admission No. 1:
   8
                       Admit that You were aware prior to commencing this Litigation that
   9
               Mr. Ripps published or posted material explaining that RR/BAYC NFTs are
  10
               satirical.
  11
       Response:
  12
                       Yuga Labs incorporates by reference each of the General Objections
  13
               set forth above as if fully set forth herein. Yuga Labs objects that the
  14
               requests in Defendant’s First Set of Requests for Admission are made in bad
  15
               faith and without factual basis to reasonably anticipate admissions at this
  16
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  17
               and needlessly increase the cost of litigation. See Conlon v. United States,
  18
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  19
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  20
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  21
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  22
               sanctions for the Defendants’ continued abuse of this litigation.
  23
                       Yuga Labs objects to this request as irrelevant and overbroad,
  24
               including because it is not relevant to any claim or defense whether Yuga
  25
               Labs was “aware prior to commencing this Litigation” of this asserted fact.
  26
               Yuga Labs objects to this request as vague and ambiguous to the extent it
  27
               refers generally to “material” without identifying any specific statements or
  28

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   1           publications. Yuga Labs objects to this request as vague, ambiguous,
   2           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
   3           the asserted fact on behalf of all of the persons included in Defendants’
   4           definition of “You,” which includes people (and thus information) not within
   5           Yuga Labs’ control and dozens or potentially hundreds of individuals,
   6           including for example, every person that worked at ApeFest.
   7                   Subject to and without waiving the foregoing objections, Yuga Labs
   8           denies the objectionable and misleading request as phrased.
   9
       Request for Admission No. 2:
  10
                       Admit that You were aware prior to commencing this Litigation that
  11
               Mr. Ripps published or posted material explaining that RR/BAYC NFTs
  12
               express commentary with regards to the Bored Ape Yacht Club.
  13
       Response:
  14
                       Yuga Labs incorporates by reference each of the General Objections
  15
               set forth above as if fully set forth herein. Yuga Labs objects that the
  16
               requests in Defendant’s First Set of Requests for Admission are made in bad
  17
               faith and without factual basis to reasonably anticipate admissions at this
  18
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  19
               and needlessly increase the cost of litigation. See Conlon v. United States,
  20
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  21
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  22
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  23
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  24
               sanctions for the Defendants’ continued abuse of this litigation.
  25
                       Yuga Labs objects to this request as irrelevant and overbroad,
  26
               including because it is not relevant to any claim or defense whether Yuga
  27
               Labs was “aware prior to commencing this Litigation” of this asserted fact.
  28

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   1           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
   2           objects to this request as vague and ambiguous to the extent it refers
   3           generally to “material” without identifying any specific statements or
   4           publications. Yuga Labs objects to this request as vague, ambiguous,
   5           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
   6           the asserted fact on behalf of all of the persons included in Defendants’
   7           definition of “You,” which includes people (and thus information) not within
   8           Yuga Labs’ control and dozens or potentially hundreds of individuals,
   9           including for example, every person that worked at ApeFest.
  10                   Subject to and without waiving the foregoing objections, Yuga Labs
  11      denies the objectionable and misleading request as phrased.
  12 Request for Admission No. 3:
  13                   Admit that You were aware prior to commencing this Litigation that
  14           Mr. Ripps publicly stated that RR/BAYC NFTs are satirical.
  15 Response:
  16                   Yuga Labs incorporates by reference each of the General Objections
  17           set forth above as if fully set forth herein. Yuga Labs objects that the
  18           requests in Defendant’s First Set of Requests for Admission are made in bad
  19           faith and without factual basis to reasonably anticipate admissions at this
  20           stage of discovery, and thus presented to harass, cause unnecessary delay,
  21           and needlessly increase the cost of litigation. See Conlon v. United States,
  22           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  23           ‘harass the other side’ or in the hope that the party’s adversary will simply
  24           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  25           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  26           sanctions for the Defendants’ continued abuse of this litigation.
  27                   Yuga Labs objects to this request as irrelevant and overbroad,
  28

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   1           including because it is not relevant to any claim or defense whether Yuga
   2           Labs was “aware prior to commencing this Litigation” of this asserted fact.
   3           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
   4           objects to this request as vague and ambiguous to the extent it refers
   5           generally to “material” without identifying any specific statements or
   6           publications. Yuga Labs objects to this request as vague, ambiguous,
   7           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
   8           the asserted fact on behalf of all of the persons included in Defendants’
   9           definition of “You,” which includes people (and thus information) not within
  10           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  11           including for example, every person that worked at ApeFest.
  12                   Subject to and without waiving the foregoing objections, Yuga Labs
  13           denies the objectionable and misleading request as phrased.
  14
       Request for Admission No. 4:
  15
                       Admit that You were aware prior to commencing this Litigation that
  16
               Mr. Ripps publicly stated that RR/BAYC NFTs express commentary with
  17
               regards to the Bored Ape Yacht Club.
  18
       Response:
  19
                       Yuga Labs incorporates by reference each of the General Objections
  20
               set forth above as if fully set forth herein. Yuga Labs objects that the
  21
               requests in Defendant’s First Set of Requests for Admission are made in bad
  22
               faith and without factual basis to reasonably anticipate admissions at this
  23
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  24
               and needlessly increase the cost of litigation. See Conlon v. United States,
  25
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  26
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  27
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  28

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   1           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   2           sanctions for the Defendants’ continued abuse of this litigation.
   3                   Yuga Labs objects to this request as irrelevant and overbroad,
   4           including because it is not relevant to any claim or defense whether Yuga
   5           Labs was “aware prior to commencing this Litigation” of this asserted fact.
   6           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
   7           objects to this request as vague and ambiguous to the extent it refers
   8           generally to what Mr. Ripps generally “stated” without identifying any
   9           specific statements. Yuga Labs objects to this request as vague, ambiguous,
  10           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  11           the asserted fact on behalf of all of the persons included in Defendants’
  12           definition of “You,” which includes people (and thus information) not within
  13           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  14           including for example, every person that worked at ApeFest.
  15                   Subject to and without waiving the foregoing objections, Yuga Labs
  16      denies the objectionable and misleading request as phrased.
  17 Request for Admission No.5:
  18                   Admit that You were aware prior to commencing this Litigation that
  19           newspapers had published articles commenting on the satirical nature of
  20           RR/BAYC NFTs.
  21 Response:
  22                   Yuga Labs incorporates by reference each of the General Objections
  23           set forth above as if fully set forth herein. Yuga Labs objects that the
  24           requests in Defendant’s First Set of Requests for Admission are made in bad
  25           faith and without factual basis to reasonably anticipate admissions at this
  26           stage of discovery, and thus presented to harass, cause unnecessary delay,
  27           and needlessly increase the cost of litigation. See Conlon v. United States,
  28

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   1           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   2           ‘harass the other side’ or in the hope that the party’s adversary will simply
   3           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   4           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   5           sanctions for the Defendants’ continued abuse of this litigation.
   6                   Yuga Labs objects to this request as irrelevant and overbroad,
   7           including because it is not relevant to any claim or defense whether Yuga
   8           Labs was “aware prior to commencing this Litigation” of this asserted fact.
   9           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  10           objects to this request as vague and ambiguous to the extent it refers
  11           generally to what Mr. Ripps generally “stated” without identifying any
  12           specific statements. Yuga Labs objects to this request as vague, ambiguous,
  13           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  14           the asserted fact on behalf of all of the persons included in Defendants’
  15           definition of “You,” which includes people (and thus information) not within
  16           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  17           including for example, every person that worked at ApeFest.
  18                   Subject to and without waiving the foregoing objections, Yuga Labs
  19      denies the objectionable and misleading request as phrased.
  20 Request for Admission No. 6:
  21                   Admit that You were aware prior to commencing this Litigation that
  22           newspapers had published articles commenting on the satirical nature of
  23           RR/BAYC NFTs.
  24 Response:
  25                   Yuga Labs incorporates by reference each of the General Objections
  26           set forth above as if fully set forth herein. Yuga Labs objects that the
  27           requests in Defendant’s First Set of Requests for Admission are made in bad
  28

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   1           faith and without factual basis to reasonably anticipate admissions at this
   2           stage of discovery, and thus presented to harass, cause unnecessary delay,
   3           and needlessly increase the cost of litigation. See Conlon v. United States,
   4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   5           ‘harass the other side’ or in the hope that the party’s adversary will simply
   6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   8           sanctions for the Defendants’ continued abuse of this litigation.
   9                   Yuga Labs objects to this request as irrelevant and overbroad,
  10           including because it is not relevant to any claim or defense whether Yuga
  11           Labs was “aware prior to commencing this Litigation” of this asserted fact.
  12           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  13           objects to this request as vague and ambiguous to the extent it refers all
  14           “newspapers” and “articles,” and as to the phrase “expressing commentary.”
  15           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  16           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  17           on behalf of all of the persons included in Defendants’ definition of “You,”
  18           which includes people (and thus information) not within Yuga Labs’ control
  19           and dozens or potentially hundreds of individuals, including for example,
  20           every person that worked at ApeFest.
  21                   Subject to and without waiving the foregoing objections, Yuga Labs
  22      denies the objectionable and misleading request as phrased.
  23 Request for Admission No. 7:
  24                   Admit that You were aware prior to commencing this Litigation that
  25           newspapers had published articles commenting on the satirical nature of
  26           RR/BAYC NFTs.
  27 Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as irrelevant and overbroad,
  13           including because it is not relevant to any claim or defense whether Yuga
  14           Labs was “aware prior to commencing this Litigation” of this asserted fact.
  15           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  16           objects to this request as vague and ambiguous to the extent it refers all
  17           “users” and “comment[s]” on Twitter. Yuga Labs objects to this request as
  18           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
  19           Yuga Labs to admit the asserted fact on behalf of all of the persons included
  20           in Defendants’ definition of “You,” which includes people (and thus
  21           information) not within Yuga Labs’ control and dozens or potentially
  22           hundreds of individuals, including for example, every person that worked at
  23           ApeFest.
  24                   Subject to and without waiving the foregoing objections, Yuga Labs
  25      denies the objectionable and misleading request as phrased.
  26 Request for Admission No. 8:
  27                   Admit that You were aware prior to commencing this Litigation that
  28

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   1           users on Twitter made posts or comments about RR/BAYC NFTs expressing
   2           commentary with regards to the Bored Ape Yacht Club.
   3 Response:
   4                   Yuga Labs incorporates by reference each of the General Objections
   5           set forth above as if fully set forth herein. Yuga Labs objects that the
   6           requests in Defendant’s First Set of Requests for Admission are made in bad
   7           faith and without factual basis to reasonably anticipate admissions at this
   8           stage of discovery, and thus presented to harass, cause unnecessary delay,
   9           and needlessly increase the cost of litigation. See Conlon v. United States,
  10           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  11           ‘harass the other side’ or in the hope that the party’s adversary will simply
  12           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  13           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  14           sanctions for the Defendants’ continued abuse of this litigation.
  15                   Yuga Labs objects to this request as irrelevant and overbroad,
  16           including because it is not relevant to any claim or defense whether Yuga
  17           Labs was “aware prior to commencing this Litigation” of this asserted fact.
  18           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  19           objects to this request as vague and ambiguous to the extent it refers
  20           generally to all “users” and “comment[s]” on Twitter. Yuga Labs objects to
  21           this request as vague, ambiguous, overbroad, and unduly burdensome to the
  22           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
  23           persons included in Defendants’ definition of “You,” which includes people
  24           (and thus information) not within Yuga Labs’ control and dozens or
  25           potentially hundreds of individuals, including for example, every person that
  26           worked at ApeFest.
  27                   Subject to and without waiving the foregoing objections, Yuga Labs
  28

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   1           denies the objectionable and misleading request as phrased.
   2
       Request for Admission No.9:
   3
                       Admit that You were aware prior to commencing this Litigation that
   4
               users on Instagram commented on the satirical nature of RR/BAYC NFTs.
   5
       Response:
   6
                       Yuga Labs incorporates by reference each of the General Objections
   7
               set forth above as if fully set forth herein. Yuga Labs objects that the
   8
               requests in Defendant’s First Set of Requests for Admission are made in bad
   9
               faith and without factual basis to reasonably anticipate admissions at this
  10
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  11
               and needlessly increase the cost of litigation. See Conlon v. United States,
  12
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  13
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  14
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  15
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  16
               sanctions for the Defendants’ continued abuse of this litigation.
  17
                       Yuga Labs objects to this request as irrelevant and overbroad,
  18
               including because it is not relevant to any claim or defense whether Yuga
  19
               Labs was “aware prior to commencing this Litigation” of this asserted fact.
  20
               Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  21
               objects to this request as vague and ambiguous to the extent it refers
  22
               generally to all “users” and “comment[s]” on Instagram. Yuga Labs objects
  23
               to this request as vague, ambiguous, overbroad, and unduly burdensome to
  24
               the extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
  25
               persons included in Defendants’ definition of “You,” which includes people
  26
               (and thus information) not within Yuga Labs’ control and dozens or
  27
               potentially hundreds of individuals, including for example, every person that
  28

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   1           worked at ApeFest.
   2                   Subject to and without waiving the foregoing objections, Yuga Labs
   3           denies the objectionable and misleading request as phrased.
   4
       Request for Admission No.10:
   5
                       Admit that You were aware prior to commencing this Litigation that
   6
               users on Instagram commented on the satirical nature of RR/BAYC NFTs.
   7
       Response:
   8
                       Yuga Labs incorporates by reference each of the General Objections
   9
               set forth above as if fully set forth herein. Yuga Labs objects that the
  10
               requests in Defendant’s First Set of Requests for Admission are made in bad
  11
               faith and without factual basis to reasonably anticipate admissions at this
  12
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  13
               and needlessly increase the cost of litigation. See Conlon v. United States,
  14
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  15
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  16
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  17
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  18
               sanctions for the Defendants’ continued abuse of this litigation.
  19
                       Yuga Labs objects to this request as irrelevant and overbroad,
  20
               including because it is not relevant to any claim or defense whether Yuga
  21
               Labs was “aware prior to commencing this Litigation” of this asserted fact.
  22
               Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  23
               objects to this request as vague and ambiguous to the extent it refers
  24
               generally to all “users” and “comment[s]” on Instagram. Yuga Labs objects
  25
               to this request as vague, ambiguous, overbroad, and unduly burdensome to
  26
               the extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
  27
               persons included in Defendants’ definition of “You,” which includes people
  28

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   1           (and thus information) not within Yuga Labs’ control and dozens or
   2           potentially hundreds of individuals, including for example, every person that
   3           worked at ApeFest.
   4                   Subject to and without waiving the foregoing objections, Yuga Labs
   5           denies the objectionable and misleading request as phrased.
   6
       Request for Admission No. 11:
   7
                       Admit that You were aware prior to commencing this Litigation that
   8
               users on https://youtube.com commented on the satirical nature of RR/BAYC
   9
               NFTs.
  10
       Response:
  11
                       Yuga Labs incorporates by reference each of the General Objections
  12
               set forth above as if fully set forth herein. Yuga Labs objects that the
  13
               requests in Defendant’s First Set of Requests for Admission are made in bad
  14
               faith and without factual basis to reasonably anticipate admissions at this
  15
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  16
               and needlessly increase the cost of litigation. See Conlon v. United States,
  17
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  18
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  19
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  20
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  21
               sanctions for the Defendants’ continued abuse of this litigation.
  22
                       Yuga Labs objects to this request as irrelevant and overbroad,
  23
               including because it is not relevant to any claim or defense whether Yuga
  24
               Labs was “aware prior to commencing this Litigation” of this asserted fact.
  25
               Yuga objects to this request as calling for a legal conclusion. Yuga Labs
  26
               objects to this request as vague and ambiguous to the extent it refers
  27
               generally to all “users” and “comment[s]” on youtube.com. Yuga Labs
  28

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   1           objects to this request as vague, ambiguous, overbroad, and unduly
   2           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
   3           behalf of all of the persons included in Defendants’ definition of “You,”
   4           which includes people (and thus information) not within Yuga Labs’ control
   5           and dozens or potentially hundreds of individuals, including for example,
   6           every person that worked at ApeFest.
   7                   Subject to and without waiving the foregoing objections, Yuga Labs
   8      denies the objectionable and misleading request as phrased.
   9 Request for Admission No.12:
  10                   Admit that You were aware prior to commencing this Litigation that
  11           users on https://youtube.com made posts or comments on RR/BAYC NFTs
  12           expressing commentary with regards to the Bored Ape Yacht Club.
  13 Response:
  14                   Yuga Labs incorporates by reference each of the General Objections
  15           set forth above as if fully set forth herein. Yuga Labs objects that the
  16           requests in Defendant’s First Set of Requests for Admission are made in bad
  17           faith and without factual basis to reasonably anticipate admissions at this
  18           stage of discovery, and thus presented to harass, cause unnecessary delay,
  19           and needlessly increase the cost of litigation. See Conlon v. United States,
  20           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  21           ‘harass the other side’ or in the hope that the party’s adversary will simply
  22           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  23           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  24           sanctions for the Defendants’ continued abuse of this litigation.
  25                   Yuga Labs objects to this request as irrelevant and overbroad,
  26           including because it is not relevant to any claim or defense whether Yuga
  27           Labs was “aware prior to commencing this Litigation” of this asserted fact.
  28

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   1           Yuga objects to this request as calling for a legal conclusion. Yuga Labs
   2           objects to this request as vague and ambiguous to the extent it refers
   3           generally to all “users” and “comment[s]” on youtube.com. Yuga Labs
   4           objects to this request as vague, ambiguous, overbroad, and unduly
   5           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
   6           behalf of all of the persons included in Defendants’ definition of “You,”
   7           which includes people (and thus information) not within Yuga Labs’ control
   8           and dozens or potentially hundreds of individuals, including for example,
   9           every person that worked at ApeFest.
  10                   Subject to and without waiving the foregoing objections, Yuga Labs
  11      denies the objectionable and misleading request as phrased.
  12 Request for Admission No. 13:
  13                   Admit that You are not aware of any specific instance where a Person
  14           or Entity purchased a BAYC NFT believing that it was an RR/BAYC NFT.
  15 Response:
  16                   Yuga Labs incorporates by reference each of the General Objections
  17           set forth above as if fully set forth herein. Yuga Labs objects that the
  18           requests in Defendant’s First Set of Requests for Admission are made in bad
  19           faith and without factual basis to reasonably anticipate admissions at this
  20           stage of discovery, and thus presented to harass, cause unnecessary delay,
  21           and needlessly increase the cost of litigation. See Conlon v. United States,
  22           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  23           ‘harass the other side’ or in the hope that the party’s adversary will simply
  24           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  25           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  26           sanctions for the Defendants’ continued abuse of this litigation.
  27                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  28

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   1           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   2           on behalf of all of the persons included in Defendants’ definition of “You,”
   3           which includes people (and thus information) not within Yuga Labs’ control
   4           and dozens or potentially hundreds of individuals, including for example,
   5           every person that worked at ApeFest.
   6                   Subject to and without waiving the foregoing objections, Yuga Labs
   7      denies the objectionable and misleading request as phrased.
   8 Request for Admission No.14:
   9                   Admit that You are aware of any specific instance where a Person or
  10           Entity purchased a BAYC NFT believing that it was an RR/BAYC NFT.
  11 Response:
  12                   Yuga Labs incorporates by reference each of the General Objections
  13           set forth above as if fully set forth herein. Yuga Labs objects that the
  14           requests in Defendant’s First Set of Requests for Admission are made in bad
  15           faith and without factual basis to reasonably anticipate admissions at this
  16           stage of discovery, and thus presented to harass, cause unnecessary delay,
  17           and needlessly increase the cost of litigation. See Conlon v. United States,
  18           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  19           ‘harass the other side’ or in the hope that the party’s adversary will simply
  20           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  21           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  22           sanctions for the Defendants’ continued abuse of this litigation.
  23                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  24           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  25           on behalf of all of the persons included in Defendants’ definition of “You,”
  26           which includes people (and thus information) not within Yuga Labs’ control
  27           and dozens or potentially hundreds of individuals, including for example,
  28

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   1           every person that worked at ApeFest.
   2                   Subject to and without waiving the foregoing objections, Yuga Labs
   3           denies the objectionable and misleading request as phrased.
   4
       Request for Admission No.15:
   5
                       Admit that You are not aware of any specific instance where a Person
   6
               or Entity purchased a RR/BAYC NFT believing that it was a BAYC NFT.
   7
       Response:
   8
                       Yuga Labs incorporates by reference each of the General Objections
   9
               set forth above as if fully set forth herein. Yuga Labs objects that the
  10
               requests in Defendant’s First Set of Requests for Admission are made in bad
  11
               faith and without factual basis to reasonably anticipate admissions at this
  12
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  13
               and needlessly increase the cost of litigation. See Conlon v. United States,
  14
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  15
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  16
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  17
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  18
               sanctions for the Defendants’ continued abuse of this litigation.
  19
                       Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  20
               unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  21
               on behalf of all of the persons included in Defendants’ definition of “You,”
  22
               which includes people (and thus information) not within Yuga Labs’ control
  23
               and dozens or potentially hundreds of individuals, including for example,
  24
               every person that worked at ApeFest.
  25
                       Subject to and without waiving the foregoing objections, Yuga Labs
  26
               denies the objectionable and misleading request as phrased.
  27
  28 Request for Admission No.16:

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   1
                       Admit that You are aware of any specific instance where a Person or
   2
               Entity purchased a RR/BAYC NFT believing that it was a BAYC NFT.
   3
       Response:
   4
                       Yuga Labs incorporates by reference each of the General Objections
   5
               set forth above as if fully set forth herein. Yuga Labs objects that the
   6
               requests in Defendant’s First Set of Requests for Admission are made in bad
   7
               faith and without factual basis to reasonably anticipate admissions at this
   8
               stage of discovery, and thus presented to harass, cause unnecessary delay,
   9
               and needlessly increase the cost of litigation. See Conlon v. United States,
  10
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  11
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  12
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  13
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  14
               sanctions for the Defendants’ continued abuse of this litigation.
  15
                       Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  16
               unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  17
               on behalf of all of the persons included in Defendants’ definition of “You,”
  18
               which includes people (and thus information) not within Yuga Labs’ control
  19
               and dozens or potentially hundreds of individuals, including for example,
  20
               every person that worked at ApeFest.
  21
                       Subject to and without waiving the foregoing objections, Yuga Labs
  22
               denies the objectionable and misleading request as phrased.
  23
  24 Request for Admission No. 17:
  25                   Admit that You are aware of any specific instance where a Person or
  26           Entity purchased a RR/BAYC NFT believing that it was a BAYC NFT.
  27 Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  13           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  14           on behalf of all of the persons included in Defendants’ definition of “You,”
  15           which includes people (and thus information) not within Yuga Labs’ control
  16           and dozens or potentially hundreds of individuals, including for example,
  17           every person that worked at ApeFest.
  18                   Subject to and without waiving the foregoing objections, Yuga Labs
  19      denies the objectionable and misleading request as phrased.
  20 Request for Admission No. 18:
  21                   Admit that You have used “RR/BAYC” in connection with any BAYC
  22           NFT.
  23 Response:
  24                   Yuga Labs incorporates by reference each of the General Objections
  25           set forth above as if fully set forth herein. Yuga Labs objects that the
  26           requests in Defendant’s First Set of Requests for Admission are made in bad
  27           faith and without factual basis to reasonably anticipate admissions at this
  28

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   1           stage of discovery, and thus presented to harass, cause unnecessary delay,
   2           and needlessly increase the cost of litigation. See Conlon v. United States,
   3           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   4           ‘harass the other side’ or in the hope that the party’s adversary will simply
   5           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   6           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   7           sanctions for the Defendants’ continued abuse of this litigation.
   8                   Yuga Labs objects to this request as vague and ambiguous as to the
   9           terms “used” and “in connection with.” Yuga Labs objects to this request as
  10           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
  11           Yuga Labs to admit the asserted fact on behalf of all of the persons included
  12           in Defendants’ definition of “You,” which includes people (and thus
  13           information) not within Yuga Labs’ control and dozens or potentially
  14           hundreds of individuals, including for example, every person that worked at
  15           ApeFest.
  16                   Subject to and without waiving the foregoing objections, Yuga Labs
  17           denies the objectionable and misleading request as phrased.
  18
       Request for Admission No. 19:
  19
                       Admit that You have never used “RR/BAYC” in connection with any
  20
               product or service that You offered in connection with The Bored Ape Yacht
  21
               Club.
  22
       Response:
  23
                       Yuga Labs incorporates by reference each of the General Objections
  24
               set forth above as if fully set forth herein. Yuga Labs objects that the
  25
               requests in Defendant’s First Set of Requests for Admission are made in bad
  26
               faith and without factual basis to reasonably anticipate admissions at this
  27
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  28

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   1           and needlessly increase the cost of litigation. See Conlon v. United States,
   2           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   3           ‘harass the other side’ or in the hope that the party’s adversary will simply
   4           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   5           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   6           sanctions for the Defendants’ continued abuse of this litigation.
   7                   Yuga Labs objects to this request as vague and ambiguous as to the
   8           terms “used” and “in connection with.” Yuga Labs objects to this request as
   9           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
  10           Yuga Labs to admit the asserted fact on behalf of all of the persons included
  11           in Defendants’ definition of “You,” which includes people (and thus
  12           information) not within Yuga Labs’ control and dozens or potentially
  13           hundreds of individuals, including for example, every person that worked at
  14           ApeFest.
  15                   Subject to and without waiving the foregoing objections, Yuga Labs
  16      denies the objectionable and misleading request as phrased.
  17 Request for Admission No.20:
  18                   Admit that You have used “RR/BAYC” in connection with any
  19           product or service that You offered in connection with The Bored Ape Yacht
  20           Club.
  21 Response:
  22                   Yuga Labs incorporates by reference each of the General Objections
  23           set forth above as if fully set forth herein. Yuga Labs objects that the
  24           requests in Defendant’s First Set of Requests for Admission are made in bad
  25           faith and without factual basis to reasonably anticipate admissions at this
  26           stage of discovery, and thus presented to harass, cause unnecessary delay,
  27           and needlessly increase the cost of litigation. See Conlon v. United States,
  28

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   1           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   2           ‘harass the other side’ or in the hope that the party’s adversary will simply
   3           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   4           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   5           sanctions for the Defendants’ continued abuse of this litigation.
   6                   Yuga Labs objects to this request as vague and ambiguous as to the
   7           terms “used” and “in connection with.” Yuga Labs objects to this request as
   8           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
   9           Yuga Labs to admit the asserted fact on behalf of all of the persons included
  10           in Defendants’ definition of “You,” which includes people (and thus
  11           information) not within Yuga Labs’ control and dozens or potentially
  12           hundreds of individuals, including for example, every person that worked at
  13           ApeFest.
  14                   Subject to and without waiving the foregoing objections, Yuga Labs
  15      denies the objectionable and misleading request as phrased.
  16 Request for Admission No.21:
  17                   Admit that You have not engaged in corrective advertising to clarify
  18           that BAYC NFTs are different than RR/BAYC NFTs.
  19 Response:
  20                   Yuga Labs incorporates by reference each of the General Objections
  21           set forth above as if fully set forth herein. Yuga Labs objects that the
  22           requests in Defendant’s First Set of Requests for Admission are made in bad
  23           faith and without factual basis to reasonably anticipate admissions at this
  24           stage of discovery, and thus presented to harass, cause unnecessary delay,
  25           and needlessly increase the cost of litigation. See Conlon v. United States,
  26           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  27           ‘harass the other side’ or in the hope that the party’s adversary will simply
  28

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   1           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   2           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   3           sanctions for the Defendants’ continued abuse of this litigation.
   4                   Yuga Labs objects to this request as calling for a legal conclusion.
   5           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   6           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   7           on behalf of all of the persons included in Defendants’ definition of “You,”
   8           which includes people (and thus information) not within Yuga Labs’ control
   9           and dozens or potentially hundreds of individuals, including for example,
  10           every person that worked at ApeFest.
  11                   Subject to and without waiving the foregoing objections, Yuga Labs
  12      denies the objectionable and misleading request as phrased.
  13 Request for Admission No.22:
  14                   Admit that You have engaged in corrective advertising to clarify that
  15           BAYC NFTs are different than RR/BAYC NFTs.
  16 Response:
  17                   Yuga Labs incorporates by reference each of the General Objections
  18           set forth above as if fully set forth herein. Yuga Labs objects that the
  19           requests in Defendant’s First Set of Requests for Admission are made in bad
  20           faith and without factual basis to reasonably anticipate admissions at this
  21           stage of discovery, and thus presented to harass, cause unnecessary delay,
  22           and needlessly increase the cost of litigation. See Conlon v. United States,
  23           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  24           ‘harass the other side’ or in the hope that the party’s adversary will simply
  25           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  26           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  27           sanctions for the Defendants’ continued abuse of this litigation.
  28

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   1                   Yuga Labs objects to this request as calling for a legal conclusion.
   2           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   3           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   4           on behalf of all of the persons included in Defendants’ definition of “You,”
   5           which includes people (and thus information) not within Yuga Labs’ control
   6           and dozens or potentially hundreds of individuals, including for example,
   7           every person that worked at ApeFest.
   8                   Subject to and without waiving the foregoing objections, Yuga Labs
   9      denies the objectionable and misleading request as phrased.
  10 Request for Admission No.23:
  11                   Admit that You have not engaged in corrective advertising to clarify
  12           that BAYC NFTs are not Your products.
  13 Response:
  14                   Yuga Labs incorporates by reference each of the General Objections
  15           set forth above as if fully set forth herein. Yuga Labs objects that the
  16           requests in Defendant’s First Set of Requests for Admission are made in bad
  17           faith and without factual basis to reasonably anticipate admissions at this
  18           stage of discovery, and thus presented to harass, cause unnecessary delay,
  19           and needlessly increase the cost of litigation. See Conlon v. United States,
  20           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  21           ‘harass the other side’ or in the hope that the party’s adversary will simply
  22           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  23           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  24           sanctions for the Defendants’ continued abuse of this litigation.
  25                   Yuga Labs objects to this request as calling for a legal conclusion.
  26           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  27           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  28

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   1           on behalf of all of the persons included in Defendants’ definition of “You,”
   2           which includes people (and thus information) not within Yuga Labs’ control
   3           and dozens or potentially hundreds of individuals, including for example,
   4           every person that worked at ApeFest.
   5                   Subject to and without waiving the foregoing objections, Yuga Labs
   6           denies the objectionable and misleading request as phrased.
   7
       Request for Admission No.24:
   8
                       Admit that You have engaged in corrective advertising to clarify that
   9
               BAYC NFTs are different than RR/BAYC NFTs.
  10
       Response:
  11
                       Yuga Labs incorporates by reference each of the General Objections
  12
               set forth above as if fully set forth herein. Yuga Labs objects that the
  13
               requests in Defendant’s First Set of Requests for Admission are made in bad
  14
               faith and without factual basis to reasonably anticipate admissions at this
  15
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  16
               and needlessly increase the cost of litigation. See Conlon v. United States,
  17
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  18
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  19
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  20
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  21
               sanctions for the Defendants’ continued abuse of this litigation.
  22
                       Yuga Labs objects to this request as calling for a legal conclusion.
  23
               Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  24
               unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  25
               on behalf of all of the persons included in Defendants’ definition of “You,”
  26
               which includes people (and thus information) not within Yuga Labs’ control
  27
               and dozens or potentially hundreds of individuals, including for example,
  28

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   1           every person that worked at ApeFest.
   2                   Subject to and without waiving the foregoing objections, Yuga Labs
   3      denies the objectionable and misleading request as phrased.
   4 Request for Admission No.25:
   5                   Admit that You have not paid to have corrective advertising to clarify
   6           that BAYC NFTs are different than RR/BAYC NFTs.
   7 Response:
   8                   Yuga Labs incorporates by reference each of the General Objections
   9           set forth above as if fully set forth herein. Yuga Labs objects that the
  10           requests in Defendant’s First Set of Requests for Admission are made in bad
  11           faith and without factual basis to reasonably anticipate admissions at this
  12           stage of discovery, and thus presented to harass, cause unnecessary delay,
  13           and needlessly increase the cost of litigation. See Conlon v. United States,
  14           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  15           ‘harass the other side’ or in the hope that the party’s adversary will simply
  16           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  17           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  18           sanctions for the Defendants’ continued abuse of this litigation.
  19                   Yuga Labs objects to this request as calling for a legal conclusion.
  20           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  21           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  22           on behalf of all of the persons included in Defendants’ definition of “You,”
  23           which includes people (and thus information) not within Yuga Labs’ control
  24           and dozens or potentially hundreds of individuals, including for example,
  25           every person that worked at ApeFest.
  26                   Subject to and without waiving the foregoing objections, Yuga Labs
  27      denies the objectionable and misleading request as phrased.
  28 Request for Admission No.26:

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   1
                       Admit that You paid to have corrective advertising to clarify that
   2
               BAYC NFTs are different than RR/BAYC NFTs.
   3
       Response:
   4
                       Yuga Labs incorporates by reference each of the General Objections
   5
               set forth above as if fully set forth herein. Yuga Labs objects that the
   6
               requests in Defendant’s First Set of Requests for Admission are made in bad
   7
               faith and without factual basis to reasonably anticipate admissions at this
   8
               stage of discovery, and thus presented to harass, cause unnecessary delay,
   9
               and needlessly increase the cost of litigation. See Conlon v. United States,
  10
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  11
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  12
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  13
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  14
               sanctions for the Defendants’ continued abuse of this litigation.
  15
                       Yuga Labs objects to this request as calling for a legal conclusion.
  16
               Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  17
               unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  18
               on behalf of all of the persons included in Defendants’ definition of “You,”
  19
               which includes people (and thus information) not within Yuga Labs’ control
  20
               and dozens or potentially hundreds of individuals, including for example,
  21
               every person that worked at ApeFest.
  22
                       Subject to and without waiving the foregoing objections, Yuga Labs
  23
            denies the objectionable and misleading request as phrased.
  24
       Request for Admission No.27:
  25
                       Admit that You have not paid for corrective advertising to clarify that
  26
               BAYC NFTs are not Your products.
  27
       Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as calling for a legal conclusion.
  13           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  14           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  15           on behalf of all of the persons included in Defendants’ definition of “You,”
  16           which includes people (and thus information) not within Yuga Labs’ control
  17           and dozens or potentially hundreds of individuals, including for example,
  18           every person that worked at ApeFest.
  19                   Subject to and without waiving the foregoing objections, Yuga Labs
  20      denies the objectionable and misleading request as phrased.
  21 Request for Admission No.28:
  22                   Admit that You have paid for corrective advertising to clarify that
  23           BAYC NFTs are not Your products.
  24 Response:
  25                   Yuga Labs incorporates by reference each of the General Objections
  26           set forth above as if fully set forth herein. Yuga Labs objects that the
  27           requests in Defendant’s First Set of Requests for Admission are made in bad
  28

       STIPULATION REGARDING DISCOVERY DISPUTE       77                  CASE NO. 2:22-CV-04355-JFW-JEM
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                                   #:4110



   1           faith and without factual basis to reasonably anticipate admissions at this
   2           stage of discovery, and thus presented to harass, cause unnecessary delay,
   3           and needlessly increase the cost of litigation. See Conlon v. United States,
   4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   5           ‘harass the other side’ or in the hope that the party’s adversary will simply
   6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   8           sanctions for the Defendants’ continued abuse of this litigation.
   9                   Yuga Labs objects to this request as calling for a legal conclusion.
  10           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  11           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  12           on behalf of all of the persons included in Defendants’ definition of “You,”
  13           which includes people (and thus information) not within Yuga Labs’ control
  14           and dozens or potentially hundreds of individuals, including for example,
  15           every person that worked at ApeFest.
  16                   Subject to and without waiving the foregoing objections, Yuga Labs
  17      denies the objectionable and misleading request as phrased.
  18 Request for Admission No.29:
  19                   Admit that You have not requested that any RR/BAYC NFT-related
  20           pages on OpenSea or Foundation be taken down for trademark infringement.
  21 Response:
  22                   Yuga Labs incorporates by reference each of the General Objections
  23           set forth above as if fully set forth herein. Yuga Labs objects that the
  24           requests in Defendant’s First Set of Requests for Admission are made in bad
  25           faith and without factual basis to reasonably anticipate admissions at this
  26           stage of discovery, and thus presented to harass, cause unnecessary delay,
  27           and needlessly increase the cost of litigation. See Conlon v. United States,
  28

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                                   #:4111



   1           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   2           ‘harass the other side’ or in the hope that the party’s adversary will simply
   3           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   4           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   5           sanctions for the Defendants’ continued abuse of this litigation.
   6                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   7           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   8           on behalf of all of the persons included in Defendants’ definition of “You,”
   9           which includes people (and thus information) not within Yuga Labs’ control
  10           and dozens or potentially hundreds of individuals, including for example,
  11           every person that worked at ApeFest.
  12                   Subject to and without waiving the foregoing objections, Yuga Labs
  13      denies the objectionable and misleading request as phrased.
  14 Request for Admission No.30:
  15                   Admit that You have requested that any RR/BAYC NFT-related pages
  16           on OpenSea or Foundation be taken down for trademark infringement.
  17 Response:
  18                   Yuga Labs incorporates by reference each of the General Objections
  19           set forth above as if fully set forth herein. Yuga Labs objects that the
  20           requests in Defendant’s First Set of Requests for Admission are made in bad
  21           faith and without factual basis to reasonably anticipate admissions at this
  22           stage of discovery, and thus presented to harass, cause unnecessary delay,
  23           and needlessly increase the cost of litigation. See Conlon v. United States,
  24           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  25           ‘harass the other side’ or in the hope that the party’s adversary will simply
  26           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  27           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  28

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   1           sanctions for the Defendants’ continued abuse of this litigation.
   2                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   3           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   4           on behalf of all of the persons included in Defendants’ definition of “You,”
   5           which includes people (and thus information) not within Yuga Labs’ control
   6           and dozens or potentially hundreds of individuals, including for example,
   7           every person that worked at ApeFest.
   8                   Subject to and without waiving the foregoing objections, Yuga Labs
   9      denies the objectionable and misleading request as phrased.
  10 Request for Admission No.31:
  11                   Admit that You are not aware of any RR/BAYC NFT-related pages on
  12           OpenSea or Foundation be taken down for trademark infringement.
  13 Response:
  14                   Yuga Labs incorporates by reference each of the General Objections
  15           set forth above as if fully set forth herein. Yuga Labs objects that the
  16           requests in Defendant’s First Set of Requests for Admission are made in bad
  17           faith and without factual basis to reasonably anticipate admissions at this
  18           stage of discovery, and thus presented to harass, cause unnecessary delay,
  19           and needlessly increase the cost of litigation. See Conlon v. United States,
  20           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  21           ‘harass the other side’ or in the hope that the party’s adversary will simply
  22           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  23           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  24           sanctions for the Defendants’ continued abuse of this litigation.
  25                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  26           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  27           on behalf of all of the persons included in Defendants’ definition of “You,”
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      80                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1           which includes people (and thus information) not within Yuga Labs’ control
   2           and dozens or potentially hundreds of individuals, including for example,
   3           every person that worked at ApeFest.
   4                   Subject to and without waiving the foregoing objections, Yuga Labs
   5           denies the objectionable and misleading request as phrased.
   6
       Request for Admission No.32:
   7
                       Admit that You are aware of RR/BAYC NFT-related pages on
   8
               OpenSea or Foundation be taken down for trademark infringement.
   9
       Response:
  10
                       Yuga Labs incorporates by reference each of the General Objections
  11
               set forth above as if fully set forth herein. Yuga Labs objects that the
  12
               requests in Defendant’s First Set of Requests for Admission are made in bad
  13
               faith and without factual basis to reasonably anticipate admissions at this
  14
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  15
               and needlessly increase the cost of litigation. See Conlon v. United States,
  16
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  17
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  18
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  19
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  20
               sanctions for the Defendants’ continued abuse of this litigation.
  21
                       Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  22
               unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  23
               on behalf of all of the persons included in Defendants’ definition of “You,”
  24
               which includes people (and thus information) not within Yuga Labs’ control
  25
               and dozens or potentially hundreds of individuals, including for example,
  26
               every person that worked at ApeFest.
  27
                       Subject to and without waiving the foregoing objections, Yuga Labs
  28

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                                   #:4114



   1           denies the objectionable and misleading request as phrased.
   2
       Request for Admission No.33:
   3
                       Admit that all of Your requests to take down RR/BAYC NFT-related
   4
               pages on OpenSea or Foundation were based on the Digital Millennium
   5
               Copyright Act.
   6
       Response:
   7
                       Yuga Labs incorporates by reference each of the General Objections
   8
               set forth above as if fully set forth herein. Yuga Labs objects that the
   9
               requests in Defendant’s First Set of Requests for Admission are made in bad
  10
               faith and without factual basis to reasonably anticipate admissions at this
  11
               stage of discovery, and thus presented to harass, cause unnecessary delay,
  12
               and needlessly increase the cost of litigation. See Conlon v. United States,
  13
               474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  14
               ‘harass the other side’ or in the hope that the party’s adversary will simply
  15
               concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  16
               F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  17
               sanctions for the Defendants’ continued abuse of this litigation.
  18
                       Yuga Labs objects to this request as not relevant to any claim or
  19
               defense. Yuga Labs objects to this request as vague, ambiguous, overbroad,
  20
               and unduly burdensome to the extent it asks Yuga Labs to admit the asserted
  21
               fact on behalf of all of the persons included in Defendants’ definition of
  22
               “You,” which includes people (and thus information) not within Yuga Labs’
  23
               control and dozens or potentially hundreds of individuals, including for
  24
               example, every person that worked at ApeFest.
  25
                       Subject to and without waiving the foregoing objections, Yuga Labs
  26
            denies the objectionable and misleading request as phrased.
  27
       Request for Admission No.34:
  28

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   1                   Admit that at least one of Your requests to take down RR/BAYC NFT-
   2           related pages on OpenSea or Foundation was not based on the Digital
   3           Millennium Copyright Act.
   4 Response:
   5                   Yuga Labs incorporates by reference each of the General Objections
   6           set forth above as if fully set forth herein. Yuga Labs objects that the
   7           requests in Defendant’s First Set of Requests for Admission are made in bad
   8           faith and without factual basis to reasonably anticipate admissions at this
   9           stage of discovery, and thus presented to harass, cause unnecessary delay,
  10           and needlessly increase the cost of litigation. See Conlon v. United States,
  11           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  12           ‘harass the other side’ or in the hope that the party’s adversary will simply
  13           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  14           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  15           sanctions for the Defendants’ continued abuse of this litigation.
  16                   Yuga Labs objects to this request as not relevant to any claim or
  17           defense. Yuga Labs objects to this request as vague, ambiguous, overbroad,
  18           and unduly burdensome to the extent it asks Yuga Labs to admit the asserted
  19           fact on behalf of all of the persons included in Defendants’ definition of
  20           “You,” which includes people (and thus information) not within Yuga Labs’
  21           control and dozens or potentially hundreds of individuals, including for
  22           example, every person that worked at ApeFest.
  23                   Subject to and without waiving the foregoing objections, Yuga Labs
  24      denies the objectionable and misleading request as phrased.
  25 Request for Admission No.35:
  26                   Admit that all instances of where RR/BAYC NFT-related pages on
  27           OpenSea or Foundation were taken down in response to Your requests were
  28

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   1           based on the Digital Millennium Copyright Act.
   2 Response:
   3                   Yuga Labs incorporates by reference each of the General Objections
   4           set forth above as if fully set forth herein. Yuga Labs objects that the
   5           requests in Defendant’s First Set of Requests for Admission are made in bad
   6           faith and without factual basis to reasonably anticipate admissions at this
   7           stage of discovery, and thus presented to harass, cause unnecessary delay,
   8           and needlessly increase the cost of litigation. See Conlon v. United States,
   9           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  10           ‘harass the other side’ or in the hope that the party’s adversary will simply
  11           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  12           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  13           sanctions for the Defendants’ continued abuse of this litigation.
  14                   Yuga Labs objects to this request as not relevant to any claim or
  15           defense. Yuga Labs objects to this request as vague, ambiguous, overbroad,
  16           and unduly burdensome to the extent it asks Yuga Labs to admit the asserted
  17           fact on behalf of all of the persons included in Defendants’ definition of
  18           “You,” which includes people (and thus information) not within Yuga Labs’
  19           control and dozens or potentially hundreds of individuals, including for
  20           example, every person that worked at ApeFest.
  21                   Subject to and without waiving the foregoing objections, Yuga Labs
  22           denies the objectionable and misleading request as phrased.
  23
       Request for Admission No.36:
  24
                       Admit that You are aware of an instance where an RR/BAYC NFT-
  25
               related page on OpenSea or Foundation was taken down in response to Your
  26
               request without the take-down having been based on the Digital Millennium
  27
               Copyright Act.
  28

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   1 Response:
   2                   Yuga Labs incorporates by reference each of the General Objections
   3           set forth above as if fully set forth herein. Yuga Labs objects that the
   4           requests in Defendant’s First Set of Requests for Admission are made in bad
   5           faith and without factual basis to reasonably anticipate admissions at this
   6           stage of discovery, and thus presented to harass, cause unnecessary delay,
   7           and needlessly increase the cost of litigation. See Conlon v. United States,
   8           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   9           ‘harass the other side’ or in the hope that the party’s adversary will simply
  10           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  11           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  12           sanctions for the Defendants’ continued abuse of this litigation.
  13                   Yuga Labs objects to this request as not relevant to any claim or
  14           defense. Yuga Labs objects to this request as vague, ambiguous, overbroad,
  15           and unduly burdensome to the extent it asks Yuga Labs to admit the asserted
  16           fact on behalf of all of the persons included in Defendants’ definition of
  17           “You,” which includes people (and thus information) not within Yuga Labs’
  18           control and dozens or potentially hundreds of individuals, including for
  19           example, every person that worked at ApeFest.
  20                   Subject to and without waiving the foregoing objections, Yuga Labs
  21      denies the objectionable and misleading request as phrased.
  22 Request for Admission No. 47:
  23                   Admit that You do not currently sell BAYC NFTs.
  24 Response:
  25                   Yuga Labs incorporates by reference each of the General Objections
  26           set forth above as if fully set forth herein. Yuga Labs objects that the
  27           requests in Defendant’s First Set of Requests for Admission are made in bad
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      85                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1           faith and without factual basis to reasonably anticipate admissions at this
   2           stage of discovery, and thus presented to harass, cause unnecessary delay,
   3           and needlessly increase the cost of litigation. See Conlon v. United States,
   4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   5           ‘harass the other side’ or in the hope that the party’s adversary will simply
   6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   8           sanctions for the Defendants’ continued abuse of this litigation.
   9                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  10           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  11           on behalf of the persons included in Defendants’ definition of “You,” which
  12           includes people (and thus information) not within Yuga Labs’ control and
  13           dozens or potentially hundreds of individuals, including for example every
  14           person that worked at ApeFest.
  15                   Subject to and without waiving the foregoing objections, Yuga Labs
  16      denies the objectionable and misleading request as phrased.
  17 Request for Admission No. 48:
  18                   Admit that You do not currently sell BAYC NFTs.
  19 Response:
  20                   Yuga Labs incorporates by reference each of the General Objections
  21           set forth above as if fully set forth herein. Yuga Labs objects that the
  22           requests in Defendant’s First Set of Requests for Admission are made in bad
  23           faith and without factual basis to reasonably anticipate admissions at this
  24           stage of discovery, and thus presented to harass, cause unnecessary delay,
  25           and needlessly increase the cost of litigation. See Conlon v. United States,
  26           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  27           ‘harass the other side’ or in the hope that the party’s adversary will simply
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      86                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   2           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   3           sanctions for the Defendants’ continued abuse of this litigation.
   4                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   5           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   6           on behalf of the persons included in Defendants’ definition of “You,” which
   7           includes people (and thus information) not within Yuga Labs’ control and
   8           dozens or potentially hundreds of individuals, including for example every
   9           person that worked at ApeFest.
  10                   Subject to and without waiving the foregoing objections, Yuga Labs
  11      denies the objectionable and misleading request as phrased.
  12 Request for Admission No.49:
  13                   Admit that You have not sold a BAYC NFT since December 1, 2021.
  14 Response:
  15                   Yuga Labs incorporates by reference each of the General Objections
  16           set forth above as if fully set forth herein. Yuga Labs objects that the
  17           requests in Defendant’s First Set of Requests for Admission are made in bad
  18           faith and without factual basis to reasonably anticipate admissions at this
  19           stage of discovery, and thus presented to harass, cause unnecessary delay,
  20           and needlessly increase the cost of litigation. See Conlon v. United States,
  21           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  22           ‘harass the other side’ or in the hope that the party’s adversary will simply
  23           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  24           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  25           sanctions for the Defendants’ continued abuse of this litigation.
  26                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  27           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  28

       STIPULATION REGARDING DISCOVERY DISPUTE      87                  CASE NO. 2:22-CV-04355-JFW-JEM
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   1           on behalf of the persons included in Defendants’ definition of “You,” which
   2           includes people (and thus information) not within Yuga Labs’ control and
   3           dozens or potentially hundreds of individuals, including for example every
   4           person that worked at ApeFest.
   5                   Subject to and without waiving the foregoing objections, Yuga Labs
   6      denies the objectionable and misleading request as phrased.
   7 Request for Admission No.50:
   8                   Admit that You have sold a BAYC NFT since December 1, 2021.
   9 Response:
  10                   Yuga Labs incorporates by reference each of the General Objections
  11           set forth above as if fully set forth herein. Yuga Labs objects that the
  12           requests in Defendant’s First Set of Requests for Admission are made in bad
  13           faith and without factual basis to reasonably anticipate admissions at this
  14           stage of discovery, and thus presented to harass, cause unnecessary delay,
  15           and needlessly increase the cost of litigation. See Conlon v. United States,
  16           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  17           ‘harass the other side’ or in the hope that the party’s adversary will simply
  18           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  19           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  20           sanctions for the Defendants’ continued abuse of this litigation.
  21                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  22           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  23           on behalf of the persons included in Defendants’ definition of “You,” which
  24           includes people (and thus information) not within Yuga Labs’ control and
  25           dozens or potentially hundreds of individuals, including for example every
  26           person that worked at ApeFest.
  27                   Subject to and without waiving the foregoing objections, Yuga Labs
  28

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   1      denies the objectionable and misleading request as phrased.
   2 Request for Admission No.51:
   3                   Admit that You no longer offer BAYC NFTs for sale other than on the
   4           secondary market or as secondary sales.
   5 Response:
   6                   Yuga Labs incorporates by reference each of the General Objections
   7           set forth above as if fully set forth herein. Yuga Labs objects that the
   8           requests in Defendant’s First Set of Requests for Admission are made in bad
   9           faith and without factual basis to reasonably anticipate admissions at this
  10           stage of discovery, and thus presented to harass, cause unnecessary delay,
  11           and needlessly increase the cost of litigation. See Conlon v. United States,
  12           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  13           ‘harass the other side’ or in the hope that the party’s adversary will simply
  14           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  15           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  16           sanctions for the Defendants’ continued abuse of this litigation.
  17                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  18           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  19           on behalf of the persons included in Defendants’ definition of “You,” which
  20           includes people (and thus information) not within Yuga Labs’ control and
  21           dozens or potentially hundreds of individuals, including for example every
  22           person that worked at ApeFest.
  23                   Subject to and without waiving the foregoing objections, Yuga Labs
  24      denies the objectionable and misleading request as phrased.
  25 Request for Admission No.52:
  26                   Admit that You offer BAYC NFTs for sale other than on the
  27           secondary market or as secondary sales.
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   1 Response:
   2                   Yuga Labs incorporates by reference each of the General Objections
   3           set forth above as if fully set forth herein. Yuga Labs objects that the
   4           requests in Defendant’s First Set of Requests for Admission are made in bad
   5           faith and without factual basis to reasonably anticipate admissions at this
   6           stage of discovery, and thus presented to harass, cause unnecessary delay,
   7           and needlessly increase the cost of litigation. See Conlon v. United States,
   8           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   9           ‘harass the other side’ or in the hope that the party’s adversary will simply
  10           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  11           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  12           sanctions for the Defendants’ continued abuse of this litigation.
  13                   Yuga Labs objects to this request as vague, ambiguous, overbroad, and
  14           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
  15           on behalf of the persons included in Defendants’ definition of “You,” which
  16           includes people (and thus information) not within Yuga Labs’ control and
  17           dozens or potentially hundreds of individuals, including for example every
  18           person that worked at ApeFest.
  19                   Subject to and without waiving the foregoing objections, Yuga Labs
  20      denies the objectionable and misleading request as phrased.
  21 Request for Admission No.55:
  22                   Admit that you are not aware of any specific instance where a Person
  23           or Entity purchased an RR/BAYC NFT and did not understand that the NFT
  24           was created by Mr. Ripps.
  25 Response:
  26                   Yuga Labs incorporates by reference each of the General Objections
  27           set forth above as if fully set forth herein. Yuga Labs objects that the
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   1           requests in Defendant’s First Set of Requests for Admission are made in bad
   2           faith and without factual basis to reasonably anticipate admissions at this
   3           stage of discovery, and thus presented to harass, cause unnecessary delay,
   4           and needlessly increase the cost of litigation. See Conlon v. United States,
   5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   6           ‘harass the other side’ or in the hope that the party’s adversary will simply
   7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   9           sanctions for the Defendants’ continued abuse of this litigation.
  10                   Yuga Labs objects to this request as irrelevant and overbroad because
  11           Yuga Labs’ “aware[ness]” is not relevant to any claim or defense. Yuga
  12           Labs objects to this request as premature, as discovery and its investigation
  13           are ongoing. Yuga Labs objects to this request as vague, ambiguous,
  14           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  15           the asserted fact on behalf of all of the persons included in Defendants’
  16           definition of “You,” which includes people (and thus information) not within
  17           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  18           including for example every person that worked at ApeFest.
  19                   Subject to and without waiving the foregoing objections, Yuga Labs
  20      denies the objectionable and misleading request as phrased.
  21 Request for Admission No.56:
  22                   Admit that you are aware of specific instances where a Person or
  23           Entity purchased an RR/BAYC NFT and did not understand that the NFT
  24           was created by Mr. Ripps.
  25 Response:
  26                   Yuga Labs incorporates by reference each of the General Objections
  27           set forth above as if fully set forth herein. Yuga Labs objects that the
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   1           requests in Defendant’s First Set of Requests for Admission are made in bad
   2           faith and without factual basis to reasonably anticipate admissions at this
   3           stage of discovery, and thus presented to harass, cause unnecessary delay,
   4           and needlessly increase the cost of litigation. See Conlon v. United States,
   5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   6           ‘harass the other side’ or in the hope that the party’s adversary will simply
   7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   9           sanctions for the Defendants’ continued abuse of this litigation.
  10                   Yuga Labs objects to this request as irrelevant and overbroad because
  11           Yuga Labs’ “aware[ness]” is not relevant to any claim or defense. Yuga
  12           Labs objects to this request as premature, as discovery and its investigation
  13           are ongoing. Yuga Labs objects to this request as vague, ambiguous,
  14           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  15           the asserted fact on behalf of all of the persons included in Defendants’
  16           definition of “You,” which includes people (and thus information) not within
  17           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  18           including for example every person that worked at ApeFest.
  19                   Subject to and without waiving the foregoing objections, Yuga Labs
  20           responds as follows: Yuga Labs is aware of facts supporting its claims of
  21           actual and likely confusion caused by Defendants’ explicitly misleading and
  22           infringing acts; otherwise Yuga Labs denies the objectionable and misleading
  23      request as phrased.
  24 Request for Admission No. 57:
  25                   Admit that you are not aware of any specific instance where a Person
  26           purchased a BAYC NFT believing that the NFT was created by Mr. Ripps.
  27 Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as irrelevant and overbroad because
  13           Yuga Labs’ “aware[ness]” is not relevant to any claim or defense. Yuga
  14           Labs objects to this request as premature, as discovery and its investigation
  15           are ongoing. Yuga Labs objects to this request as vague, ambiguous,
  16           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  17           the asserted fact on behalf of all of the persons included in Defendants’
  18           definition of “You,” which includes people (and thus information) not within
  19           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  20           including for example every person that worked at ApeFest.
  21                   Subject to and without waiving the foregoing objections, Yuga Labs
  22      denies the objectionable and misleading request as phrased.
  23 Request for Admission No. 58:
  24                   Admit that you are aware of specific instances where a Person or
  25           Entity purchased a BAYC NFT believing that the NFT was created by Mr.
  26           Ripps.
  27 Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as irrelevant and overbroad because
  13           Yuga Labs’ “aware[ness]” is not relevant to any claim or defense. Yuga
  14           Labs objects to this request as premature, as discovery and its investigation
  15           are ongoing. Yuga Labs objects to this request as vague, ambiguous,
  16           overbroad, and unduly burdensome to the extent it asks Yuga Labs to admit
  17           the asserted fact on behalf of all of the persons included in Defendants’
  18           definition of “You,” which includes people (and thus information) not within
  19           Yuga Labs’ control and dozens or potentially hundreds of individuals,
  20           including for example every person that worked at ApeFest.
  21                   Subject to and without waiving the foregoing objections, Yuga Labs
  22      denies the objectionable and misleading request as phrased.
  23 Request for Admission No.63:
  24                   Admit that there are Persons or Entities other than You and Defendants
  25           who have used the term “APE” in connection with the sale of NFTs during
  26           the past year.
  27 Response:
  28

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   1                   Yuga Labs incorporates by reference each of the General Objections
   2           set forth above as if fully set forth herein. Yuga Labs objects that the
   3           requests in Defendant’s First Set of Requests for Admission are made in bad
   4           faith and without factual basis to reasonably anticipate admissions at this
   5           stage of discovery, and thus presented to harass, cause unnecessary delay,
   6           and needlessly increase the cost of litigation. See Conlon v. United States,
   7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   8           ‘harass the other side’ or in the hope that the party’s adversary will simply
   9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  11           sanctions for the Defendants’ continued abuse of this litigation.
  12                   Yuga Labs objects to this request as irrelevant and overbroad because
  13           it is not relevant to any claim or defense. Yuga Labs objects to this request
  14           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
  15           to this request as calling for a legal conclusion. Yuga Labs objects to this
  16           request as vague, ambiguous, overbroad, and unduly burdensome to the
  17           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
  18           persons included in Defendants’ definition of “You,” which includes people
  19           (and thus information) not within Yuga Labs’ control and dozens or
  20           potentially hundreds of individuals, including for example every person that
  21           worked at ApeFest.
  22                   Subject to and without waiving the foregoing objections, Yuga Labs
  23      denies the objectionable and misleading request as phrased.
  24 Request for Admission No. 64:
  25                   Admit that there are no Persons or Entities other than You and
  26           Defendants who have used the term “APE” in connection with the sale of
  27           NFTs during the past year.
  28

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   1 Response:
   2                   Yuga Labs incorporates by reference each of the General Objections
   3           set forth above as if fully set forth herein. Yuga Labs objects that the
   4           requests in Defendant’s First Set of Requests for Admission are made in bad
   5           faith and without factual basis to reasonably anticipate admissions at this
   6           stage of discovery, and thus presented to harass, cause unnecessary delay,
   7           and needlessly increase the cost of litigation. See Conlon v. United States,
   8           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   9           ‘harass the other side’ or in the hope that the party’s adversary will simply
  10           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  11           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  12           sanctions for the Defendants’ continued abuse of this litigation.
  13                   Yuga Labs objects to this request as irrelevant and overbroad because
  14           it is not relevant to any claim or defense. Yuga Labs objects to this request
  15           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
  16           to this request as calling for a legal conclusion. Yuga Labs objects to this
  17           request as vague, ambiguous, overbroad, and unduly burdensome to the
  18           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
  19           persons included in Defendants’ definition of “You,” which includes people
  20           (and thus information) not within Yuga Labs’ control and dozens or
  21           potentially hundreds of individuals, including for example every person that
  22           worked at ApeFest.
  23                   Subject to and without waiving the foregoing objections, Yuga Labs
  24      denies the objectionable and misleading request as phrased.
  25 Request for Admission No. 65:
  26                   Admit that there are at least a dozen Persons or Entities other than You
  27           and Defendants who have used the term “APE” in connection with the sale of
  28

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   1           NFTs during the past year.
   2 Response:
   3                   Yuga Labs incorporates by reference each of the General Objections
   4           set forth above as if fully set forth herein. Yuga Labs objects that the
   5           requests in Defendant’s First Set of Requests for Admission are made in bad
   6           faith and without factual basis to reasonably anticipate admissions at this
   7           stage of discovery, and thus presented to harass, cause unnecessary delay,
   8           and needlessly increase the cost of litigation. See Conlon v. United States,
   9           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  10           ‘harass the other side’ or in the hope that the party’s adversary will simply
  11           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  12           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  13           sanctions for the Defendants’ continued abuse of this litigation.
  14                   Yuga Labs objects to this request as irrelevant and overbroad because
  15           it is not relevant to any claim or defense. Yuga Labs objects to this request
  16           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
  17           to this request as overbroad to the extent it concerns all “use[]” of any kind.
  18           Yuga Labs objects to this request as calling for a legal conclusion. Yuga
  19           Labs objects to this request as vague, ambiguous, overbroad, and unduly
  20           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
  21           behalf of all of the persons included in Defendants’ definition of “You,”
  22           which includes people (and thus information) not within Yuga Labs’ control
  23           and dozens or potentially hundreds of individuals, including for example
  24           every person that worked at ApeFest.
  25                   Subject to and without waiving the foregoing objections, Yuga Labs
  26      denies the objectionable and misleading request as phrased.
  27 Request for Admission No.66:
  28

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   1                   Admit that there are not at least a dozen Persons or Entities other than
   2           You and Defendants who have used the term “APE” in connection with the
   3           sale of NFTs during the past year.
   4 Response:
   5                   Yuga Labs incorporates by reference each of the General Objections
   6           set forth above as if fully set forth herein. Yuga Labs objects that the
   7           requests in Defendant’s First Set of Requests for Admission are made in bad
   8           faith and without factual basis to reasonably anticipate admissions at this
   9           stage of discovery, and thus presented to harass, cause unnecessary delay,
  10           and needlessly increase the cost of litigation. See Conlon v. United States,
  11           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  12           ‘harass the other side’ or in the hope that the party’s adversary will simply
  13           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  14           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  15           sanctions for the Defendants’ continued abuse of this litigation.
  16                   Yuga Labs objects to this request as irrelevant and overbroad because
  17           it is not relevant to any claim or defense. Yuga Labs objects to this request
  18           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
  19           to this request as overbroad to the extent it concerns all “use[]” of any kind.
  20           Yuga Labs objects to this request as calling for a legal conclusion. Yuga
  21           Labs objects to this request as vague, ambiguous, overbroad, and unduly
  22           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
  23           behalf of all of the persons included in Defendants’ definition of “You,”
  24           which includes people (and thus information) not within Yuga Labs’ control
  25           and dozens or potentially hundreds of individuals, including for example
  26           every person that worked at ApeFest.
  27                   Subject to and without waiving the foregoing objections, Yuga Labs
  28

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   1      denies the objectionable and misleading request as phrased.
   2 Request for Admission No.67:
   3                   Admit that there are Persons or Entities other than You and Defendants
   4           who have used the term “BORED APE” in connection with the sale of NFTs
   5           during the past year.
   6 Response:
   7                   Yuga Labs incorporates by reference each of the General Objections
   8           set forth above as if fully set forth herein. Yuga Labs objects that the
   9           requests in Defendant’s First Set of Requests for Admission are made in bad
  10           faith and without factual basis to reasonably anticipate admissions at this
  11           stage of discovery, and thus presented to harass, cause unnecessary delay,
  12           and needlessly increase the cost of litigation. See Conlon v. United States,
  13           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
  14           ‘harass the other side’ or in the hope that the party’s adversary will simply
  15           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
  16           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
  17           sanctions for the Defendants’ continued abuse of this litigation.
  18                   Yuga Labs objects to this request as irrelevant and overbroad because
  19           it is not relevant to any claim or defense. Yuga Labs objects to this request
  20           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
  21           to this request as overbroad to the extent it concerns all “use[]” of any kind.
  22           Yuga Labs objects to this request as calling for a legal conclusion. Yuga
  23           Labs objects to this request as vague, ambiguous, overbroad, and unduly
  24           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
  25           behalf of all of the persons included in Defendants’ definition of “You,”
  26           which includes people (and thus information) not within Yuga Labs’ control
  27           and dozens or potentially hundreds of individuals, including for example
  28

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    1           every person that worked at ApeFest.
    2                   Subject to and without waiving the foregoing objections, Yuga Labs
    3      denies the objectionable and misleading request as phrased.
    4 Request for Admission No.68:
    5                   Admit that there are no Persons or Entities other than You and
    6           Defendants who have used the term “BORED APE” in connection with the
    7           sale of NFTs during the past year.
    8 Response:
    9                   Yuga Labs incorporates by reference each of the General Objections
   10           set forth above as if fully set forth herein. Yuga Labs objects that the
   11           requests in Defendant’s First Set of Requests for Admission are made in bad
   12           faith and without factual basis to reasonably anticipate admissions at this
   13           stage of discovery, and thus presented to harass, cause unnecessary delay,
   14           and needlessly increase the cost of litigation. See Conlon v. United States,
   15           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   16           ‘harass the other side’ or in the hope that the party’s adversary will simply
   17           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   18           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   19           sanctions for the Defendants’ continued abuse of this litigation.
   20                   Yuga Labs objects to this request as irrelevant and overbroad because
   21           it is not relevant to any claim or defense. Yuga Labs objects to this request
   22           as vague and ambiguous especially as to the term “used.” Yuga Labs objects
   23           to this request as overbroad to the extent it concerns all “use[]” of any kind.
   24           Yuga Labs objects to this request as calling for a legal conclusion. Yuga
   25           Labs objects to this request as vague, ambiguous, overbroad, and unduly
   26           burdensome to the extent it asks Yuga Labs to admit the asserted fact on
   27           behalf of all of the persons included in Defendants’ definition of “You,”
   28

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    1           which includes people (and thus information) not within Yuga Labs’ control
    2           and dozens or potentially hundreds of individuals, including for example
    3           every person that worked at ApeFest.
    4                   Subject to and without waiving the foregoing objections, Yuga Labs
    5           denies the objectionable and misleading request as phrased.
    6
        Request for Admission No.69:
    7
                        Admit that You are not aware of any specific business relationship that
    8
                Mr. Ripps or Mr. Cahen disrupted by selling RR/BAYC NFTs.
    9
        Response:
   10
                        Yuga Labs incorporates by reference each of the General Objections
   11
                set forth above as if fully set forth herein. Yuga Labs objects that the
   12
                requests in Defendant’s First Set of Requests for Admission are made in bad
   13
                faith and without factual basis to reasonably anticipate admissions at this
   14
                stage of discovery, and thus presented to harass, cause unnecessary delay,
   15
                and needlessly increase the cost of litigation. See Conlon v. United States,
   16
                474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   17
                ‘harass the other side’ or in the hope that the party’s adversary will simply
   18
                concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   19
                F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   20
                sanctions for the Defendants’ continued abuse of this litigation.
   21
                        Yuga Labs objects to this request as calling for a legal conclusion.
   22
                Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   23
                unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   24
                on behalf of all of the persons included in Defendants’ definition of “You,”
   25
                which includes people (and thus information) not within Yuga Labs’ control
   26
                and dozens or potentially hundreds of individuals, including for example
   27
                every person that worked at ApeFest.
   28

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    1                   Subject to and without waiving the foregoing objections, Yuga Labs
    2      denies the objectionable and misleading request as phrased.
    3 Request for Admission No.70:
    4                   Admit that You are aware of a specific business relationship that Mr.
    5           Ripps or Mr. Cahen disrupted by selling RR/BAYC NFTs.
    6 Response:
    7                   Yuga Labs incorporates by reference each of the General Objections
    8           set forth above as if fully set forth herein. Yuga Labs objects that the
    9           requests in Defendant’s First Set of Requests for Admission are made in bad
   10           faith and without factual basis to reasonably anticipate admissions at this
   11           stage of discovery, and thus presented to harass, cause unnecessary delay,
   12           and needlessly increase the cost of litigation. See Conlon v. United States,
   13           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   14           ‘harass the other side’ or in the hope that the party’s adversary will simply
   15           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   16           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   17           sanctions for the Defendants’ continued abuse of this litigation.
   18                   Yuga Labs objects to this request as calling for a legal conclusion.
   19           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   20           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   21           on behalf of all of the persons included in Defendants’ definition of “You,”
   22           which includes people (and thus information) not within Yuga Labs’ control
   23           and dozens or potentially hundreds of individuals, including for example
   24           every person that worked at ApeFest.
   25                   Subject to and without waiving the foregoing objections, Yuga Labs
   26      denies the objectionable and misleading request as phrased.
   27 Request for Admission No.71:
   28

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    1                   Admit that You are not aware of any specific business relationship that
    2           Mr. Ripps or Mr. Cahen disrupted with any alleged use of the Asserted
    3           Marks.
    4 Response:
    5                   Yuga Labs incorporates by reference each of the General Objections
    6           set forth above as if fully set forth herein. Yuga Labs objects that the
    7           requests in Defendant’s First Set of Requests for Admission are made in bad
    8           faith and without factual basis to reasonably anticipate admissions at this
    9           stage of discovery, and thus presented to harass, cause unnecessary delay,
   10           and needlessly increase the cost of litigation. See Conlon v. United States,
   11           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   12           ‘harass the other side’ or in the hope that the party’s adversary will simply
   13           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   14           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   15           sanctions for the Defendants’ continued abuse of this litigation.
   16                   Yuga Labs objects to this request as calling for a legal conclusion.
   17           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   18           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   19           on behalf of all of the persons included in Defendants’ definition of “You,”
   20           which includes people (and thus information) not within Yuga Labs’ control
   21           and dozens or potentially hundreds of individuals, including for example
   22           every person that worked at ApeFest.
   23                   Subject to and without waiving the foregoing objections, Yuga Labs
   24      denies the objectionable and misleading request as phrased.
   25 Request for Admission No.72:
   26                   Admit that You are aware of a specific business relationship that Mr.
   27           Ripps or Mr. Cahen disrupted with any alleged use of the Asserted Marks.
   28

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    1 Response:
    2                   Yuga Labs incorporates by reference each of the General Objections
    3           set forth above as if fully set forth herein. Yuga Labs objects that the
    4           requests in Defendant’s First Set of Requests for Admission are made in bad
    5           faith and without factual basis to reasonably anticipate admissions at this
    6           stage of discovery, and thus presented to harass, cause unnecessary delay,
    7           and needlessly increase the cost of litigation. See Conlon v. United States,
    8           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    9           ‘harass the other side’ or in the hope that the party’s adversary will simply
   10           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   11           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   12           sanctions for the Defendants’ continued abuse of this litigation.
   13                   Yuga Labs objects to this request as calling for a legal conclusion.
   14           Yuga Labs objects to this request as vague, ambiguous, overbroad, and
   15           unduly burdensome to the extent it asks Yuga Labs to admit the asserted fact
   16           on behalf of all of the persons included in Defendants’ definition of “You,”
   17           which includes people (and thus information) not within Yuga Labs’ control
   18           and dozens or potentially hundreds of individuals, including for example
   19           every person that worked at ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.80:
   23                   Admit that You have directly or indirectly facilitated the transfer of
   24           BAYC NFTs to celebrities at little or no cost to the celebrity receiving them.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as vague and ambiguous, especially
   11           as to the terms, “facilitate,” “transfer,” “celebrities,” and “little to no cost.”
   12           Yuga Labs objects to this request as irrelevant and overbroad, including
   13           because it is not relevant to any claim or defense. Yuga Labs objects to this
   14           request as vague, ambiguous, overbroad, and unduly burdensome to the
   15           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
   16           persons included in Defendants’ definition of “You,” which includes people
   17           (and thus information) not within Yuga Labs’ control and dozens or
   18           potentially hundreds of individuals, including for example every person that
   19           worked at ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.81:
   23                   Admit that Guy Oseary was involved in your efforts to get celebrities
   24           to own BAYC NFTs.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as vague and ambiguous, especially
   11           as to the terms, “involved,” “celebrities,” and “get celebrities to own.” Yuga
   12           Labs objects to this request as irrelevant and overbroad, including because it
   13           is not relevant to any claim or defense. Yuga Labs objects to this request as
   14           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
   15           Yuga Labs to admit the asserted fact on behalf of all of the persons included
   16           in Defendants’ definition of “You,” which includes people (and thus
   17           information) not within Yuga Labs’ control and dozens or potentially
   18           hundreds of individuals, including for example every person that worked at
   19           ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.82:
   23                   Admit that Guy Oseary was involved in your efforts to get celebrities
   24           to promote BAYC NFTs.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as vague and ambiguous, especially
   11           as to the terms, “involved,” “celebrities,” and “get celebrities to promote.”
   12           Yuga Labs objects to this request as irrelevant and overbroad, including
   13           because it is not relevant to any claim or defense. Yuga Labs objects to this
   14           request as vague, ambiguous, overbroad, and unduly burdensome to the
   15           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
   16           persons included in Defendants’ definition of “You,” which includes people
   17           (and thus information) not within Yuga Labs’ control and dozens or
   18           potentially hundreds of individuals, including for example every person that
   19           worked at ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.83:
   23                   Admit that Guy Oseary was not involved in your efforts to get
   24           celebrities to own BAYC NFTs.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as vague and ambiguous, especially
   11           as to the terms, “involved,” “celebrities,” and “get celebrities to own.” Yuga
   12           Labs objects to this request as irrelevant and overbroad, including because it
   13           is not relevant to any claim or defense. Yuga Labs objects to this request as
   14           vague, ambiguous, overbroad, and unduly burdensome to the extent it asks
   15           Yuga Labs to admit the asserted fact on behalf of all of the persons included
   16           in Defendants’ definition of “You,” which includes people (and thus
   17           information) not within Yuga Labs’ control and dozens or potentially
   18           hundreds of individuals, including for example every person that worked at
   19           ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.84:
   23                   Admit that Guy Oseary was not involved in your efforts to get
   24           celebrities to promote BAYC NFTs.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as vague and ambiguous, especially
   11           as to the terms, “involved,” “celebrities,” and “get celebrities to promote.”
   12           Yuga Labs objects to this request as irrelevant and overbroad, including
   13           because it is not relevant to any claim or defense. Yuga Labs objects to this
   14           request as vague, ambiguous, overbroad, and unduly burdensome to the
   15           extent it asks Yuga Labs to admit the asserted fact on behalf of all of the
   16           persons included in Defendants’ definition of “You,” which includes people
   17           (and thus information) not within Yuga Labs’ control and dozens or
   18           potentially hundreds of individuals, including for example every person that
   19           worked at ApeFest.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.177:
   23                   Admit that Yuga has not filed any other lawsuit, complaint, or
   24           litigation against any other NFT collection for trademark infringement.
   25 Response:
   26                   Yuga Labs incorporates by reference each of the General Objections
   27           set forth above as if fully set forth herein. Yuga Labs objects that the
   28

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    1           requests in Defendant’s First Set of Requests for Admission are made in bad
    2           faith and without factual basis to reasonably anticipate admissions at this
    3           stage of discovery, and thus presented to harass, cause unnecessary delay,
    4           and needlessly increase the cost of litigation. See Conlon v. United States,
    5           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    6           ‘harass the other side’ or in the hope that the party’s adversary will simply
    7           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    8           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    9           sanctions for the Defendants’ continued abuse of this litigation.
   10                   Yuga Labs objects to this request as relevant to any claim or defense.
   11           Yuga Labs objects to this request as vague and ambiguous as to the terms,
   12           “NFT collection” and “other lawsuit, complaint, or litigation.” Yuga Labs
   13           objects to this request as vague, ambiguous, and unduly burdensome to the
   14           extent it asks Yuga Labs to admit that the asserted fact is true for all persons
   15           included in Defendants’ definition of “Yuga” which includes people (and
   16           thus information) not within Yuga Labs’ control and dozens or potentially
   17           hundreds of individuals, including for example, every person that worked at
   18           ApeFest.
   19                   Subject to and without waiving the foregoing objections, Yuga Labs
   20      denies the objectionable and irrelevant request as phrased.
   21 Request for Admission No.178:
   22                   Admit that Yuga has filed any other lawsuit, complaint, or litigation
   23           against any other NFT collection for trademark infringement.
   24 Response:
   25                   Yuga Labs incorporates by reference each of the General Objections
   26           set forth above as if fully set forth herein. Yuga Labs objects that the
   27           requests in Defendant’s First Set of Requests for Admission are made in bad
   28

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    1           faith and without factual basis to reasonably anticipate admissions at this
    2           stage of discovery, and thus presented to harass, cause unnecessary delay,
    3           and needlessly increase the cost of litigation. See Conlon v. United States,
    4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    5           ‘harass the other side’ or in the hope that the party’s adversary will simply
    6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    8           sanctions for the Defendants’ continued abuse of this litigation.
    9                   Yuga Labs objects to this request as relevant to any claim or defense.
   10           Yuga Labs objects to this request as vague and ambiguous as to the terms,
   11           “NFT collection” and “other lawsuit, complaint, or litigation.” Yuga Labs
   12           objects to this request as vague, ambiguous, and unduly burdensome to the
   13           extent it asks Yuga Labs to admit that the asserted fact is true for all persons
   14           included in Defendants’ definition of “Yuga” which includes people (and
   15           thus information) not within Yuga Labs’ control and dozens or potentially
   16           hundreds of individuals, including for example, every person that worked at
   17           ApeFest.
   18                   Subject to and without waiving the foregoing objections, Yuga Labs
   19      denies the objectionable and irrelevant request as phrased.
   20 Request for Admission No.179:
   21                   Admit that You did not provide actual notice to either Mr. Ripps or
   22           Mr. Cahen of Yuga’s allegation that Mr. Ripps and Mr. Cahen infringed the
   23           Asserted Marks.
   24 Response:
   25                   Yuga Labs incorporates by reference each of the General Objections
   26           set forth above as if fully set forth herein. Yuga Labs objects that the
   27           requests in Defendant’s First Set of Requests for Admission are made in bad
   28

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    1           faith and without factual basis to reasonably anticipate admissions at this
    2           stage of discovery, and thus presented to harass, cause unnecessary delay,
    3           and needlessly increase the cost of litigation. See Conlon v. United States,
    4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    5           ‘harass the other side’ or in the hope that the party’s adversary will simply
    6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    8           sanctions for the Defendants’ continued abuse of this litigation.
    9                   Yuga objects to this request as calling for a legal conclusion. Yuga
   10           Labs objects to this request as vague, ambiguous, and unduly burdensome to
   11           the extent it asks Yuga Labs to admit that the asserted fact is true for all
   12           persons included in Defendants’ definition of “Yuga” which includes people
   13           (and thus information) not within Yuga Labs’ control and dozens or
   14           potentially hundreds of individuals, including for example, every person that
   15           worked at ApeFest.
   16                   Subject to and without waiving the foregoing objections, Yuga Labs
   17           denies the objectionable and irrelevant request as phrased; Defendants have
   18           admitted that they were on actual notice of their infringement of the Asserted
   19           Marks.
   20 11.       Mr. Ripps and Mr. Cahen’s Position
   21           These numerous requests touch many of the issues underlying the claims and
   22 defenses in this case. The common thread between them is that they all ask Yuga to
   23 admit something that “You” or “Yuga” either did or knew. Likewise, a common
   24 thread in Yuga’s responses is that the words “You” and “Yuga” are defined in a
   25 way which Yuga alleges rendered the requests “vague, ambiguous, overbroad, and
   26 unduly burdensome” based on the incredible claim that the words “You” and
   27 “Yuga” would include “every person that worked at ApeFest.” Yuga has not
   28

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    1 provided any other basis for its refusal to answer these RFAs in any of the meet and
    2 confers between the parties.
    3           As an initial matter, Defendants’ provided definition for “You” and “Yuga”
    4 is reasonable, defined as meaning, “Yuga Labs, Inc. and all predecessors,
    5 successors, predecessors-in-interest, successors-in-interest, subsidiary entities,
    6 divisions, parents, and/or affiliates, past or present, any companies that have a
    7 controlling interest in Plaintiff, and any current or former employee, Founder,
    8 officer, director, principal, agent, consultant, representative, or attorney thereof, or
    9 anyone acting on their behalf.” 4 This is a standard definition of “You”, and casts a
   10 reasonable scope as to what “you” means within the context of the case.
   11           Most importantly, Defendants’ definition of “You” is workable and provides
   12 Yuga sufficient information to fulfill the discovery request. It does not require, as
   13 Yuga incorrectly argues, Yuga to cast such a broad net to include every single
   14 person who worked at its festival event. Instead, it asks them to look within the
   15 company and produce relevant information about itself. This standard definition of
   16 “you” is particularly manageable in this case since Yuga, while having very large
   17 resources, has only 11 full-time employees and only about 100 team members
   18 (when counting non-full-time workers). See Dkt. 76 at 5. Thus, Yuga can easily
   19 respond to the above RFAs.
   20           However, even if Yuga felt that our provided definition of “You” was not
   21 workable Yuga could have solved the issue without involving the Court. In
   22 Defendants’ December 31, 2022, letter, Defendants informed Yuga that it is “free to
   23 propose what it considers to be a reasonable definition of the term” when answering
   24 these RFAs. See Gosma Decl. Ex. 13 (Dec. 31, 2022, letter from H. Nikogosyan to
   25 Thomas) at 4. Yuga could have taken the opportunity to re-define “You” in a
   26
   27
        “You” and “Yuga” were given the same definition, and, for simplicity’s sake, we
        4
   28 refer to their objection as one to the word “You.”

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    1 reasonable manner and fulfill its discovery obligations. Yuga refused. And during
    2 the meet and confer on January 10, 2023, Yuga continued to object on the basis that
    3 it has no obligation to answer RFAs that use the Defendants’ standard definition of
    4 “You.”
    5           Courts in this district have made clear that “counsel are expected to cooperate
    6 with each other . . . to facilitate the exchange of discoverable information, and to
    7 reduce the costs of discovery.” Edge Sys. LLC v. Ageless Serums LLC, No. 20-cv-
    8 9669-FLA-PVCx, 2022 WL 2093850 at *7 (C.D. Cal. Feb.1, 2022). Discovery
    9 gamesmanship is prohibited. See Infanzon v. Allstate Ins. Co., 335 F.R.D. 305, 311
   10 (C.D. Cal. 2020) (“The 2015 Amendments to Rule 34 . . . marked an intentional
   11 break from the discovery gamesmanship of the past[.]”). Parties responding to
   12 document requests also have an “obligation to construe discovery requests in a
   13 reasonable manner.” Edge Sys. LLC, 2022 WL 2093850 at *7. The responding
   14 party must not “strain to find ambiguity.” Skye Orthobiologics, LLC v. CTM
   15 Biomedical, LLC, No. 20-cv-3444-MEMF-PVCx, 2022 WL 17345909 at 5 (C.D.
   16 Cal. 2022) (ordering party to provide amended answers to RFAs because of
   17 spurious objection to the meaning of a standard term). In upholding its legal
   18 obligation to reasonably construe terms and phrases, the responding party should
   19 “exercise reason and common sense to attribute ordinary definitions to terms and
   20 phrases.” Id. at *4. Only in situations where a term is truly beyond comprehension
   21 can a party claim that an RFA is too vague to answer.
   22           Yuga’s refusal to follow its legal obligation to construe the term “You” is
   23 precisely this kind of improper discovery gamesmanship. The word “You” has a
   24 basic, ordinary definition which can be readily applied to each request that Yuga
   25 objects to on this basis.
   26       Yuga’s other bases for objecting to these Requests for Admission are
   27 boilerplate and unavailing. Boilerplate objections of any kind are improper. Prolo
   28

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    1 v. Blackmon, No. 21-cv-5118-JFW-PVCx, 2022 WL 2189643 at *10 (C.D. Cal.
    2 2022). A boilerplate objection is one that is made without any support. Id. For
    3 each term objected to as “vague” and “ambiguous” a commonsense definition
    4 applies. Instead, Yuga feigned ignorance of basic terms such as, “expressing
    5 commentary,” “used,” and in regard to social media sites, “users and comments” as
    6 a dilatory tactic aimed at preventing Defendants from taking discovery. Further,
    7 unlike the “You” objection, Yuga has never attempted to explain why these terms
    8 and phrases are vague and this argument should be rejected as boilerplate.
    9           Yuga also asserts that some of these RFAs are not relevant to any claim or
   10 defense. Relevance in discovery is a low-bar, and for a request to be relevant it
   11 must only, “be relevant to a party’s claim or defense.” Manufacturing Automation
   12 and Software Sys., Inc. v. Hughes, No. 16-cv-8962-CAS-KSx, 2017 WL 5641120 at
   13 *3. A discovery request is no relevant only if it, “the information sought has no
   14 conceivable bearing on the case.” Lofton v. Verizon Wireless (VAW), LLC, 308
   15 F.R.D. 276, 280 (C.D. Cal. 2015). To assist the Court, we identify some ways these
   16 RFAs are relevant to claims or defenses in this case. This list is of course not
   17 exhaustive, but it does demonstrate that these claims are all clearly relevant to the
   18 case:
   19                       • RFAs 1-12: affirmative defenses to trademark claims;
   20                       • 13-17, 55-58; trademark claims (confusion);
   21                       • 18-20: trademark claims (distinguishing accused
   22
                               products);
   23
                            • 21-28: trademark claims (corrective advertising);
   24
                            • 29-36: trademark enforcement/unclean hands;
   25
                            • 47-52: use of marks in commerce;
   26
                            • 63-68: trademark claims (use of APE and BORED APE
   27
                               marks);
   28

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    1                       • 69-72: trademark claims (damages);
    2                       • 80-84: trademark claims (unclean hands);
    3                       • 177-179: trademark enforcement activities.
    4 Yuga also has never explained how these requests were irrelevant, and these
    5 objections should be rejected as boilerplate. See A. Farber & Partner, Inc. v.
    6 Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006) (explaining that “relevancy
    7 objections, without setting forth any explanation or argument why the requested
    8 documents are not relevant, are improper”). All other objections, such as Yuga’s
    9 complaint that the requests are compound, are made without explanation and should
   10 be rejected as boilerplate as well. See id.
   11        Defendants accordingly request that this Court compel Yuga to immediately
   12 supplement the above RFAs applying a commonsense definition of “You” and
   13 answer the above RFAs by admitting or denying them on the merits.
   14 2.        Yuga Labs’ Position
   15           Though the relief Defendants seek is not clear (as Yuga Labs cannot
   16 “supplement” its response to requests it has already denied, for instance),
   17 Defendants appear to ask the Court to review the sufficiency of Yuga Labs’
   18 objections and answers to many of Defendants’ opening volley of 179 requests for
   19 admission under Fed. R. Civ. P. 36(a)(6). As Yuga Labs has explained to
   20 Defendants several times since it served its responses on October 6, 2022, Yuga
   21 Labs’ objections and answers are sufficient. Defendants’ arguments to the contrary
   22 misconstrue the record.
   23       First, these requests were self-evidently improper and harassing. Requests
   24 for admission are not a discovery mechanism. “Admissions are sought, first, to
   25 facilitate proof with respect to issues that cannot be eliminated from the case and,
   26 second, to narrow the issues by eliminating those that can be. The rule is not to be
   27 used in an effort to ‘harass the other side’ or in the hope that a party’s adversary
   28

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    1
        will simply concede essential elements. Rather, the rule seeks to serve two
    2
        important goals: truth-seeking in litigation and efficiency in dispensing justice.”
    3
        Conlon v. United States, 474 F.3d 616, 622 (9th Cir. 2007) (citations omitted; citing
    4
        Perez v. Miami–Dade County, 297 F.3d 1255, 1268 (11th Cir.2002)). Defendants
    5
        served these requests at the same time as their first discovery requests, without any
    6
        basis from discovery received from Yuga Labs (because none had yet been sought)
    7
        to ask Yuga Labs to concede issues in the case. The intent to harass is evident from
    8
        the timing and volume of the requests, but also from the substance. Ranging from
    9
        patently irrelevant requests about Yuga Labs’ employees’ internet-browsing habits
   10
        (Request Nos. 99–146) to questions about their spouses who have nothing to do
   11
        with this litigation (Request Nos. 159–162). 5 Yuga Labs’ objections to these
   12
        abusive requests for admission should be sustained.
   13
                Second, Yuga Labs’ other objections to the requests are valid and should be
   14
        sustained. Defendants only argue in summary form that the objections are improper,
   15
        but the requests sought in this motion concern, for example Request Nos. 37–46,
   16
        whether “the consumers of BAYC NFTs” are “are “typically knowledgeable about
   17
        NFTs,” “typically understand that NFTs are digital tokens comprising data stored on
   18
        a blockchain,” are “typically familiar with cryptocurrency,” “typically own multiple
   19
        NFTs,” or “often own NFTs as a financial security.” These requests call for
   20
        speculation and are vague, ambiguous, and of no legal materiality as to what
   21
        any/some/all consumers “typically” or “often” do or think.
   22
                Third, ignoring orders from the Court on the relevance of “Inflammatory
   23
        Material” or their counterclaims to this litigation, Defendants once again ask the
   24
        Court to compel Yuga Labs to admit a variety of requests concerning the same
   25
        material. See, e.g., Request Nos. 1–12 (concerning Yuga Labs’ “aware[ness] prior
   26
   27  Consistent with this objective of harassment, Defendants have also produced a
        5
      “research” folder containing documents such as the wedding registry page of a
   28 Yuga Labs co-founder and co-President and his now-spouse.

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    1
        to commencing this Litigation”); 33–36 (concerning takedown requests based on
    2
        the “Digital Millennium Copyright Act”); 81–84 (concerning allegations about Guy
    3
        Oseary asserted in counterclaims); 86–87 (concerning allegations about celebrity
    4
        promotion asserted in counterclaims). As the Court already held, discovery on
    5
        these issues is not proper at this time.
    6
                Fourth, there is no merit to Defendants’ complaint that Yuga Labs did not
    7
        redefine Defendants’ requests for them and concede different issues than those
    8
        presented in the written requests. To be clear, the issue is not that Yuga Labs
    9
        cannot understand the terms Defendants use; it is that Defendants defined their
   10
        requests a certain way, and Yuga Labs responded accordingly. The requests about
   11
        which Defendants complain in this section ask Yuga Labs to admit statements on
   12
        behalf of:
   13
                    • Yuga Labs, Inc.
   14
                    • All predecessors, successors, predecessors-in-interest, successors-in-
   15
                        interest, subsidiary entities, divisions, parents, and/or affiliates, past or
   16
                        present
   17
                    • Any companies that have a controlling interest in Plaintiff
   18
                    • Any current or former employee, Founder, officer, director, principal,
   19
                        agent, consultant, representative
   20
                    • Any attorney thereof
   21
                    • Any anyone acting on their behalf
   22
        Such requests are overbroad, disproportionate to the needs of the case, and in many
   23
        cases not relevant at all to any claim or defense. Even setting aside those
   24
        objections, an admission to such requests would establish a fact as true on behalf of
   25
        all such persons (e.g., paralegals and staff working at the law firms representing
   26
        Yuga Labs, vendors and contractors at live events, and former employees with
   27
        whom the company is no longer in contact) for purposes of the remainder of this
   28

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    1
        litigation. This is hundreds if not thousands of people. As Yuga Labs explained in
    2
        a letter to Defendants:
    3
                Taking for example Request for Admission No. 1 (“Admit that You were
    4           aware prior to commencing this Litigation that Mr. Ripps published or posted
                material explaining that RR/BAYC NFTs are satirical.”), Yuga Labs denied
    5           this request because it has not established that “Yuga Labs, Inc. and all
                predecessors, successors, predecessors-in-interest, successors-in-interest,
    6           subsidiary entities, divisions, parents, and/or affiliates, past or present, any
                companies that have a controlling interest in Plaintiff, and any current or
    7           former employee, officer, director, principal, agent, consultant,
                representative, or attorney thereof, or anyone acting on their behalf” knew
    8           that Ripps purportedly “published or posted material explaining that
                RR/BAYC NFTs are satirical.” Defendants have yet to explain why this
    9           denial is improper.
   10 Gosma Decl. Exhibit 13 at 7. Where such requests were reasonably not true on
   11 behalf of all such persons, Yuga Labs denied them. Defendants argue that Yuga
   12 Labs’ denials are insufficient and need to be “supplemented” (in an unspecified
   13 manner), apparently asking Yuga Labs to reframe the request in whatever way
   14 necessary to result in an admission rather than a denial. Defendants have not
   15 corrected these requests for admission since serving them on August 15, 2022, and
   16 instead ask Yuga Labs to revise the requests and then provide an answer based on
   17 what counsel apparently intended to ask but has never clarified for Yuga Labs.
   18 Even in their section of the Joint Stipulation they do not define what they mean.
   19 Moreover, there is no merit to a demand that Yuga Labs re-define terms so that its
   20 response must then be an admission: it is not a remedy prescribed by Fed. R. Civ. P.
   21 36, and it would prejudice Yuga Labs by forcing it to admit untrue statements.
                                                                                     6


   22           Fifth, as discussed in Yuga Labs’ response to Issue G, a number of the

   23 requests raised by Defendants in these subsections now concern issues that are
   24 subject to the mandatory discovery stay in Real et. al. v. Yuga Labs. Inc. et al., Case
   25   Defendants also repeat a claim in their submission that Yuga Labs has 11 full-time
        6
      employees — a claim based on stale information which Defendants now know to be
   26 false. See Declaration of Eric Ball (ECF 75-2) ¶ 2 (“Yuga Labs is an international
      company doing business in seven countries and with trademark filings in 120
   27 countries. Yuga Labs operates six brands and today has 128 employees and works
      directly with at least another 60 persons or companies internationally.” (emphasis
   28 added)). There is no good-faith basis to continue making this false claim.

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    1
        No. 2:22-cv-08909-FMO-PLA (C.D. Cal. Dec. 8, 2022). See e.g. Requests Nos.
    2
        37-46 (concerning allegations about securities issues); 81–84 (concerning
    3
        allegations about Guy Oseary’s alleged “efforts to get celebrities to [own or
    4
        promote] BAYC NFTs”); 86–87 (concerning allegations about celebrity
    5
        promotion).
    6
                Yuga Labs’ objections and answers to the requests for admission raised in
    7
        this Joint Stipulation are sufficient and Defendants’ request should be denied.
    8
                N.      Request for Admission Numbers 37-46 (Objections based on
    9                   Admissions about “Buyers” or “Consumers”)
   10 Request for Admission No.37:
   11                   Admit that the consumers of BAYC NFTs are typically knowledgeable
   12           about NFTs.
   13 Response:
   14                   Yuga Labs incorporates by reference each of the General Objections
   15           set forth above as if fully set forth herein. Yuga Labs objects that the
   16           requests in Defendant’s First Set of Requests for Admission are made in bad
   17           faith and without factual basis to reasonably anticipate admissions at this
   18           stage of discovery, and thus presented to harass, cause unnecessary delay,
   19           and needlessly increase the cost of litigation. See Conlon v. United States,
   20           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   21           ‘harass the other side’ or in the hope that the party’s adversary will simply
   22           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   23           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   24           sanctions for the Defendants’ continued abuse of this litigation.
   25                   Yuga Labs objects to this request as calling for a legal conclusion.
   26           Yuga Labs objects to this request as vague, ambiguous, and calling for
   27           information not in its possession, custody, or control, because it seeks an
   28

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    1           admission about “consumers” generally, and because it seeks an admission
    2           regarding what such customers “typically” know.
    3                   Subject to and without waiving the foregoing objections, Yuga Labs
    4      denies the objectionable and misleading request as phrased.
    5 Request for Admission No.38:
    6                   Admit that the consumers of BAYC NFTs are not typically
    7           knowledgeable about NFTs.
    8 Response:
    9                   Yuga Labs incorporates by reference each of the General Objections
   10           set forth above as if fully set forth herein. Yuga Labs objects that the
   11           requests in Defendant’s First Set of Requests for Admission are made in bad
   12           faith and without factual basis to reasonably anticipate admissions at this
   13           stage of discovery, and thus presented to harass, cause unnecessary delay,
   14           and needlessly increase the cost of litigation. See Conlon v. United States,
   15           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   16           ‘harass the other side’ or in the hope that the party’s adversary will simply
   17           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   18           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   19           sanctions for the Defendants’ continued abuse of this litigation.
   20                   Yuga Labs objects to this request as calling for a legal conclusion.
   21           Yuga Labs objects to this request as vague, ambiguous, and calling for
   22           information not in its possession, custody, or control, because it seeks an
   23           admission about “consumers” generally, and because it seeks an admission
   24           regarding what such customers “typically” know.
   25                   Subject to and without waiving the foregoing objections, Yuga Labs
   26      denies the objectionable and misleading request as phrased.
   27 Request for Admission No.39:
   28

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    1                   Admit that the consumers of BAYC NFTs typically understand that
    2           NFTs are digital tokens comprising data stored on a blockchain.
    3 Response:
    4                   Yuga Labs incorporates by reference each of the General Objections
    5           set forth above as if fully set forth herein. Yuga Labs objects that the
    6           requests in Defendant’s First Set of Requests for Admission are made in bad
    7           faith and without factual basis to reasonably anticipate admissions at this
    8           stage of discovery, and thus presented to harass, cause unnecessary delay,
    9           and needlessly increase the cost of litigation. See Conlon v. United States,
   10           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   11           ‘harass the other side’ or in the hope that the party’s adversary will simply
   12           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   13           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   14           sanctions for the Defendants’ continued abuse of this litigation.
   15                   Yuga Labs objects to this request as calling for a legal conclusion.
   16           Yuga Labs objects to this request as vague, ambiguous, and calling for
   17           information not in its possession, custody, or control, because it seeks an
   18           admission about “consumers” generally, and because it seeks an admission
   19           regarding what such customers “typically” know.
   20                   Subject to and without waiving the foregoing objections, Yuga Labs
   21      denies the objectionable and misleading request as phrased.
   22 Request for Admission No.40
   23                   Admit that the consumers of BAYC NFTs are typically do not
   24           understand that NFTs are digital tokens comprising data stored on a
   25           blockchain.
   26 Response:
   27                   Yuga Labs incorporates by reference each of the General Objections
   28

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    1           set forth above as if fully set forth herein. Yuga Labs objects that the
    2           requests in Defendant’s First Set of Requests for Admission are made in bad
    3           faith and without factual basis to reasonably anticipate admissions at this
    4           stage of discovery, and thus presented to harass, cause unnecessary delay,
    5           and needlessly increase the cost of litigation. See Conlon v. United States,
    6           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    7           ‘harass the other side’ or in the hope that the party’s adversary will simply
    8           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    9           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   10           sanctions for the Defendants’ continued abuse of this litigation.
   11                   Yuga Labs objects to this request as calling for a legal conclusion.
   12           Yuga Labs objects to this request as vague, ambiguous, and calling for
   13           information not in its possession, custody, or control, because it seeks an
   14           admission about “consumers” generally, and because it seeks an admission
   15           regarding what such customers “typically” know.
   16                   Subject to and without waiving the foregoing objections, Yuga Labs
   17      denies the objectionable and misleading request as phrased.
   18 Request for Admission No.41:
   19                   Admit that the consumers of BAYC NFTs are typically familiar with
   20           cryptocurrency.
   21 Response:
   22                   Yuga Labs incorporates by reference each of the General Objections
   23           set forth above as if fully set forth herein. Yuga Labs objects that the
   24           requests in Defendant’s First Set of Requests for Admission are made in bad
   25           faith and without factual basis to reasonably anticipate admissions at this
   26           stage of discovery, and thus presented to harass, cause unnecessary delay,
   27           and needlessly increase the cost of litigation. See Conlon v. United States,
   28

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    1           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    2           ‘harass the other side’ or in the hope that the party’s adversary will simply
    3           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    4           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    5           sanctions for the Defendants’ continued abuse of this litigation.
    6                   Yuga Labs objects to this request as calling for a legal conclusion.
    7           Yuga Labs objects to this request as vague, ambiguous, and calling for
    8           information not in its possession, custody, or control, because it seeks an
    9           admission about “consumers” generally, and because it seeks an admission
   10           regarding what such customers “typically” are “familiar with”.
   11                   Subject to and without waiving the foregoing objections, Yuga Labs
   12      denies the objectionable and misleading request as phrased.
   13 Request for Admission No.42:
   14                   Admit that the consumers of BAYC NFTs are not typically familiar
   15           with cryptocurrency.
   16 Response:
   17                   Yuga Labs incorporates by reference each of the General Objections
   18           set forth above as if fully set forth herein. Yuga Labs objects that the
   19           requests in Defendant’s First Set of Requests for Admission are made in bad
   20           faith and without factual basis to reasonably anticipate admissions at this
   21           stage of discovery, and thus presented to harass, cause unnecessary delay,
   22           and needlessly increase the cost of litigation. See Conlon v. United States,
   23           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   24           ‘harass the other side’ or in the hope that the party’s adversary will simply
   25           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   26           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   27           sanctions for the Defendants’ continued abuse of this litigation.
   28

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    1                   Yuga Labs objects to this request as calling for a legal conclusion.
    2           Yuga Labs objects to this request as vague, ambiguous, and calling for
    3           information not in its possession, custody, or control, because it seeks an
    4           admission about “consumers” generally, and because it seeks an admission
    5           regarding what such customers “typically” are “familiar with”.
    6                   Subject to and without waiving the foregoing objections, Yuga Labs
    7      denies the objectionable and misleading request as phrased.
    8 Request for Admission No.43:
    9                   Admit that buyers of BAYC NFTs typically own multiple NFTs.
   10 Response:
   11                   Yuga Labs incorporates by reference each of the General Objections
   12           set forth above as if fully set forth herein. Yuga Labs objects that the
   13           requests in Defendant’s First Set of Requests for Admission are made in bad
   14           faith and without factual basis to reasonably anticipate admissions at this
   15           stage of discovery, and thus presented to harass, cause unnecessary delay,
   16           and needlessly increase the cost of litigation. See Conlon v. United States,
   17           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   18           ‘harass the other side’ or in the hope that the party’s adversary will simply
   19           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   20           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   21           sanctions for the Defendants’ continued abuse of this litigation.
   22                   Yuga Labs objects to this request as calling for a legal conclusion.
   23           Yuga Labs objects to this request as vague, ambiguous, and calling for
   24           information not in its possession, custody, or control, because it seeks an
   25           admission about “consumers” generally, and because it seeks an admission
   26           regarding what such customers “typically” own.
   27                   Subject to and without waiving the foregoing objections, Yuga Labs
   28

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    1      denies the objectionable and misleading request as phrased.
    2 Request for Admission No.44:
    3                   Admit that the consumers of BAYC NFTs do not typically own
    4           multiple NFTs.
    5 Response:
    6                   Yuga Labs incorporates by reference each of the General Objections
    7           set forth above as if fully set forth herein. Yuga Labs objects that the
    8           requests in Defendant’s First Set of Requests for Admission are made in bad
    9           faith and without factual basis to reasonably anticipate admissions at this
   10           stage of discovery, and thus presented to harass, cause unnecessary delay,
   11           and needlessly increase the cost of litigation. See Conlon v. United States,
   12           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   13           ‘harass the other side’ or in the hope that the party’s adversary will simply
   14           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   15           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   16           sanctions for the Defendants’ continued abuse of this litigation.
   17                   Yuga Labs objects to this request as calling for a legal conclusion.
   18           Yuga Labs objects to this request as vague, ambiguous, and calling for
   19           information not in its possession, custody, or control, because it seeks an
   20           admission about “consumers” generally, and because it seeks an admission
   21           regarding what such customers “typically” own.
   22                   Subject to and without waiving the foregoing objections, Yuga Labs
   23      denies the objectionable and misleading request as phrased.
   24 Request for Admission No.45:
   25                   Admit that the buyers of BAYC NFTs often own NFTs as a financial
   26           security.
   27 Response:
   28

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    1                   Yuga Labs incorporates by reference each of the General Objections
    2           set forth above as if fully set forth herein. Yuga Labs objects that the
    3           requests in Defendant’s First Set of Requests for Admission are made in bad
    4           faith and without factual basis to reasonably anticipate admissions at this
    5           stage of discovery, and thus presented to harass, cause unnecessary delay,
    6           and needlessly increase the cost of litigation. See Conlon v. United States,
    7           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    8           ‘harass the other side’ or in the hope that the party’s adversary will simply
    9           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   10           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   11           sanctions for the Defendants’ continued abuse of this litigation.
   12                   Yuga Labs objects to this request as irrelevant to any claim or defense
   13           and overbroad. Yuga Labs objects to this request as vague, and ambiguous
   14           as to the term “often.” Yuga Labs objects to this request as calling for a legal
   15           conclusion. Yuga Labs objects to this request as vague, ambiguous, and
   16           calling for information not in its possession, custody, or control, because it
   17           seeks an admission about “buyers” generally.
   18                   Subject to and without waiving the foregoing objections, Yuga Labs
   19           responds as follows: Yuga Labs denies the objectionable and irrelevant
   20      request as phrased; BAYC NFTs are not securities.
   21 Request for Admission No.46:
   22                   Admit that the consumers of BAYC NFTs do not often own NFTs as a
   23           financial security.
   24 Response:
   25                   Yuga Labs incorporates by reference each of the General Objections
   26           set forth above as if fully set forth herein. Yuga Labs objects that the
   27           requests in Defendant’s First Set of Requests for Admission are made in bad
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    1           faith and without factual basis to reasonably anticipate admissions at this
    2           stage of discovery, and thus presented to harass, cause unnecessary delay,
    3           and needlessly increase the cost of litigation. See Conlon v. United States,
    4           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    5           ‘harass the other side’ or in the hope that the party’s adversary will simply
    6           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    7           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
    8           sanctions for the Defendants’ continued abuse of this litigation.
    9                   Yuga Labs objects to this request as irrelevant to any claim or defense
   10           and overbroad. Yuga Labs objects to this request as vague and ambiguous as
   11           to the term “often.” Yuga Labs objects to this request as calling for a legal
   12           conclusion. Yuga Labs objects to this request as calling for a legal
   13           conclusion. Yuga Labs objects to this request as vague, ambiguous, and
   14           calling for information not in its possession, because it seeks an admission
   15           about “buyers” generally.
   16                   Subject to and without waiving the foregoing objections, Yuga Labs
   17           denies the objectionable and irrelevant request as phrased; BAYC NFTs are
   18           not securities.
   19           1.      Mr. Ripps and Mr. Cahen’s Position
   20           This series of RFAs all relate to the NFT market’s typical consumers, and
   21 their understanding of NFTs, cryptocurrency, the blockchain, and how they behave.
   22 Yuga claims that these topics are not relevant to this case. These requests are
   23 clearly relevant. A key component of Yuga’s trademark complaints is consumer
   24 confusion. Thus, understanding consumer sophistication and what Yuga knows
   25 about customers is relevant to Mr. Ripps and Mr. Cahen’s defense.
   26       Yuga provides no reasons to support its objection, and it can be rejected as an
   27 improper boilerplate objection. Relevance for discovery is liberally construed. A
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    1 discovery request is only irrelevant if, “the information sought has no conceivable
    2 bearing on the case.” Lofton v. Verizon Wireless (VAW), LLC, 308 F.R.D. 276, 280
    3 (C.D. Cal. 2015).
    4           Yuga’s refusal to answer is purportedly based on arguments about certain
    5 words being ambiguous including the word “often.” But “often” has a common,
    6 everyday meaning that Yuga could have applied. Instead, it created ambiguity from
    7 a clear request. Their false confusion as to the meaning of basic words should be
    8 disregarded. This argument can also be rejected as boilerplate because it was made
    9 without explaining how “often” is vague. All other arguments are similarly made
   10 without any explanation and are therefore improper boilerplate arguments.
   11           Additionally, as a company that interacts with its customer base, Yuga has
   12 the requisite knowledge to answer the above RFAs despite arguing that the RFA
   13 calls for “information not in its possession.” Yuga clearly knows, and has
   14 documents which inform, its views on what NFT “consumers,” its “buyers” and
   15 other market participants generally know and how they behave. In fact, Yuga is
   16 uniquely positioned to understand the market’s participants general behavior and
   17 tastes as it proclaims to be the largest NFT company in the world.
   18           Defendants accordingly request that the Court compel Yuga to immediately
   19 answer the above RFAs on the merits.
   20      2.     Yuga Labs’ Position
   21           Yuga Labs’ objections and answers to the Defendants’ Requests for
   22 Admission are sufficient for the reasons explained above in response to Issue K. In
   23 particular, as discussed above, these requests are vague, ambiguous, and of no legal
   24 materiality as to what any/some/all consumers “typically” or “often” do or think,
   25 and Yuga Labs cannot reasonably be expected to provide a binding admission as to
   26 any of these topics. Defendants are entitled to no further response.
   27           O.      Request for Admission Numbers 86-87 (Objections based on
                        Vague Terms)
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    1
        Request for Admission No.86:
    2
                        Admit that celebrities were compensated, in either monetary payments
    3
                or non-monetary assets/property to promote BAYC NFTs.
    4
        Response:
    5
                        Yuga Labs incorporates by reference each of the General Objections
    6
                set forth above as if fully set forth herein. Yuga Labs objects that the
    7
                requests in Defendant’s First Set of Requests for Admission are made in bad
    8
                faith and without factual basis to reasonably anticipate admissions at this
    9
                stage of discovery, and thus presented to harass, cause unnecessary delay,
   10
                and needlessly increase the cost of litigation. See Conlon v. United States,
   11
                474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
   12
                ‘harass the other side’ or in the hope that the party’s adversary will simply
   13
                concede essential elements.” (quoting Perez v. Miami-Dade County, 297
   14
                F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   15
                sanctions for the Defendants’ continued abuse of this litigation.
   16
                        Yuga Labs objects to this request as not relevant to any claim or
   17
                defense and as compound. Yuga Labs objects to this request as vague and
   18
                ambiguous, including as to the terms, “were compensated,” “celebrities.”
   19
                Yuga objects that this request calls for information not in its possession,
   20
                custody or control.
   21
                        Subject to and without waiving the foregoing objections, Yuga Labs
   22
             denies the objectionable and misleading request as phrased.
   23
        Request for Admission Number 87:
   24
                        Admit that were celebrities who refused to take, accept, or receive
   25
                ownership in BAYC NFTs.
   26
        Response:
   27
                        Yuga Labs incorporates by reference each of the General Objections
   28

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    1           set forth above as if fully set forth herein. Yuga Labs objects that the
    2           requests in Defendant’s First Set of Requests for Admission are made in bad
    3           faith and without factual basis to reasonably anticipate admissions at this
    4           stage of discovery, and thus presented to harass, cause unnecessary delay,
    5           and needlessly increase the cost of litigation. See Conlon v. United States,
    6           474 F.3d 616, 622 (9th Cir. 2007) (Rule 36 “is not to be used in an effort to
    7           ‘harass the other side’ or in the hope that the party’s adversary will simply
    8           concede essential elements.” (quoting Perez v. Miami-Dade County, 297
    9           F.3d 1255, 1268 (11th Cir. 2002))). Yuga Labs reserves its right to seek
   10           sanctions for the Defendants’ continued abuse of this litigation.
   11                   Yuga Labs objects to this request as not relevant to any claim or
   12           defense and as compound. Yuga Labs objects to this request as vague and
   13           ambiguous, including as to the term, “celebrities.” Yuga objects that this
   14           request calls for information not in its possession, custody or control.
   15                   Subject to and without waiving the foregoing objections, Yuga Labs
   16           denies the objectionable and misleading request as phrased.
   17           3.      Mr. Ripps and Mr. Cahen’s Position
   18           Yuga objects to this group of RFAs primarily because it finds ambiguity in
   19 various terms. These terms include, “were compensated” and “celebrities.” As
   20 stated above, in order to facilitate discovery, responding parties have a duty to
   21 construe terms to a reasonable meaning, and not to “strain for ambiguity.” See Skye
   22 Orthobiologics, No. 20-cv-3444-MEMF-PVCx 2022 WL 17345909 at *4 (C.D.
   23 Cal. 2022). This duty requires that Yuga give disputed terms their “ordinary”
   24 construction. Gold v. Kaplan, No. 2:21-cv-03204-FLA-JDE, 2021 WL 6618643 at
   25 *3 (C.D. Cal. 2021). Instead of giving these terms their everyday, commonsense
   26 meaning, Yuga refuses to answer. It is beyond doubt that Yuga understands what
   27 these terms mean: in fact, Yuga’s own complaint alleges “Adding to the BAYC
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    1 brand’s popularity, major celebrities have publicly announced holding a Bored Ape
    2 NFT, including TV host Jimmy Fallon; famous musicians such as Justin Bieber,
    3 Madonna, Snoop Dogg, and Eminem; and famous athletes, including Stephen
    4 Curry, Serena Williams, and Shaquille O’Neal.” Complaint (Dkt. 1) 6 (emphasis
    5 added).
    6           Even if Yuga did not understand the meaning of these terms, as with the
    7 word “You,” Yuga failed to try and offer a reasonable meaning for any of the above
    8 terms. And Yuga has never even attempted to explain why these terms are vague.
    9 The responding party has the burden of explaining why the terms are vague, and
   10 failure to do so is fatal to a vagueness objection. Id. at *3.
   11           Yuga also urges several other boilerplate arguments. Boilerplate objections
   12 of any kind are improper. Prolo v. Blackmon, No. 21-cv-5118-JFW-PVCx, 2022
   13 WL 2189643 at *10 (C.D. Cal. 2022). A boilerplate objection is one that is made
   14 without any support. Id. These arguments include that the requests are irrelevant.
   15 The above RFAs are clearly relevant. Further, Yuga has provided no support for its
   16 relevance argument. Therefore, the Court should reject these objections.
   17       Defendants accordingly request that this Court compel Yuga to immediately
   18 answer the above RFAs on the merits.
   19 2.   Yuga Labs’ Position
   20           Yuga Labs’ objections and answers to the Defendants’ Requests for
   21 Admission are sufficient for the reasons explained above in response to Issue K.
   22 These two requests are particularly objectionable because Defendants do not even
   23 attempt to explain how the fact of whether a celebrity was compensated (in any
   24 way, by anyone, for any reason) or refused to accept a BAYC (offered by anyone,
   25 for any reason) is relevant to this case. These proposed facts do not establish any
   26 element of any claim or defense.
   27           Additionally, Defendants propose five new definitions in their Joint
   28

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    1
        Statement which have never been raised to or discussed with Yuga Labs — an issue
    2
        that could have been avoided had Defendants either complied with the Court’s
    3
        discovery rules or served amended discovery requests.
    4
    5
        Respectfully submitted,
    6
        Dated: February 14, 2023
    7
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    1
                          ATTESTATION OF CONCURRENCE IN FILING
    2
                Pursuant to the United States District Court for the Central District of
    3
        California’s Civil L.R. 5-4.3.4(a)(2)(i), Derek Gosma attests that concurrence in the
    4
        filing of this document has been obtained from Ethan Thomas.
    5
    6 Dated: February 15, 2023                         /s/ Derek Gosma
                                                       Derek Gosma
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